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III. CHRONOLOGICAL PRESENTATION OF TRANSACTIONS AND EVENTS
RELEVANT TO THE ISSUES INVESTIGATED BY THE EXAMINER

     The ResCap story spans approximately eight years—beginning with the concept that
AFI’s mortgage operations might attract lower cost funding if ring-fenced from AFI and its
parent GM, and ending, at least nominally, with the commencement of the Chapter 11 Cases.
A lot happened in that time frame—at ResCap and AFI—and within the mortgage lending
industry, the capital markets, and the global economy. The analysis of the various related-
party transactions and course of dealing by and among ResCap, AFI, and Cerberus are at the
center of the Investigation and this Report; that analysis is best understood in the context of
the chronological narrative set forth in this Section.1

A. GM’S DECLINING BUSINESS LEADS TO THE FORMATION OF RESCAP AND,
   ULTIMATELY, TO GM’S SALE OF A MAJORITY INTEREST IN AFI/RESCAP
   TO CERBERUS

     1. Background

              a. General Motors Corporation

     ResCap’s saga begins with GM, the automobile manufacturer founded in 1908 as a
holding company for Buick Motor Company.2 By 1916, GM had been incorporated in
Delaware3 and included Chevrolet, Pontiac, GMC, Oldsmobile and Cadillac.4 Over the course
of almost 100 years, GM grew into a multi-national conglomerate of over 450 direct and
indirect subsidiaries operating in two business segments: (1) automotive and other operations,
which engaged in the worldwide development, production and marketing of cars, trucks, and
parts, with operations in almost every country;5 and (2) financing and insurance operations,
which, as discussed below, operated primarily through AFI.

     Based on overall market capitalization, GM was the largest U.S. corporation from 1985
to 1999. But GM’s fortunes dimmed thereafter. GM’s market capitalization of $66 billion in
May 2000 had eroded to approximately $25 billion by May 2004 amid a shrinking share of the
automotive market and diminishing income. In 2004, GM’s automotive segment generated a
net loss of $89 million while its financing and insurance segment reported record net income
of $2.9 billion.6
1   A timeline of significant events is set forth in Appendix III.
2   Aff. of F. A. Henderson Pursuant to Local Bankruptcy Rule 1007-2, In re General Motors Corp., Case
    No. 09-50026, Docket No. 21, at 5.
3   General Motors Corp., Annual Report (Form 10-K) (Mar.16, 2005), at I-1.
4   Aff. of F. A. Henderson Pursuant to Local Bankruptcy Rule 1007-2, In re General Motors Corp., Case
    No. 09-50026, Docket No. 21, at 5.
5   Id.
6   See General Motors Corp., Annual Report (Form 10-K) (Mar. 16, 2005), at II-5.

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               b. AFI

     AFI was founded in 1919 as a wholly owned subsidiary of GM.7 AFI was originally
established to provide GM dealers with the automotive financing necessary for the dealers to
acquire and maintain vehicle inventories and to provide retail customers the means by which
to finance vehicle purchases through GM dealers.8 Well before 2004, AFI’s business had
expanded to include insurance, online banking, mortgage operations, and commercial finance.
AFI’s entry into the mortgage industry dates back to 1985 when AFI formed GMAC
Mortgage after it acquired the mortgage loan operations of the Colonial Mortgage Service
companies and the servicing arm of the former Norwest Mortgage, Inc. In 1990, AFI acquired
RFC.9 In subsequent years, AFI acquired additional mortgage-related operations, including
ditech.com.10

     At the time of ResCap’s incorporation in 2004, AFI’s mortgage operations consisted of
three separate operating and reporting segments: GMAC Residential Holding Corp. (GMAC
Residential); GMAC-RFC Holding Corp. (GMAC-RFC); and GMAC Commercial Holding
Corp. (GMAC Commercial Mortgage). The principal activities of the three segments included
the origination, purchase, servicing, sale and securitization of residential and commercial
mortgage loans and other real estate services. Each of these business segments is described in
greater detail later in this report.11




7    General Motors Acceptance Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 18.
8    General Motors Acceptance Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 18.
9    See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 65.
10   In 2001, AFI (1) formed Old GMAC Bank, a federally chartered savings bank, and (2) acquired its healthcare
     finance business. See Section V.A.1 (discussing Old GMAC Bank). In 2002, AFI established its resort
     financing business. AFI entered the U.K. and Mexican residential mortgage loan markets in 1998. It also
     entered the residential real estate finance markets in The Netherlands in 2001 and in Canada and Germany in
     2002. See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 65.
11   See Section III.C (discussing ResCap’s post-formation funding, management, and business profile).

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      2. GM’s Declining Fortunes Led To Credit Rating Downgrades That Adversely Affected
         AFI’s Access To Competitively Priced Funding
     In the several years before ResCap’s incorporation, continued automotive pricing
pressure, and increasing pension and post-retirement benefit expenses caused GM’s net
income to decline.12 Lower levels of profitability led to a series of credit rating downgrades
for GM13 and AFI14 that, while initially of only mild concern, became the impetus for the
formation of ResCap15 and, ultimately, for GM’s sale of a controlling interest in AFI to a
consortium of investors led by Cerberus.16
                    a. Low-Cost Funding Is Critical To Mortgage Finance Operations
     The mortgage origination and securitization business is a low-margin, high-volume
operation with each broker, originator, and servicer taking a small fee for their service as each
12   See General Motors Corp., Annual Report (Form 10-K) (Mar. 13, 2003), at II-8–9.
13   Commenting on the Rating Agencies’ downgrades in late 2001 and 2002, GM noted:
            Downgrades to GM’s and [AFI’s] credit ratings in October 2002 have reduced GM’s long-term
            credit rating by Standard & Poor’s to BBB and A3 by Moody’s ([AFI] is rated A2 by Moody’s).
            Despite these downgrades GM’s and [AFI’s] access to the commercial paper and unsecured debt
            markets remains sufficient to meet the Corporation’s capital needs. Moreover, the downgrades have
            not had a significant adverse effect on GM’s and [AFI’s] ability to obtain bank credit or to sell
            asset-backed securities. Accordingly, GM and [AFI’s] expect that they will continue to have
            adequate access to the capital markets sufficient to meet the Corporation’s needs for financial
            flexibility.
     Id. at II-8.
14   AFI noted the importance of credit ratings to the cost of funding in its 2002 Annual Report:
            The cost and availability of unsecured financing is influenced by credit ratings, which are intended
            to be an indicator of the creditworthiness of a particular company, security, or obligation. Lower
            ratings generally result in higher borrowing costs as well as reduced access to capital markets. This
            is particularly true with respect to the Company’s commercial paper ratings as certain institutional
            investors (money market funds in particular) are limited to investing only in securities carrying the
            two highest rating categories for short-term debt.
     Id. at 29.
15   ResCap was initially formed because GM was having issues with declining credit ratings and AFI, as a wholly
     owned subsidiary of GM, was linked to GM. See Int. of J. Young, Sept. 28, 2012, at 9:2–10:3; see also Int. of
     T. Melzer, Oct. 10, 2012, at 42:6–11.
16   See Section III.E (discussing GM’s sale of a 51% interest in AFI to Cerberus). Cerberus is a private equity
     firm founded in 1992 and headquartered in New York, New York. Cerberus specializes in investing in
     undervalued companies and distressed debt and pursues control and non-control private equity investment
     strategies in a variety of industries, including manufacturing, industrial, automotive, health care, financial
     services, and business services. Cerberus also focuses on investment strategies in commercial lending through
     Cerberus Business Finance, LLC and Ableco Finance LLC, and real estate, through Cerberus Real Estate
     Capital Management, LLC. THE FIRM, CERBERUS CAPITAL MANAGEMENT, L.P., www.cerberuscapital.com/
     thefirm (see links for more information on the four primary business strategies). Cerberus generally refers to
     its controlled investments as “portfolio companies” and referred to ResCap as a Cerberus portfolio company.
     Cerberus Capital Management, L.P., U.S. Mortgage Market Distressed Opportunity, Preliminary Draft, at 25,
     28 [CCM00525455].

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loan is processed. The basic business model is to borrow at low short-term rates of interest and
lend at higher long-term rates of interest.17 The originator/securitizor will hold the loans for a
short period of time as they aggregate similar loans to be sold or securitized.18 During this
holding (or aggregation) period,19 it is important that the originator/securitizor receive more
interest from its borrowers than it is paying to its lenders. Because the spread between short-
and long-term rates is typically quite small, an originator/securitizor seeks to hold loans for a
very short time, and make up for the low margin by processing large volumes. To finance the
business model, originators/securitizors use many different funding sources, including the
gains on sales of loans or securitization proceeds, secured aggregation facilities, asset-backed
commercial paper, repurchase agreements, bank credit facilities, note or bond issuances and,
in the case of banks and their affiliates, customer deposits, borrowings from the FRB, and
advances from the FHLB.20

               b. GM’s Credit Rating Downgrades

     Downgrades to GM’s and AFI’s credit ratings in October 2002 reduced GM’s long-term
credit rating by S&P’s to BBB and by Moody’s to A3 (AFI was rated A2).21 GM reported that,
notwithstanding these downgrades, GM’s and AFI’s access to the commercial paper and




17   See Int. of E. Feldstein, Dec. 14, 2012, at 14:13–16 (“And [AFI] was a large-scale borrower. The business was
     to borrow at one rate, lend at a slightly higher rate, and make something on the spread.”).
18   See Residential Capital Corp., General Form (Form 10) (July 15, 2005), at 12.
           The length of time from the origination or purchase of a mortgage loan to its sale or securitization
           generally ranges from 10 to 100 days, depending on a variety of factors including loan volume by
           product type, interest rates and other capital market conditions. During 2004, we typically sold
           loans within 20 to 60 days of purchase or origination. We generally sell or securitize mortgage
           loans in the secondary market when we have accumulated a sufficient volume of mortgage loans
           with similar characteristics, usually $150 million to $1.5 billion in principal amount.
     Id.
19   The “aggregation period” is the time period between the acquisition or origination of a loan and its subsequent
     sale or securitization. Id.
20   See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 51–55. Likewise, the
     servicing business is also a low-margin, high-volume operation requiring a large infrastructure of personnel
     and information systems to process transactions. A servicing platform typically includes loan accounting,
     claims administration, oversight of primary servicers, loss mitigation, bond administration, cash-flow
     waterfall calculations, investor reporting, and tax reporting compliance. In return, a primary or master servicer
     is typically entitled to receive a fee equal to a specified percentage of the outstanding principal balance of the
     loans being serviced, as well as other compensation, including late payment fees and prepayment penalties.
     The servicer typically also receives interest income on the “float,” or the number of days cash payments from
     borrowers are held prior to being distributed to securitization investors. Id. at 71–72.
21   See General Motors Corp., Annual Report (Form 10-K) (Mar. 13, 2003), at II-8; General Motors Acceptance
     Corp., Current Report (Form 8-K) (Oct. 17, 2002).

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unsecured debt markets remained sufficient to meet their capital needs.22 GM further reported
that these downgrades did not have a significant adverse effect on GM’s and AFI’s ability to
obtain bank credit or to sell asset-backed securities.23

    Rating pressure continued mid-year in 2003 when on June 13, 2003, Moody’s lowered
GM’s long-term rating to Baa1 from A3; AFI’s to A3 from A2, with a rating outlook of
negative; and AFI’s short-term rating to Prime-2 from Prime-1.24 By year end 2004, GM
acknowledged that additional rating downgrades would be problematic for GM and AFI:

                    A further decline in the long-term ratings assigned by any one of
                    the agencies to non-investment grade could temporarily limit
                    GM’s and [AFI]’s access to the unsecured debt markets and
                    could severely limit GM’s and [AFI’]’s ability to access the
                    retail debt market for a period of time. Additionally, GM may
                    not be assured reliable future access to the unsecured debt
                    markets subsequent to being assigned a non-investment grade
                    rating by one or more agencies.25

     AFI’s credit ratings were linked to those of GM because the Rating Agencies believed
that AFI’s fortunes were inextricably tied to those of GM. As such, GM’s declining ratings
were of increasing concern to AFI’s senior management. Eric Feldstein, AFI’s Chairman and
CEO, had several discussions with the rating agencies concerning ways to delink AFI’s credit
rating from that of GM. The goal was to get AFI “a credit rating that was not inextricably
linked to that of GM,” which was at that time “under pressure due to operating challenges.”26
Although Feldstein characterized those discussions as “constructive,”27 and focused on how
governance, outside directors, dividend limitations, and operating agreements might promote
delinkage,28 the efforts to delink AFI from GM were not successful.29 The Rating Agencies
told Feldstein that AFI’s business was too highly correlated with GM: “the predominantly
auto finance business was highly correlated to the auto business.”30

     Although Feldstein was not able to convince the Rating Agencies to untether AFI’s credit
rating from GM’s, Feldstein nevertheless thought he had a “better argument” that AFI’s
mortgage business was “not necessarily correlated to that of the auto business or the auto
22   See General Motors Corp., Annual Report (Form 10-K) (Mar. 13, 2003), at II-8.
23   See id.
24   See General Motors Corp., Annual Report (Form 10-K) (Mar. 11, 2004), at II-10.
25   See General Motors Corp., Annual Report (Form 10-K) (Mar. 16, 2005), at II-12.
26   Int. of E. Feldstein, Dec. 14, 2012, at 31:10–14.
27   Id. at 31:19–23.
28   Id.
29   Id. at 31:24–32:5.
30   Id.

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finance business.31 Feldstein thought that governance and dividend limitations and operating
agreements, coupled with a business that was not correlated with GM’s automotive business
might be able to free AFI’s mortgage business from the drag of GM’s relatively poor credit
ratings.32

     With the help of several senior managers of AFI and AFI’s mortgage operations,
Feldstein worked to “structure [an] entity such that it could command a rating that might be
higher than that of [AFI], by virtue of governance, dividend limitations and certain elements
[of] an operating agreement.”33 Although there could be no assurance, the thought was a
higher credit rating for the mortgage operations might lead to a lower cost of funds.34

B. RESCAP WAS FORMED TO ISOLATE AFI’S RESIDENTIAL MORTGAGE
   OPERATIONS FROM THE FINANCIAL INSTABILITY OF ITS PARENT, GM

     ResCap was incorporated in 2004 to combine AFI’s two separate, fast-growing
residential mortgage entities with the intention of de-linking the credit ratings of those
businesses from AFI and, ultimately, GM by creating “some separation between GM and
[AFI], on the one hand, and [ResCap], on the other.”35 It was critical to accomplish this
quickly, because GM was facing challenges to its business on many fronts.

      1. August 2004 Incorporation

      ResCap was incorporated in Delaware as “Residential Capital Corporation” in August of
2004.36 At its formation, ResCap was a wholly owned subsidiary of GMAC Mortgage Group,
Inc., which was a wholly owned subsidiary of AFI.37 AFI was then wholly owned by GM.38
31   Id. at 32:11–14.
32   Id. at 32:15–20. On this topic, David Walker, the CFO of GMAC Mortgage Group at the time of ResCap’s
     formation, said the following:

            So we said, why don’t we put residential and RFC together, put a firewall around them so that they
            can access the market perhaps at a different rating from either [AFI] or certainly from GM, and
            allow them to continue to grow while maintaining 100 percent economic benefit. Because we saw
            an upside in the business.

     Int. of D. Walker, Nov, 28, 2012, at 15:24–16:5, 16:14–21.
33   Int. of E. Feldstein, Dec. 14, 2012, at 29:12–18.
34   Id. at 30:17–21.
35   See Residential Capital Corp., General Form (Form 10) (July 15, 2005), at 46.
36   Id. at 3.
37   Id.
38   Id. James Young, ResCap’s Chief Accounting Officer and Controller, described the formation of ResCap as a
     “structured separation” of ResCap from AFI. Int. of J. Young, Sept. 28, 2012, at 14:21–25.

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      2. The ResCap By-Laws

     The ResCap By-Laws called for ResCap’s business to be managed by a board of
directors consisting of at least one director. The ResCap By-Laws did not impose any limit on
the number of directors and did not require the appointment of Independent Directors.39 The
By-Laws required that the chairman and president of the company serve on the ResCap Board.
While ResCap’s president had the power under the By-Laws to suspend any officer, no
ResCap officer or director could be terminated without ResCap Board approval.40




39   While ResCap’s By-Laws do not require the appointment of Independent Directors, the 2005 Operating
     Agreement did contain such a requirement. See Section III.B.3.f (discussing the Independent Director
     provisions of the 2005 Operating Agreement).
40   The ResCap By-Laws were superseded by the 2006 ResCap LLC Agreement that was executed in furtherance
     of ResCap’s conversion from a corporation to a limited liability company. See Section III.E.5 (discussing
     ResCap’s conversion from a corporation to a limited liability company); Section III.E.6 (discussing the 2006
     ResCap LLC Agreement).

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      3. The 2005 Operating Agreement

    ResCap, GM, and AFI entered into the 2005 Operating Agreement on June 24, 2005.41
The 2005 Operating Agreement was structured in consultation with the Rating Agencies42 and
was designed to isolate ResCap’s residential mortgage operations from AFI’s automotive




41   See 2005 Operating Agreement [ALLY_0140795]. On June 24, 2005, GM, AFI, and ResCap also entered into
     a Services and Facilities Agreement, under which the parties agreed to certain services being provided at cost.
     The services listed on the accompanying schedule were: (1) legal, regulatory, and corporate secretary services;
     (2) employee benefits administration; (3) tax services; (4) real estate services, including office facilities and
     related support services; (5) strategic sourcing; (6) government relations; (7) accounting and internal audit
     services; and (8) risk management, including insurance. The Agreement is silent as to who shall provide what
     service to whom. See Services and Facilities Agreement, dated June 24, 2005 [RC00028306]; Schedule to
     Services and Facilities Agreement, dated June 24, 2005 [RC00028311].
42   In his interview, Walker stated:
           [B]ut we presented them the idea of ResCap. “Here’s what we would like to do to get a different
           rating than [AFI].” “Okay, and you’re going to need to do certain things.” “Fine. We’ll go back and
           work on that.” One of them was an operating agreement, so we put together an operating agreement
           that encompassed what we thought the rating agencies, and in working with our bankers that we’re
           going to be selling debt, what did they think investors were going to be looking for in terms of an
           operating agreement. What types of clauses would be necessary?
           We drafted a document. We had, obviously, ResCap folks look at it. We had [AFI] folks look at it.
           And, ultimately, obviously, the rating agencies required to see it in order to rate the bonds of
           ResCap and give them a rating. And obviously, you need to get the rating and then tell the
           investors, “These bonds are going to be rated X by the agencies. Now, would you like to buy
           them?” So, that was all sort of part of the process that took [a] period of time to get to the
           conclusion.
      Int. of D. Walker, Nov. 28, 2012, at 21:1–24. In addition, ResCap, primarily through investment bankers,
      discussed the 2005 Operating Agreement with large institutional investors. See id. at 22:7–21 (stating that
      ResCap had discussions with market participants and that “we don’t actually spend a lot of time directly with
      the investors” and “most of it was done by [investment bankers] saying, ‘The market’s telling us THIS. You
      will need THAT.’”).
           In his interview, David Applegate, a former co-CEO of ResCap, stated:
           The need for an operating agreement. I became aware of in the formation process. Obviously, the
           rating agencies were a big driver of that. And that was part of the foundation of the separation of the
           organizations.
      Int. of D. Applegate, Dec. 7, 2012, at 89:6–11; see also Int. of T. Melzer, Oct. 10, 2012, at 36:5–9.

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finance and insurance business and from GM’s automotive manufacturing operations.43
According to Bruce Paradis, a former co-CEO of ResCap, “the finance businesses that were
unaffiliated with the automobile business could likely raise capital more cheaply, at a lower
price than our parent.”44 Thus, the 2005 Operating Agreement was intended to erect a
“firewall” between GM and AFI, and ResCap.45 The 2005 Operating Agreement, according to
Young, was critical to ResCap’s ability to issue debt rated separately from AFI.46

     AFI publicly stated that the purpose of the 2005 Operating Agreement was to “create
separation between GM and [AFI], on the one hand, and ResCap, on the other,” by restricting
“ResCap’s ability to declare dividends or prepay subordinated indebtedness” to AFI.47 As a
result, ResCap was able to obtain “investment grade credit ratings for its unsecured
43   In her interview, Tammy Hamzehpour, Associate Counsel for RFC at the time of ResCap’s formation, stated:
           So what kinds of separation would you have to have to convince a rating agency that you weren’t
           going to be sucked into that downward spiral of the auto company? So that’s why ResCap was
           created. We have an operating agreement, which I’m sure you’ve seen, with [AFI] and GM used to
           be a party to it when they [owned 100% of AFI]. That operating agreement was referred to as the
           firewall which set up the mechanisms by which we would maintain separateness with this company.
      Int. of T. Hamzehpour, Oct. 5, 2012, at 128:6–16.
      In his interview, Sanjiv Khattri, Executive Vice President and CFO of AFI at the time of ResCap’s
      formation, observed:
           So, the [Independent Director] ring-fencing, firewall, operating agreement were all meant to convey
           the same message that ResCap was a quasi-independent standalone company with its own board,
           with its own plans. And the fact that it was a 100 [percent] owned subsidiary of [AFI] was just a by
           the way, and that it was independent. So things like ring-fencing, operating agreement, firewall
           were all used to convey that message.
      Int. of S. Khattri, Oct. 25, 2012, at 21:19–22:2.
      James Young, Chief Accounting Officer and Controller of ResCap at the time of its formation, remembered:
           And so, given the profitability of the mortgage business, the initiative, the strategic initiative was to
           create ResCap. And it was—operationally, through the operating agreement, separate it from [AFI].
           So, even though it’s a wholly owned sub, the operating agreement was effective at separating it
           through certain operational aspects . . . .
     Int. of J. Young, Sept. 28, 2012, at 9:17–24.
44   Int. of B. Paradis, Dec. 14, 2012, at 33:4–8.
45   Id. at 40:14–17 (“[T]he primary objection or concern regarding the rating agencies, was the firewall or the
     independence between [AFI] and ResCap.”); see also Int. of J. Young, Sept. 28, 2012, at 14:21–25 (describing
     the formation of ResCap as a “structured separation” of ResCap from AFI); Memorandum, GMAC Bank
     Restructuring, dated Apr. 20, 2006, at 3 [EXAM11248642] (noting that “the Operating Agreement lays the
     foundation for creating the legal and business separation between ResCap and its subsidiaries (on the one
     hand) and GM/[AFI] (on the other)”).
46   See Int. of J. Young, Sept. 28, 2012, at 15:2–18.
47   See General Motors Acceptance Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 5.

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indebtedness” that were separate from the ratings of GM and AFI.48 Nevertheless, ResCap’s
ratings remained tied to those of GM and AFI given that ResCap was still a wholly owned,
indirect subsidiary of AFI and GM.49




48   Id.
49   Although “notching” refers primarily to a credit rating agency’s assessment regarding the relative recovery
     prospects of different instruments issued by the same issuer, in common parlance notching may also refer to
     the Rating Agencies’ views as to the relative recovery prospects of debt instruments issued by affiliated
     entities. In that regard, Rating Agencies are generally resistant to varying credit ratings of affiliated issuers
     beyond a certain number of levels or notches. Given that ResCap remained an indirect, wholly owned
     subsidiary of AFI and GM, ResCap’s ratings could not be totally de-linked from those of AFI or GM.
     According to Feldstein:
           We didn’t get a perfect delinking, meaning that we will look at ResCap completely independent of
           [AFI]. But I think it was a victory in that they were no longer inextricably linked.
           I don’t remember which agency said what, but one said, you know, “Yes, we’ll rate them
           independently, but can’t have more than, you know, two notches above [AFI].” So, there’s still a
           linkage, but not, you know, a mirror image. We viewed it as a success, and a mini-breakthrough.
     Int. of E. Feldstein, Dec. 14, 2012, at 34:25–35:10; see also Int. of D, Walker, Nov. 28, 2012, at 127:15–
     129:2; Int. of S. Khattri, Oct. 25, 2012, at 59:18–60:3; Moody’s, Press Release, Moody’s Downgrades
     Residential Capital’s Senior Debt to Baa3; Rating Outlook is Negative (Aug. 24, 2005) [EXAM11377860].
     As further evidence that ResCap’s credit rating remained linked to GMAC and GM, Moody’s, when
     downgrading ResCap’s rating in August 2005, stated:
           The rating downgrade of ResCap is not a result of any change in Moody’s views regarding
           ResCap’s intrinsic creditworthiness, which the rating agency deems to be “high Baa” on a stand-
           alone basis, but rather reflect the ratings of its parent, [AFI], and ultimate parent, GM. Although the
           residential real estate finance business of ResCap, and auto finance business of [AFI], are separate
           from an operating perspective, ResCap continues to be substantially dependent on the support of
           [AFI] in regards to its capital structure, though such support should continue to diminish. ResCap is
           also a wholly owned subsidiary of [AFI].
     Id. Referring to a downgrade in September 2005, Fitch Ratings similarly stated:
           The rating action on ResCap solely reflects its ownership by [AFI]. While Fitch continues to
           believe that ResCap maintains investment grade fundamentals, its ownership by [AFI] is a limiting
           factor in terms of rating notching. At present, Fitch would allow for up to two notches between the
           ratings of ResCap and [AFI]. Although Fitch does not differentiate the ratings of GM and [AFI]
           currently, Fitch would consider a ratings distinction similar to ResCap in accordance with Fitch’s
           criteria for parent and financial subsidiary relationships.
     Fitch, Press Release, Fitch Lowers GMAC & ResCap Ratings; Rating Outlook Remains Negative (Sept. 26,
     2005) [EXAM11700280].

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               a. The 2005 Operating Agreement Provides Separation By, Among Other Things,
                  Placing Limitations On Affiliate Transactions.50

     Section 2 of the 2005 Operating Agreement is among the more important provisions of
the Agreement. That section sought to promote separation between ResCap and GMAC
Affiliates51 by, inter alia:

                    1. Prohibiting the guarantee by ResCap or by any of its subsidiaries of any
                       indebtedness of any GMAC Affiliate;

                    2. Prohibiting any Investment52 by ResCap in any GMAC Affiliate;

                    3. Restricting ResCap’s “material” transactions with GMAC Affiliates;

                    4. Limiting the circumstances in which ResCap might declare and pay any
                       Dividend,53 and capping the amount of dividends that might be paid if
                       declaration and payment of dividends is permitted; and

                    5. Limiting the ability of ResCap to prepay indebtedness owing to any GMAC
                       Affiliate.54




50   The 2005 Operating Agreement was amended and restated pursuant to the 2006 Amended Operating Agreement,
     dated November 27, 2006. See Section III.E.9 (discussing the 2006 Amended Operating Agreement).
51   Under the 2005 Operating Agreement, “‘GMAC Affiliate’ means GM, [AFI] and any [p]erson that is an
     [a]ffiliate of GM or [AFI], other than ResCap and its [s]ubsidiaries.” 2005 Operating Agreement, § 1
     [ALLY_0140795].
52   Pursuant to the 2005 Operating Agreement, “‘Investment’ in any [p]erson means any loan, advance or other
     extension of credit (other than in the ordinary course of business) to such [p]erson (whether in cash or
     property) or any capital contribution or purchase or acquisition of any [c]apital [s]tock or indebtedness of such
     [p]erson (whether in cash or property); provided, however, that the terms ‘Investment’ shall not include any
     purchase of securities issued by a GMAC Affiliate through the use of funds in a custodial account held by
     ResCap or its [s]ubsidiaries relating to the sale of financial assets by ResCap or its [s]ubsidiaries.” Id.
     Notwithstanding the prohibition on Investments set forth in the 2005 Operating Agreement, section 8 of that
     Agreement authorized the waiver of the provisions of the Agreement with ResCap Board approval. See
     Section III.B.3.b (discussing the process to amend or waive provisions of the 2005 Operating Agreement); see
     also Section V.A.1.a (discussing how the Investment prohibition in the 2005 Operating Agreement was
     waived, purportedly in compliance with section 8 of the 2005 Operating Agreement, to approve the 2006
     Bank Restructuring).
53   See Section III.B.3.d (defining Dividend for the purposes of the 2005 Operating Agreement).
54   The prohibitions and limitations imposed by section 2 of the 2005 Operating Agreement were subject to
     amendment or waiver under certain circumstances. See Section III.B.3.b (discussing the process to amend or
     waive provisions of the 2005 Operating Agreement).

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               b. Amendment And Waiver Of The 2005 Operating Agreement

     The 2005 Operating Agreement specified the procedures and requirements for the
amendment or waiver of its provisions. An amendment or waiver of any provision of the 2005
Operating Agreement was required to be in writing and signed by GM, AFI, and ResCap.55
Any amendment or waiver that would “materially and adversely” affect the rights of any
Class56 of Rated Indebtedness57 required approval by the majority of the ResCap Board,
including a majority of the Independent Directors.58 Pursuant to the 2005 Operating
Agreement, the Independent Directors were required to consider “only the interest of ResCap,
including its creditors,” in considering an amendment or waiver that would materially and
adversely affect the rights of any Class of Rated Indebtedness.59 In addition, the 2005
Operating Agreement required approval by the majority of the Independent Directors to
amend article VI of ResCap’s By-Laws, the article that provided for the indemnification of
and advancement of expenses to ResCap directors and officers.60

               c. The Arm’s-Length And Fair Value Requirements For Material Transactions
                  With GMAC Affiliates

     The 2005 Operating Agreement forbade ResCap and its subsidiaries from guaranteeing
the indebtedness of any GMAC Affiliate, and prohibited Investments by ResCap in any
GMAC Affiliates. ResCap was nevertheless permitted under the 2005 Operating Agreement to




55   2005 Operating Agreement, § 8 [ALLY_0140795].
56   Under the 2005 Operating Agreement, “‘Class’ means, with respect to any Rated Indebtedness, all such Rated
     Indebtedness designated as belonging to the same class, series or issue or otherwise having substantially the
     same material terms and governed by substantially the same instruments.” Id. § 1.
57   Under the 2005 Operating Agreement, “‘Rated Indebtedness’ means any senior long-term unsecured debt of
     ResCap, that, at the relevant time, is outstanding and not defeased in accordance with its terms and that is at
     the time of its issuance rated by at least two of the Rating Agencies, unless the instruments governing such
     indebtedness provide that they are not entitled to the benefits of this [a]greement.” Id.
58   Id. § 8. Pursuant to the 2005 Operating Agreement, ResCap was required to provide a copy of any amendment
     or waiver to any trustee, administrative agent, or fiduciary responsible for any senior unsecured credit facility
     under which ResCap was a borrower or for any Class of Rated Indebtedness. Id. The 2005 Operating
     Agreement required that ResCap have at all times at least two Independent Directors. Id. § 2(g)(i); see also
     Section III.B.3.f (discussing of the Independent Director requirement imposed by the 2005 Operating
     Agreement).
59   2005 Operating Agreement, § 8 [ALLY_0140795].
60   Id. § 2(g)(iii); see also Section III.B.3.j (discussing indemnification under the 2005 Operating Agreement).

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“engage in material transactions” with any GMAC Affiliate provided that “such transactions
[were] on terms and conditions that [were] consistent with those that parties at arm’s length
would agree to and for fair value.”61
     By its terms, the 2005 Operating Agreement did not mandate Independent Director
review of all Affiliate Transactions, much less a general “veto right” with respect to all such
transactions. Instead, the 2005 Operating Agreement prohibited material Affiliate
Transactions that were not compliant with the arm’s length and fair value requirements, while
providing a mechanism for waiver of this requirement by a majority of the Independent
Directors. Affiliate Transactions that were not material, or which were compliant with the
arm’s length and fair value requirements, were not prohibited by the agreement, regardless of
whether they were reviewed or approved by the Independent Directors.62 The 2005 Operating
Agreement did not explicitly prohibit the ResCap Board from itself determining that an
Affiliate Transaction was not material or that it met the arm’s length and fair value
requirements. However, if the ResCap Board were to make such a determination, and a
reviewing court concluded that the Affiliate Transaction in fact was material and did not meet
the arm’s-length and fair-value requirements, the court would likely reject the Board’s
determination as inconsistent with the Operating Agreement’s requirement of Independent




61   See 2005 Operating Agreement, § 2(b) [ALLY_0140795]. The 2005 Operating Agreement also required that
     financing agreements and intercompany debt obligations with any GMAC Affiliate must be in writing, and
     any agreements that involve the transfer by ResCap of cash in an amount greater than $25 million per year or
     goods or services with a value in excess $25 million per year must be in writing. See 2005 Operating
     Agreement, § (2)(b)(i)–(ii) [ALLY_0140795]. In addition, notwithstanding the limitation on transactions with
     GMAC Affiliates, certain licensing, servicing and facilities, and employee financing accommodations were
     excepted from the limitations imposed by section 2(b) of the 2005 Operating Agreement. See 2005 Operating
     Agreement, § 2(c) [ALLY_0140795].
62   See Section III.B.3.b (discussing the process to amend the 2005 Operating Agreement). Jacob, one of the
     initial Independent Directors of ResCap, stated:
          But in terms of some of these related party transaction, unless and until Tom Melzer [an
          Independent Director of ResCap] and I granted, you know, agreed on a specific waiver, you know,
          they could not do anything about it. They really could not carry the transaction forward.
     Int. of T. Jacob, Nov. 7, 2012, at 176:22–177:4

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Director approval of any waiver.63 In any event, there do not appear to have been any
occasions on which the ResCap Board approved an Affiliate Transaction without the approval
of a majority of the Independent Directors. There were, however, occasions on which it




63   In discussing the prohibition of material transactions with GMAC Affiliates and the determination of whether
     a transaction was consistent with those that parties at arm’s length would agree to and for fair value, Melzer
     stated, “I think it was really up to the two of us to make sure it was observed.” Int. of T. Melzer, Oct. 10,
     2012, at 97:8–9. Melzer further stated that “if you looked at the parties involved in that, who else was a
     disinterested party that could make that judgment but Tom Jacob and I?” Id. at 97:15–18. Although the 2005
     Operating Agreement did not explicitly require the Independent Directors to confirm whether a particular
     transaction met the arm’s length and fair value tests, according to Melzer, “to me it was pretty explicit in
     terms of our broader responsibilities with respect to the stakeholders, if you will, in ResCap.” Id. at 98:1–3.
     Similarly, Jacob stated:
          If we have to engage in any transaction involving an affiliate, I really needed to get expert opinion
          which would satisfy me that this transaction—in terms of the condition of this transaction, is
          comparable to what is a similar transaction in the market, okay? So, that was my understanding of
          that. So, whenever a related party transaction was brought to us, the independent directors, you
          know, we basically said, you know, it needs opinion on both the arm’s length terms and conditions
          as well as the fairness of the valuation.
     Int. of T. Jacob, Nov. 7, 2012, at 130:18–131:7. Moreover, when it was pointed out that the 2005 Operating
     Agreement did not explicitly require the Independent Directors to analyze whether a particular transaction met
     the arm’s length and fair value tests, Jacob stated:
          Because I’ll tell you, I mean, that was my understanding. But also whenever there are related party
          transactions, you know, we had—Tom Melzer and I constituted a special committee of the board to
          review that, that related party transaction. So it was an established governance practice.
     Id. at 134:16–22.

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appears that one or more members of ResCap’s management apparently concluded that it was
unnecessary to submit an Affiliate Transaction for scrutiny and approval by the ResCap Board
or by the Independent Directors.

     As discussed more fully in Section V.B, several of the derivative transactions between
ResCap and GMAC Affiliates included terms and conditions that were not consistent with those
between parties at arm’s length (a fact acknowledged by the parties at the time). The Investigation
did not reveal any evidence that the Independent Directors were notified of these inconsistencies,
or afforded the opportunity to waive the requirements as permitted by section 8 of the 2005
Operating Agreement or that the transactions were even presented to the ResCap Board.

               d. Dividend Limitations

      The 2005 Operating Agreement prohibited ResCap from declaring or paying a
Dividend,64 unless at the time a Dividend was declared and paid ResCap’s Stockholder’s
Equity65 exceeded $6.5 billion.66 Assuming ResCap’s Stockholder Equity exceeded the $6.5
billion threshold at the time of a dividend declaration and payment, the 2005 Operating
Agreement further provided that the cumulative amount of dividends from and after the date
of the 2005 Operating Agreement could not exceed (1) 50% of ResCap’s Cumulative Net
Income67 at the time of the Dividend, minus (2) (to the extent a positive number) the
cumulative amount of any Prepayments68 (other than Excluded Prepayments69), minus 50% of
64   Under the 2005 Operating Agreement, “‘Dividend’ means any dividend or distribution of cash or property by
     ResCap on account of its [c]apital [s]tock or the repurchase by ResCap of its [c]apital [s]tock (other than
     dividends, distributions or repurchases payable in [c]apital [s]tock (other than Disqualified Stock)).” 2005
     Operating Agreement, § 1 [ALLY_0140795].
65   Under the 2005 Operating Agreement, “‘Stockholder’s Equity’ means, at any time of determination, the
     amount which would be shown as stockholder’s equity on the consolidated balance sheet of ResCap as of such
     time prepared in accordance with GAAP.” Id.
66   See id. § 2(d). The 2005 Operating Agreement provided that the dividend restrictions would terminate when
     ResCap’s Stockholder’s Equity exceeded $12 billion as of the end of each of two consecutive quarters. See id.
     § 2(d)(iv).
67   Under the 2005 Operating Agreement, “‘Cumulative Net Income’ means the net income of ResCap and its
     [s]ubsidiaries on a consolidated basis determined in accordance with GAAP for the period beginning with the
     first day of the first fiscal quarter beginning after the date of this Agreement and ending on the last day of the
     fiscal quarter ending immediately preceding the date as of which a determination of Cumulative Net Income is
     required.” Id. § 1.
68   Under the 2005 Operating Agreement, “‘Prepayment’ means any payment of principal in respect of GMAC
     Subordinated Debt prior to the stated maturity thereof.” Id. The 2005 Operating Agreement defines “GMAC
     Subordinated Debt” as “any indebtedness owed by ResCap or any of its [s]ubsidiaries to any GMAC Affiliate
     that is subordinated to Rated Indebtedness in right of payment of principal, interest and premium, if any.” Id.;
     see Section III.B.3.a.b (defining GMAC Affiliate and Rated Indebtedness, respectively).
69   Under the 2005 Operating Agreement, “Excluded Prepayments” means “Prepayments [by ResCap] of GMAC
     Subordinated Debt of up to a cumulative amount of $500 million after the date of this Agreement.” 2005
     Operating Agreement, § 1, 2(e) [ALLY_0140795].

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ResCap’s Cumulative Net Income at the time such dividend is declared and paid.70 The 2005
Operating Agreement did not require that dividend declarations and payments be approved by
the vote of any Independent Director. As previously discussed, any waiver of the dividend
limitation required the approval by a majority of the ResCap Board, including a majority of
the Independent Directors.

               e. Limitations On The Prepayment Of GMAC Subordinated Debt Under The 2005
                  Operating Agreement

     The 2005 Operating Agreement permitted ResCap to make Prepayments of GMAC
Subordinated Debt of up to a cumulative amount of $500 million after the date of the
Agreement (i.e., the Excluded Prepayments).71 Any Prepayment of GMAC Subordinated Debt
in excess of that amount could, however, only be made from: (1) ResCap’s Cumulative Net
Income at the time of such Prepayment less Dividends and Prepayments (other than Excluded
Prepayments) made after the date of the 2005 Operating Agreement; (2) the net proceeds to
ResCap from the issuance of Capital Stock72 or indebtedness to any Person (other than a
GMAC Affiliate) that was subordinated in right of payment to Rated Indebtedness; or (3) 50%
of the net proceeds to ResCap from the issuance of indebtedness to any Person (other than a
GMAC Affiliate) that was ranked pari passu in right of payment with Rated Indebtedness.73
Independent Director approval was not required for the making of any Prepayment that was
otherwise authorized under the 2005 Operating Agreement.




70   See id. § 2(d). According to AFI’s 2006 Annual Report, “as of Dec. 31, 2005, ResCap had consolidated
     stockholder’s equity of approximately $7.5 billion,” and owed AFI “$4.1 billion pursuant to a Subordinated
     Note Agreement, under which interest is payable quarterly and all outstanding principal is due at maturity on
     September 30, 2015.” General Motors Acceptance Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 5.
71   See 2005 Operating Agreement, § 2(e) [ALLY_0140795].
72   Under the 2005 Operating Agreement, “‘Capital Stock’ of any [p]erson means any and all shares, interests,
     participations or other equivalents (however designated) of corporate stock, including any preferred stock.” Id.
     § 1.
73   See id. § 2(e); Section III.B.3.b (defining Rated Indebtedness).

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               f. The Independent Directors Requirement

     Pursuant to the 2005 Operating Agreement, AFI was required to vote for, and ResCap
was required to have, at least two Independent Directors74 at all times.75 In the event of a
vacancy in the position of an Independent Director, AFI was required “as promptly as
practicable” to elect a successor Independent Director.76

               g. ResCap Actions That Required The Approval Of A Majority Of The ResCap
                  Board, Including A Majority Of The Independent Directors

     The 2005 Operating Agreement provided that ResCap could not, in connection with the
commencement or pendency of a bankruptcy or insolvency proceeding of any GMAC
Affiliate: (1) commence a bankruptcy or insolvency proceeding for ResCap; (2) consent to
any involuntary bankruptcy or insolvency proceeding for ResCap; (3) file any petition seeking
or consenting to the appointment of a receiver, assignee, trustee, sequestrator or other similar
official of ResCap or for a substantial part of ResCap’s assets; or (4) make an assignment for
the benefit of creditors, unless the action was authorized by the prior approval of the ResCap
Board, including the approval of a majority of the Independent Directors.77
74   The 2005 Operating Agreement defines an “Independent Director” as a person who:

          (A) is not and has not been an officer, director or employee, and has no immediate family member
          that is or has been an officer, of any GMAC Affiliate within the three years immediately prior to
          [being appointed];

          (B) has not received, and has no immediate family member who has received . . . more than
          $100,000 in direct compensation from any GMAC Affiliate, other than director fees and pension
          and other forms of deferred compensation for prior service that is not contingent in any way on
          continued service [in the immediately prior three years];

          (C) is not employed by, and has no immediate family member that is an officer of, any Person that
          has made payments to, or received payments from, any GMAC Affiliate for property or services in
          an amount which, in any of the last three fiscal years, exceeds the greater of $1 million or 2% of
          ResCap’s consolidated gross revenues; and

          (D) is reasonably believed by the then current directors of ResCap to be financially sophisticated
          and otherwise qualified to fulfill the obligations [described in the Operating Agreement].

     2005 Operating Agreement, § 1 [ALLY_0140795]; see also Section IV.B.1 (discussing Independent Director
     history).
75   See 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795]. Melzer, one of the two initial Independent
     Directors of ResCap, believed that the Independent Director requirement in the 2005 Operating Agreement
     was critical to achieving a higher rating for ResCap. Int. of T. Melzer, Oct. 10, 2012, at 39:1–3, 39:25–40:1.
76   See 2005 Operating Agreement, § 2(g)(i) [ALLY_0140795].
77   See id. § 2(g)(iii). The 2005 Operating Agreement did not prohibit ResCap from taking any of the bankruptcy
     or insolvency actions without the affirmative vote of the Independent Directors if such was to be taken
     independently of the commencement or pendency of a bankruptcy or insolvency proceeding of any GMAC
     Affiliate. Id.

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     Indeed, the 2005 Operating Agreement forbade the ResCap Board from voting on or
authorizing any such action unless there was at the time at least one Independent Director then
serving in such capacity.78 Similarly, the 2005 Operating Agreement provided that early
termination of the Agreement required the approval of a majority of the ResCap Board,
including a majority of the Independent Directors.79

     As previously noted, the 2005 Operating Agreement provided a procedure to amend or
waive the provisions thereof. In particular, the provisions of the 2005 Operating Agreement
could not be amended or waived if the amendment or waiver would materially and adversely
affect the rights of any Class of Rated Indebtedness unless such amendment or waiver was
approved by a majority of the ResCap Board, including a majority of the Independent
Directors.80

                h. The Independent Directors Were Required In Certain Circumstances To
                   Consider Only The Interest Of ResCap, Including Its Creditors

     The 2005 Operating Agreement provided that the Independent Directors “shall,” when
voting on bankruptcy and insolvency relief, early termination of the Agreement, or waiver or
amendment of provisions that would materially and adversely affect the interests of any Class
of Rated Indebtedness, “to the fullest extent permitted by law . . . consider only the interest of
ResCap, including its creditors.”81 The Independent Directors’ independence from AFI and its
Affiliates was further underscored by a provision in the 2005 Operating Agreement that barred
AFI from bringing any legal action against any Independent Director for considering only the
interest of ResCap and its creditors when voting on the debtor relief measures set forth therein,
early termination of the 2005 Operating Agreement, and amendments and waivers.82 Melzer
stated that he always considered only the interest of ResCap and its creditors while serving on
the ResCap Board, notwithstanding that the requirement was applicable only in limited
circumstances.83




78   See id.
79   See id. § 4. The Operating Agreement provided that it would terminate when ResCap ceased to be a direct or
     indirect subsidiary of AFI. The Operating Agreement was subject to termination beforehand upon agreement
     by ResCap, GM, and AFI and approval by a majority of the ResCap Board, including a majority of the
     Independent Directors. See id.
80   See id. § 8. The 2005 Operating Agreement, however, “[did] not provide express guidance as to what
     constitutes a waiver that materially and adversely affects senior noteholders—nor [did] it prohibit the
     independent directors from approving any such waiver.” Walker Report, at 6 [RC40008925].
81   2005 Operating Agreement, §§ 2(g)(i), 8 [ALLY_0140795].
82   Id. § 2(g)(i).
83   See Int. of T. Melzer, Oct. 10, 2012, at 104:10–16.

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               i. Separateness Provisions

      Section 2(f) of the 2005 Operating Agreement included a full array of provisions
commonly employed in structured financings to mitigate the risk of substantive consolidation
or to otherwise isolate or ring-fence the assets and operations of an entity from the bankruptcy
risks of its affiliates. The 2005 Operating Agreement separateness covenants provided, inter
alia, that ResCap should, at all times:

             1.    Maintain its books, records and financial statements separate from those of any
                   and all GMAC Affiliates;

             2.    Maintain its assets in a manner such that it would not be costly to segregate and
                   identify such assets from those of any and all GMAC Affiliates;

             3.    Maintain bank accounts and cash management and account receivable
                   collections systems separate from any and all GMAC Affiliates;

             4.    Maintain its own asset investment, risk management and hedging programs
                   separate for those of any and all GMAC Affiliates;

             5.    Pay its own liabilities out of its own funds;

             6.    Conduct the business operations of ResCap and its Subsidiaries by its or their
                   own employees and officers, who would not also be employees or officers of
                   any GMAC Affiliate;84

             7.    Not commingle funds or other assets with those of any GMAC Affiliate; and

             8.    Otherwise take such action so that ResCap would maintain its separate legal
                   existence and identity.85

    The requirement under section 2(f) of the 2005 Operating Agreement that ResCap
conduct its business operations by its own employees and officers who were not also
employees or officers of any GMAC Affiliate was later eliminated by an amendment
approved by the two Independent Directors.86
84   This separateness provision was deleted in the 2006 Amended Operating Agreement. See Section III.E.9
     (discussing the 2006 Amended Operating Agreement). One might question the efficacy of such a provision to
     promote separateness during its abbreviated like span given that ResCap’s employees and officers were
     subject to termination by the ResCap Board, which at all times relevant to the Investigation was dominated by
     AFI employees. Independent Director Melzer, however, never questioned the provision, but rather assumed
     that ResCap was in compliance at all relevant times. Int. of T. Melzer, Oct. 10, 2012, at 100:22–101:14,
     102:4–9.
85   2005 Operating Agreement, § 2(f) [ALLY_0140795].
86   See Section III.E.9 (discussing the 2006 Amended Operating Agreement).

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                j. Indemnification Provisions

     Each party to the 2005 Operating Agreement agreed to indemnify the other parties from
losses sustained as the result of the indemnifying party’s indemnifiable liabilities.87 In
particular, GM agreed to indemnify ResCap and its subsidiaries from GM Indemnifiable
Liabilities88 and AFI agreed to indemnify ResCap and its subsidiaries from GMAC
Indemnifiable Liabilities (other than GM Indemnifiable Liabilities).89 Under the 2005
Operating Agreement, ResCap had a reciprocal obligation to indemnify GM Affiliates and
GMAC Affiliates for ResCap Indemnifiable Liabilities.90 The parties also limited the ability to
assign rights under the 2005 Operating Agreement, with GM being permitted to assign its
rights “to any other GM Affiliate,” and AFI being permitted to assign its rights “to any other
GMAC Affiliate.” Such assignments were not to have any effect on the parties’ obligations
under the 2005 Operating Agreement.91

                k. Termination Of The 2005 Operating Agreement

     The 2005 Operating Agreement provided that it would terminate automatically if ResCap
ceased to be a direct or indirect AFI subsidiary.92 The 2005 Operating Agreement was also
terminable by agreement of the parties, which, as noted above, required not just the approval
of a majority of the members of the ResCap Board, but also the approval of the majority of the
Independent Directors, who in considering termination of the 2005 Operating Agreement were
required pursuant to its terms to consider to the fullest extent permitted by law only the
interest of ResCap and its creditors.93
87   See 2005 Operating Agreement, § 3 [ALLY_0140795].
88   Under the 2005 Operating Agreement, “‘GM Indemnifiable Liabilities’ means all Liabilities of any GM
     [a]ffiliate to the extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any of the
     following items: (i) the failure of any GM [a]ffiliate to pay, perform or otherwise promptly discharge any
     Liabilities of such GM [a]ffiliate in accordance with their terms; or (ii) the GM [a]ffiliate Business.” Id. § 1.
89   Under the 2005 Operating Agreement, “‘GMAC Indemnifiable Liabilities’ means all Liabilities of any GMAC
     [a]ffiliate to the extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any of the
     following items: (i) the failure of any GMAC [a]ffiliate to pay, perform or otherwise promptly discharge any
     Liabilities of such GMAC [a]ffiliate in accordance with their terms; or (ii) the GMAC [a]ffiliate Business.”
     Id.; see also Section L.2.a(1)(a)(ii)(B) (discussing whether a claim may be asserted by ResCap against AFI for
     indemnification under either the 2005 Operating Agreement or the 2006 Amended Operating Agreement for
     the breach of representations and warranties by Old GMAC Bank).
90   Under the 2005 Operating Agreement, “ResCap Indemnifiable Liabilities’ means all Liabilities ResCap or any
     of its [s]ubsidiaries to the extent such Liabilities (a) relate to, (b) arise out of or (c) result principally from any
     of the following items: (i) the failure of ResCap or any of its [s]ubsidiaries to pay, perform or otherwise
     promptly discharge any Liabilities of ResCap or such [s]ubsidiary, as the case may be, in accordance with
     their terms; or (ii) the ResCap Business.” 2005 Operating Agreement, § 1 [ALLY_0140795].
91   See id. § 9.
92   See id. § 4.
93   See id.

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                   l. Guarantee And Third-Party Beneficiaries

    The 2005 Operating Agreement expressly stated that it was not a guarantee by GM or
AFI of ResCap’s indebtedness.94 Pursuant to section 7 of the 2005 Operating Agreement,
AFI’s “sole obligation[s]” were limited to those set forth in:

                      1. Section 3, which required AFI to indemnify ResCap from GMAC
                         Indemnifiable Liabilities (other than GM Indemnifiable Liabilities);

                      2. Section 2(g), which required ResCap to have two or more Independent
                         Directors at all times, and required AFI to promptly elect a new
                         Independent Director upon a vacancy;

                      3. Section 2(h), which required AFI to prepare consolidated financial
                         statements, in accordance with GAAP and SEC rules, including with
                         respect to ResCap;95 and

                      4. Section 2(i), which required AFI to hold out ResCap and its subsidiaries as
                         “legal entities separate and distinct” from AFI, and to “correct any known
                         misunderstanding about ResCap’s separate identity.”96

GM’s “sole obligation” under the 2005 Operating Agreement was to indemnify ResCap from
and against GM Indemnifiable Liabilities.97 The 2005 Operating Agreement further provided
that “[u]nder no circumstances shall GM or [AFI] be liable for damages for breach of this
Agreement (other than Section 3 [indemnification provision]).”98

      In addition, the 2005 Operating Agreement provided that it inured solely to the benefit of
GM, AFI, and ResCap.99 The holders of Rated Indebtedness and any lenders under any credit
facility under which ResCap was a borrower, however, were deemed to be third-party
beneficiaries.100 Pursuant to the 2005 Operating Agreement “the remedies of such holders or
lenders [under the 2005 Operating Agreement] shall be limited to specific enforcement of the
provisions of [the 2005 Operating Agreement] as the same may be amended and waived
94   Id. § 7 (“This Agreement is not, and shall not be construed to be, a guarantee by GM or [AFI] of any
     indebtedness of ResCap or an agreement by GM or [AFI] to contribute additional capital to ResCap.”).
95   “The supplemental disclosures to such financial statements shall provide that ResCap’s creditors will be
     entitled to be satisfied out of ResCap’s assets prior to ResCap’s equity holders and that [AFI] conducts its
     residential mortgage operations and related businesses through ResCap.” Id. § 2(h).
96   Id. § 2(i).
97   ResCap had a reciprocal obligation to indemnify GM for ResCap Indemnifiable Liabilities. See Section
     III.B.3.j (discussing indemnification under the 2005 Operating Agreement); see also 2005 Operating
     Agreement, § 3(c) [ALLY_0140795].
98   2005 Operating Agreement, § 7 [ALLY_0140795].
99   See id. § 11.
100 See id.



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pursuant to [s]ection 8 [of the 2005 Operating Agreement] . . . .”101 The 2005 Operating
Agreement did not contemplate or require that notice or other communications given or made
pursuant to the 2005 Operating Agreement be given to the holders of Rated Indebtedness or
lenders under any credit facility.102

C. RESCAP’S POST-FORMATION FUNDING, MANAGEMENT, AND BUSINESS
   PROFILE

     1. GMAC Mortgage Group Inc. Contributes GMAC Residential Holding Corp. And
        GMAC-RFC Holding Corp. To ResCap

    Although incorporated in 2004, ResCap conducted no operations until March 2005, when
AFI’s wholly owned subsidiaries GMAC Residential (based in Horsham, Pennsylvania) and
GMAC-RFC (based in Minneapolis, Minnesota) were transferred to ResCap.103

     2. ResCap’s Initial Funding And Capitalization

      Before their transfer to ResCap in March 2005, AFI’s residential mortgage-finance
subsidiaries funded their operations primarily through sales and securitizations of mortgage
loans, and borrowings under secured and unsecured lines of credit. AFI was the lender under
the majority of the unsecured lines of credit, including a $20 billion domestic revolving credit
facility that the mortgage subsidiaries shared with other AFI subsidiaries.104

     In the second quarter of 2005, upon the commencement of operations, ResCap
restructured its subsidiaries’ domestic credit facility with AFI. AFI contributed $2 billion of
equity to ResCap by forgiving a portion of the existing borrowings. The remaining domestic
intercompany borrowings were converted from a single revolving facility to a $5 billion
ten-year subordinated note; a $1.5 billion, one-year term loan; and a $2.5 billion, two-year
revolving line of credit. In the second quarter of 2005, the subordinated note and the term loan
were funded.105 ResCap then issued $4 billion of senior unsecured debt through a private
placement in June 2005.106 The proceeds from the notes were used to repay a portion of
101 Id.

102 See id. (noting that “any action to enforce the rights of the holders of Rated Indebtedness of any Class or any

   lenders under any credit facility under which ResCap is a borrower as third-party beneficiaries shall be
   undertaken only by the Class Agent for such Class or any Bank Agent, as applicable”); Section V.A.1.a
   (discussing how the 2005 Operating Agreement may have been breached in connection with the 2006 Bank
   Restructuring and other material issues brought to the ResCap Board for approval).
103 See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 62.

104 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 73.

105 See id.

106 See General Motors Acceptance Corp., Current Report (Form 8-K) (Aug. 3, 2005). On June 24, 2005, ResCap

   closed a private placement of $4 billion in senior unsecured bonds, utilizing the proceeds to repay borrowings
   under the initial capitalization by AFI. Id.; see also Residential Capital Corp., Annual Report (Form 10-K)
   (Mar. 28, 2006), at 73.

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ResCap’s domestic AFI credit facility as well as for general corporate purposes.107 Thereafter,
the privately placed notes were exchanged for new notes issued pursuant to an indenture dated
June 24, 2005.108 The issuance of the new notes was registered under the Securities Act. The
form and terms of the new notes were intended to be identical in all material respects to those
of the old notes, except that the transfer restrictions and registration rights provisions relating
to the old notes did not apply to the new notes.109

     In July 2005, ResCap obtained $3.5 billion in syndicated bank credit facilities. These
credit facilities included a $1.75 billion term loan due in 2008, an $875 million revolving
credit facility due in 2006, and an $875 million revolving credit facility due in 2008. At the
closing of the credit facilities in July 2005, ResCap borrowed the entire $1.75 billion under the
term loan, and repaid all amounts then outstanding under the $1.5 billion term loan from AFI,
plus accrued interest.110

     On September 29, 2005, ResCap filed a $12 billion shelf registration statement so that it
could offer, from time to time, senior and/or subordinated debt securities.111 ResCap issued
$1.25 billion of unsecured debt from this shelf registration statement in November 2005, and
used the proceeds to repay $620 million under the subordinated note held by AFI and the
remainder for general corporate purposes.112 ResCap terminated its $2.5 billion two-year
revolving line of credit with AFI in December 2005.113 In addition, ResCap made a $250
million payment on the subordinated note held by AFI in December 2005. The balance of this
note was $4.1 billion as of December 31, 2005.

     In February 2006, ResCap issued $1.75 billion of unsecured debt from the shelf
registration, and stated its intent to use the proceeds for general corporate purposes. ResCap
made a $500 million payment on the subordinated note to reduce the balance to $3.6 billion.114

     In April 2006, ResCap issued $3.5 billion of unsecured debt to investors. The issued debt
included $2.5 billion of senior unsecured debt from the $12 billion shelf registration and
$1 billion of unregistered subordinated unsecured debt.115 A portion of the proceeds of both
the senior unsecured and the unregistered subordinated issuances were used to further prepay
the subordinated GMAC note.116 In May 2006, ResCap issued the following senior long-term
107 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 73.

108 Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 119.

109 Id. at 136.

110 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 73.

111 See Residential Capital Corp., Registration Statement (Form S-3) (Sept. 29, 2005).

112 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 73.

113 See id.

114 See id.

115 See Residential Capital Corp., Quarterly Report (Form 10-Q) (May 12, 2006), at 39.

116 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 73.



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unsecured notes: a May 2006 issuance of €750 million 5.125% six-year notes and
£400 million 6.375% seven-year fixed rate notes ($1.7 billion U.S. dollars).117

     The funding sources used by ResCap upon formation were primarily determined by the
type and volume of the assets that it sought to finance. In general, short-term funding was used
to finance: (1) mortgage loans pending permanent sale or securitization; and (2) lending
receivables.118 ResCap required longer-term funding to finance mortgage loans HFI and other
assets related to securitization activities.119 ResCap’s sources of funding included asset
securitization programs, asset-backed financing vehicles, whole-loan and securities repurchase
agreements and other secured lending facilities, issuances of publicly-traded senior unsecured
notes, unsecured lines of credit and borrowings, and bank deposits, as described in more detail
below.

               a. Collateralized Borrowings In Securitization Trusts

      As part of its funding and risk-management practices, ResCap established secondary
market trading and securitization arrangements that provided long-term financing primarily
for its mortgage loans.120

               b. Short-Term Secured Borrowings

      ResCap used both committed and uncommitted secured facilities to fund inventories of
mortgage loans, whether HFI or HFS, lending receivables, mortgage servicing cash flows and
securities. ResCap used such facilities to provide funding for residential mortgage loans prior
to their subsequent sale or securitization. These facilities, generally referred to as aggregation
facilities, were funded primarily through the issuance of asset-backed commercial paper or
similar short-term securities issued by vehicles administered by third parties. Other short-term
secured borrowings were funded by transactions under repurchase agreements or similar
arrangements or secured bank loans.121

               c. Long-Term Unsecured Borrowings

     ResCap met its long-term unsecured financing needs from a variety of sources, including
public corporate debt and bank credit facilities. ResCap primarily used its long-term
unsecured borrowings to fund: (1) its long-term assets (MSRs and other retained interests);
(2) over collateralization required to support ResCap’s conduits; (3) the liquidity portfolio;
and (4) the continued growth of ResCap’s mortgage loan investment portfolio.122
117 See Residential Capital Corp., Free Writing Prospectus (Mar. 28, 2006).

118 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 72.

119 See id.

120 See id. at 74.

121 See id.

122 See id. at 77.



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               d. Bank Deposits And FHLB Advances

     ResCap’s sources of liquidity also included Old GMAC Bank.123 Old GMAC Bank, in
turn, obtained access to funding by, among other things, accepting deposits124 under an
agreement with FHLB.125 ResCap was able to use the proceeds of this arrangement to fund
mortgage loans, investments securities, and certain lending receivables.126

               e. Affiliate Borrowings

     ResCap obtained some funding from its affiliates through domestic and international
intercompany credit lines. Before June 24, 2005, as previously noted, ResCap had access to a
$20 billion domestic line provided by AFI to ResCap and certain other AFI subsidiaries. From
January 1, 2003 through June 24, 2005, borrowings by these entities under this line averaged
approximately $10.3 billion. On May 4, 2005, AFI forgave $2 billion of these borrowings
resulting in a corresponding increase to ResCap’s capital. Under international lines of credit
from certain affiliates, ResCap had access to a total of approximately $2.6 billion as of
December 31, 2005.127

               f. Off-Balance Sheet Financings

     ResCap’s total off-balance sheet financings were $6.1 billion as of December 31, 2004
and increased to $78.3 billion as of December 31, 2005. A significant portion of such
financing related to securitizations issued in off-balance-sheet trusts. As of December 31,
2005, these trusts had aggregate outstanding balances of $77.6 billion.128

     ResCap, through off-balance sheet structured facilities, also funded mortgage loans
during the aggregation period and warehouse lending receivables. Such off-balance sheet
structured facilities provided funding for these assets through the issuance of commercial
paper from multi- and single-seller asset-backed commercial paper conduits.129
123 See Section V.B.3 (discussing the MMLPSA and related transactions).


124 A significant percentage of Old GMAC Bank’s deposits were escrows related to ResCap’s mortgage loans.

   See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 77 (“As of December 31, 2005,
   [Old] GMAC Bank had approximately $4.1 billion of deposits, $1.4 billion of which were escrows related to
   our servicing of mortgage loans.”).
125 See id. (noting that as of December 31, 2005, Old GMAC Bank had a “total borrowing capacity of $7.1 billion

   under this agreement”).
126 See id.


127 See id.


128 See id. at 78.


129 See id.



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    3. Initial ResCap Officers And Directors
     The initial directors of ResCap were: (1) Eric A. Feldstein, Chairman; (2) David
M. Applegate, Co-CEO; (3) Bruce J. Paradis, Co-CEO; (4) Davee L. Olson, CFO; (5) Sanjiv
Khattri, VP; (6) Jerome B. Van Orman, Jr., VP; and (7) David Walker, VP.130 Subsequently, the
directors elected members of the executive committee, all of whom were also AFI officers,131 and
certain officers. The following is a list of ResCap’s initial directors and officers and their
association with GM and AFI:




130 See Statement of Organization of the Incorporator of Residential Capital Corporation, dated Aug. 21, 2004, at

    RC40006726 [RC40006721]; Consent of the Directors of Residential Capital Corporation, dated Sept. 15, 2004, at 1
    [RC40006721].
131 Int. of D. Applegate, Dec. 7, 2012, at 121:7–12.



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     On April 20, 2005, the number of ResCap directors was increased from seven to nine.132
On the same day, Independent Directors Jacob and Melzer were elected to the ResCap
Board.133 Neither Jacob nor Melzer appear to have had any prior relationship to GMAC
Affiliates.134 In addition, Van Orman resigned from the ResCap Board and was replaced, on
the Board and the Executive Committee, by Linda Zukauckas, a Vice President, Corporate
Controller, and Chief Accounting Officer of AFI.135
132 See Minutes of a Special Meeting of the Board of Directors of Residential Capital Corporation, Apr. 20, 2005,

   at RC40005473 [RC40005468].
133 See id. Jacob joined the ResCap Board as the result of a recruiting search initially conducted by a firm in

   Chicago. In the first quarter of 2005, Jacob met with and was “screened” by an AFI executive. He
   subsequently met with Feldstein, then CEO of AFI, who asked him to join the ResCap Board. See Int. of T.
   Jacob, Nov. 7, 2012, at 25:10–28:4. At the time of his appointment, Jacob understood that the retention by
   ResCap of Independent Directors was necessary to obtaining an independent credit rating for ResCap.
   According to Jacob:

            Basically they were concerned about retaining the investment grade of ResCap because GM was
            being downgraded and it was affecting [AFI]. So they really were looking for a way to obtain an
            independent credit rating for ResCap. I believe credit rating agencies probably said hey, the only
            way we can do that is if you have independent directors.

   Int. of T. Jacob, Nov. 7, 2012, at 32:4–11. Similarly, Melzer joined the ResCap Board after being approached
   by a search firm. Thereafter, he was interviewed by, among others, AFI executives Jerry Van Orman and
   Feldstein and ResCap co-CEOs Applegate and Paradis. Int. of T. Melzer, Oct. 10, 2012, at 32:24–34:21.
   Melzer also understood that independent directors were necessary to obtaining an independent credit rating for
   ResCap. Melzer stated:

            You know, I understood—certainly they explained the rationale of why they were doing this, that
            ResCap was growing rapidly, you know, had a tremendous appetite for capital. If independently
            rated from [AFI], it probably could raise capital at a lower rate than [AFI]. They had met with the
            rating agencies and, you know, worked out the details of what an operating—the operating
            agreement would have to provide to give the rating agencies the comfort to rate—you know,
            independently rate the debt. So, you know, I understood the—sort of the strategic rationale of what
            they were doing and, you know, why it was important to have truly independent directors.

   Id. at 35:23–36:13.
134 Jacob  served as chairman of Chase Manhattan Mortgage Corporation (and its predecessor Chemical
   Residential Mortgage Corporation) from 1992 until 2003, and as chief executive officer from 1992 until 2001.
   Prior to becoming chairman and chief executive officer of Chemical Residential Mortgage Corporation, Jacob
   held various other positions with Chemical Bank, including as head of its credit card operations. Residential
   Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 100. Melzer is the co-founder and has
   served as managing director of RiverVest Venture Partners, a venture capital firm focused on investments in
   medical device and biopharmaceutical companies. Prior to founding RiverVest Venture Partners, Melzer
   served as president and chief executive officer of the Federal Reserve Bank of St. Louis from 1985 until 1998
   and, in that capacity, served on the Federal Open Market Committee during that time. Prior to joining the
   Federal Reserve Bank, Melzer spent sixteen years in the corporate finance, real estate and securities
   businesses of Morgan Stanley & Co., including service as a managing director and as head of its U.S.
   government securities department. Id.
135 See id. at 99 (“Prior to becoming chief accounting officer of [AFI], Zukauckas served as head of audit for [AFI]

   from January 2000 until May 2002.”).

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     On June 15, 2005, the ResCap Board established the ResCap Audit Committee.136 The
ResCap Audit Committee initially consisted of Zukauckas and the Independent Directors,
Jacob and Melzer.137 The 2005 Operating Agreement provided that the chairperson of the
ResCap Audit Committee had to be an Independent Director.138 Accordingly, Jacob, one of
the Independent Directors, was appointed as chairperson of the ResCap Audit Committee.139

     Initially, ResCap had two CEOs: Applegate and Paradis.140 Before serving as co-CEO of
ResCap, (1) Applegate was, among other things, the President and CEO of GMAC Holding
and (2) Paradis was, among other things, President and CEO of RFC.141 This co-CEO
structure was purportedly installed to avoid conflict between GMAC Residential and GMAC-
RFC, and to ensure that their operations were unaffected after their contribution into
ResCap.142 The co-CEO structure ended on October 19, 2005, when Paradis was named CEO
136 See Residential Capital Corporation Unanimous Consent to Action, dated June 15, 2005, at RC40005493

   [RC40005468].
137 See id.

138 See 2005 Operating Agreement, § 2(g)(iii) [ALLY_0140795]; Section III.B.3.f (discussing the Independent

   Director requirement imposed by the 2005 Operating Agreement).
139 See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 100.

140 Initially, ResCap had two of everything. “[E]ssentially you had two companies that had two of everything. We

   called it Noah’s Ark. You know, two finance departments, two servicing platforms, 13 origination platforms.”
   Int. of J. Whitlinger, Nov. 30, 2012, at 11:4–7; see also Int. of R. Flees, Jan. 18, 2013, at 135:19–25.
141 See Residential Capital Corp., Registration Statement (Form S-4) (July 15, 2005), at 98.

142 Int. of D. Applegate, Dec. 7, 2012, at 106:9–15 (“Well, the initial structure was put in place so that GMAC

   Residential and RFC really ran pretty consistently as they had in the past. So there was not a lot of inherent
   business conflict, because it was really a business-as-usual situation.”). David Walker, CFO of GMAC
   Mortgage Group at the time of ResCap’s formation, recalled that there were some personality and cultural
   issues involved in combining GMAC Mortgage and RFC to form ResCap. Walker explained:
          Well, as I said, we sort of hatched the idea in June of ’03 to put them together. We didn’t get to the
          debt market until June of ’05. Part of that was, literally, combining accounting, scrubbing the data
          for three years and all of that. But part of was, literally, some of that integration. Because even,
          again, even though the equity’s being retained, the creditors putting up money, buying ResCap
          bonds at a different price than they would buy GMAC bonds, was a story that had to be told.
          And, you know, it was a challenge to get everybody to sort of be more harmonious with each other.
          So, I would say something similar. That reflected the independence of the two units. It was not
          unlike any sort of merger of banks, where sort of on high they’re going to merge, but, you know, in
          the trenches, there’s a lot of in-fighting going on because people protect turf or ideas that they need
          for capital or whatever. And you had Philadelphia. You had Minnesota. You know. We knew that
          was a risk in putting them together. We weighed that against just selling one or the other, and
          ultimately decided that we should do that.
          We talked. It wasn’t like we came in and said, “You’re going to do this, guys.” There was a lot of
          discussion. “Do you think it can work?” “Can we get it to work?” And then I think it was, I don’t
          know, sometime, maybe the fall of ’05, we got Dave and Bruce. They sort of restructured a couple
          of the management levels to sort of get a little bit more harmony. And, you know, it grew on them a
          bit.
   Int. of D. Walker, Nov. 28, 2012, at 40:15– 41:23.

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of ResCap.143 Applegate was named Chief Operating Officer of ResCap, and President of
ResCap’s U.S. Residential Finance Group, responsible for ResCap’s “U.S. residential real
estate finance segments—the Residential Capital Group and GMAC Residential.”144

     4. ResCap’s Post-Formation Businesses

              a. Business Overview

     Upon formation, ResCap was a real estate finance company focused primarily on the
residential real estate market.145 ResCap’s businesses included:
          US Residential Real Estate Finance, operated through two segments,
          GMAC Residential and Residential Capital Group, through which ResCap
          (i) originated, purchased, sold and securitized residential mortgage loans
          in the United States; (ii) provided primary and master servicing to
          investors in ResCap’s residential mortgage loans and securitizations;
          (iii) provided warehouse lending facilities to other originators of
          residential mortgage loans; (iv) held a portfolio of residential mortgage
          loans for investment and retained interests from its securitization
          activities; and (v) conducted limited banking activities through Old
          GMAC Bank;
          Business Capital, through which ResCap provided financing and equity
          capital to residential land developers and homebuilders and financing to
          resort developers and healthcare related enterprises; and International,
          through which ResCap originated, purchased, sold and securitized
          residential mortgage loans in the United Kingdom, The Netherlands,
          Germany, Canada and Mexico.146
143 See ResCap, Press Release, Residential Capital Corporation Refines Executive Leadership (Oct. 19, 2005)

   [EXAM11830536] (“[T]he executive changes are the next logical step in the launch of ResCap.”). According
   to ResCap’s press release:
          After successfully accomplishing several key milestones in launching ResCap, including raising $4
          billion in a recent private bond offering,” says Feldstein, “ResCap needs to focus on attacking
          market opportunities.” Bruce [Paradis] will be charged with leading all of ResCap’s businesses and
          its 14,000 employees. One of his key roles will be to drive ResCap’s growth in real estate markets
          worldwide and to secure the capital resources to fuel that growth.
   Id.
144 Id. According to ResCap’s press release:


          Dave [Paradis] will leverage the strengths of the company’s U.S. real estate finance business,” says
          Feldstein. “By integrating the skills, talents and resources of two premier organizations, ResCap
          will be better able to capitalize on market opportunities and provide ResCap’s consumer and
          business clients with superior products and service.
   Id.
145 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 2.

146 Id.



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                b. U.S. Residential Real Estate Finance

                    (1) Principal Activities

      ResCap’s principal activities in its U.S. residential real estate finance business included:

                       (a) Originating, purchasing, selling and securitizing residential mortgage
                           loans;

                       (b) Servicing residential mortgage loans for itself and others;

                       (c) Providing warehouse financing to residential mortgage loan originators
                           and correspondent lenders to originate residential mortgage loans;

                       (d) Creating a portfolio of mortgage loans and retained interests from its
                           securitization activities;

                       (e) Conducting limited banking activities through Old GMAC Bank; and

                       (f) Providing real estate closing services.147

                    (2) Loan Origination And Acquisition

     Initially, ResCap had three principal sources for residential mortgage loan production:
(a) the origination of loans through its direct lending network; (b) the origination of loans
through its mortgage brokerage network; and (c) the purchase of loans in the secondary
market primarily through correspondent lenders.148

                       (a) Direct Lending Network

     ResCap’s direct lending network consisted of retail branches, internet and telephone-
based operations. ResCap’s retail network was targeted at customers desiring face-to-face
service.149

                       (b) Mortgage Brokerage Network

      In addition to mortgage loans originated through its direct lending network, ResCap
originated residential mortgage loans through mortgage brokers. Most loans sourced by
mortgage brokers were funded by ResCap and closed in ResCap’s name.150 ResCap also
purchased loans from Old GMAC Bank pursuant to the 2001 MMLPSA. See Section V.B.3
for a discussion of the MMLPSA.
147 See id. at 3.

148 See id.

149 See id. at 4. (“Typical referral sources are realtors, homebuilders, credit unions, small banks and affinity

   groups.”).
150 See id. (“Loans sourced by mortgage brokers are funded by us and generally closed in our name.”).



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                       (c) Correspondent Lender And Other Secondary Market Purchases
     Loans purchased from correspondent lenders were originated or purchased by the
correspondent lenders, and subsequently sold to ResCap. ResCap also purchased pools of
residential mortgage loans from entities other than correspondent lenders, mostly large
financial institutions.151
                    (3) Types Of Mortgage Loans
      ResCap originated or purchased five categories of loans:
                       (a) Prime Conforming Mortgage Loans—prime credit quality first-lien
                           mortgage loans secured by single-family residences that met or
                           “conformed” to the underwriting standards established by Fannie Mae
                           or Freddie Mac for inclusion in their guaranteed mortgage securities
                           programs.
                       (b) Prime Non-Conforming Mortgage Loans—prime credit quality first-lien
                           mortgage loans secured by single-family residences that either (1) did
                           not conform to the underwriting standards established by Fannie Mae or
                           Freddie Mac, because they had original principal amounts exceeding
                           Fannie Mae and Freddie Mac limits, which are commonly referred to as
                           jumbo mortgage loans, or (2) had alternative documentation
                           requirements and property or credit-related features (e.g., higher loan-
                           to-value or debt-to-income ratios) but were otherwise considered prime
                           credit quality due to other compensating factors.
                       (c) Government Mortgage Loans—first-lien mortgage loans secured by
                           single-family residences that were insured by the FHA or guaranteed by
                           the VA.
                       (d) Nonprime Mortgage Loans—first-lien and certain junior lien mortgage
                           loans secured by single-family residences, made to individuals that did
                           not qualify for a prime loan, had credit-related features that fell outside
                           the parameters of traditional prime mortgage products or had
                           performance characteristics that otherwise exposed ResCap to
                           comparatively higher risk of loss.
                       (e) Prime Second-Lien Mortgage Loans—open and closed-end mortgage
                           loans secured by a second or more junior lien on single-family
                           residences, including home equity mortgage loans.152
                    (4) Sale And Securitization Activities
     Initially, ResCap sold most of the mortgage loans it originated or purchased. According
to James Young, ResCap’s Chief Accounting Officer and Controller at the time of ResCap’s
151 See id.

152 See id. at 5.



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formation, this was the “core mortgage business.”153 This part of the business (and servicing)
was “heavily dependent upon market forces.”154 Indeed, according to Young:

         The more—this is a flow business. Originating with the intent to sell, sell
         through securitization, retain the servicing. This is obviously heavily dependent
         upon market forces. When refis are going, you’re making a ton of money.
         When they’re not, you know, the rates are high, you’re struggling. It is a very
         volatile business at its core. It’s volatile because of that. And, its core and it’s
         volatile, particularly from a financial perspective, speaking as a financial guy,
         because we record these gains when we sell these loans. And so, we are doing
         really—you know, you’re doing really well when you’re selling loans for gains.
         And when it dries up, you don’t have your gains anymore. Again, it’s a
         financial services company, so the only thing you really gotta look at is your
         variable of people costs.155

     In 2005, ResCap sold $149.2 billion in mortgage loans.156 ResCap typically sold: (1) its
Prime Conforming Mortgage Loans through securitizations guaranteed by Fannie Mae or
Freddie Mac; and (2) its Government Mortgage Loans through securitizations guaranteed by
Ginnie Mae.157 In 2005, ResCap sold $50.6 billion of mortgage loans, or 34% of the total
loans ResCap sold, to GSEs and $98.6 billion to other investors through whole-loan sales and
securitizations, including both on-balance sheet and off-balance sheet securitizations. ResCap
held the mortgage loans that it did not sell, and the securities and subordinated interests that it
retained in its securitizations, as part of its investment portfolio. Until 2008, ResCap generally
retained the servicing rights for the loans that it sold or securitized.158
153 Int. of J. Young, Sept. 28, 2012, at 30:20–31:8 (“This is the core mortgage business, which is you originate

   loans with the intent to sell. And you sell the loans primarily in securitizations and you retain the servicing
   because your primary business is you have the servicing platform.”).
154 Id. at 38:7–8.


155 Id. at 38:4–25.


156 Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 7.


157 Id. In general, according to Young,


         [W]hen you do a securitization, you pool all these loans and you give ‘em to the underwriter and the
         underwriter’s going to help you sell these loans in the form of securitization, which is where you
         pool all the loans and then you issue your securities, and the securities are sort of not whole loans.
         They’re actually securities that can be traded on the market. And the underwriter, you know, helps
         pool and package the nonconforming securitizations. When you put—when you originate with the
         intent to sell, you’ll hold ‘em on your balance sheet, you’ll gather them up till you’ve got enough.
         You got an aggregation period. Sometimes during that aggregation period, somebody’s not going to
         pay their mortgage. And so, it may take 60 or 90 days to aggregate a pool for securitization.
   Int. of J. Young, Sept. 28, 2012, at 73:16–74:9.
158 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 7–8; Section V.B.9 (discussing

   the MSR Swaps).

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     In conducting its securitizations, ResCap typically sold the related pool of mortgage
loans to one of its wholly owned special-purpose entities, which then sold the loans to a
separate, transaction-specific securitization trust in exchange for cash and, in certain cases,
trust interests that ResCap retained.159 The securitization trust issued and sold interests,
generally represented by notes or certificates, to third-party investors that entitled the investors
to cash flows generated from the securitized loans.160

      In general, the securitization trust and the third-party investor had no recourse against
ResCap or its assets.161 Their recourse was generally limited to the trust’s assets. Nevertheless,
in the event ResCap breached certain representations or warranties concerning the mortgage
loans being securitized, ResCap could be required to repurchase the loan from the
securitization trust.162 Although ResCap did not guarantee any securities issued by the
securitization trusts, ResCap had, in certain instances, issued guarantees or pledged collateral
to third-party credit-enhancement providers in support of certain securitization activities.163
159 See Int. of J. Young, Sept. 28, 2012, at 143:3–13. Young stated that:


          Keep in mind the securitization is in a separate legal entity. All these are special purpose entities,
          these are all legal entities. So, the loans drop into the special purpose entity and securities are taken
          out the back, right? So, loans go in to the SPE, and then secure certificates are issued at the back
          end. And this is, of course, a legal entity and this is how the economics work. The loans go in there,
          certificates are sold, cash comes back through. It pays for the loans.
   Id.
160 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 7 (“These interests were
   usually represented by notes or certificates with various interest rates and were supported by the payments on
   the loans acquired by the trust.”). According to Young:
          Now, securitization structures always include a residual, that is, basically acts as collateral support.
          So, in other words, these certificates generally come out of this rated—there’s tranches, but, you
          know, you’ve got a triple A tranche and so far down the line, and then a residual at the back end—
          at the bottom of this waterfall. The residual is generally owned by the issuer of the securitization,
          which in our case is ResCap. So, the economics again are always the same. The real risk, so it’s a
          way of funding the loan sale so that we can retain the servicing, capitalize the MSR and retain the
          servicing for that core business. So it’s a funding mechanism.
   Int. of J. Young, Sept. 28, 2012, at 143:14–144:14. Further, ResCap, as the residual holder, was “at the
   bottom.” Id. at 144:21. Young provided the following example to describe the securitization risk:
          [I]f there’s $100,000 worth of loans, you’re only going to sell $90—or 90,000 of securities. Let’s
          just use 100. There’s $100 loan, you sell 90 of securities, so in this transaction it’s an effective 90
          percent advance rate but that $10 is a residual risk and it’s high—it’s risky because as these loans
          deteriorate everybody else gets paid but the residual holder is—it’s not pari passu, it’s not pro-rata.
   Id. at 144:22–145:6.
161 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 7.


162 See id. In particular, ResCap made representations and warranties regarding the lien status or mortgage
   insurance coverage of the securitized mortgage loans. Id.
163 See id.



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According to ResCap’s 2005 Annual Report, no claims had been made under these
guarantees, nor had any of the collateral been subject to any claims.164

      In addition to cash, ResCap often retained interests in the securitization trust to which it
sold loans as partial payment for the loans. ResCap generally held these retained interests in
its investment portfolio. These retained interests included mortgage-backed and mortgage-
related asset-backed securities165 (including senior and subordinated interests), interest-only,
principal-only, investment-grade, non-investment grade and unrated securities. With respect to
subordinated retained interests, ResCap was entitled to receive payment only after the
investors holding more senior interests were repaid their investment plus interest and there
was excess cash remaining in the securitization trust.166 Accordingly, ResCap’s subordinated
retained interests served as a credit enhancement for the more senior securities issued by the
securitization trust.167

                    (5) Servicing Activities

     ResCap generally retained the rights to service the loans it sold.168 MSRs generally
consist of (a) primary or (b) master servicing rights.169

                         (a) Primary Servicing

     Primary servicing rights refer to: (1) a mortgagor’s right to service certain mortgage
loans originated or purchased and later sold on a servicing-retained basis through
securitizations and whole-loan sales; and (2) primary servicing rights purchased from other
mortgage industry participants.170 As a primary servicer, ResCap collected and remitted
mortgage payments, responded to borrower inquiries, accounted for principal and interest,
held custodial and escrow funds, worked with delinquent borrowers, supervised foreclosures



164 See id.

165 See id. at 8.

166 See id. ResCap’s ability to receive payment on its subordinated retained interests “depended on the
   performance of the underlying mortgage loans, and material adverse changes in performance of the loans,
   including actual credit losses and prepayment speeds, could have a material adverse effect on the value of
   these retained interests.” Id.
167 See id.

168 See First Day Affidavit, ¶ 25; see also Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006),

   at 8. According to Young, “you retain the servicing because your primary business is you have the servicing
   platform. That’s the group of people, thousands of people who take the payments and process the payments.”
   Int. of J. Young, Sept. 28, 2012, at 30:23–31:1.
169 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 8. In addition to retaining

   primary servicing rights on the loans it produced, ResCap purchased primary servicing rights from other
   mortgage industry participants or agreed to provide primary mortgage servicing as a subservicer. Id.
170 See id.; see also First Day Affidavit, ¶ 26.



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and property dispositions, and generally administered the mortgage loans.171 As a primary
servicer, ResCap was required to make certain advances, including in the foreclosure context:
(1) fees and expenses to servicing vendors, including property inspectors and maintenance
contractors; (2) fees and expenses associated with enforcement or judicial proceedings,
including foreclosure, bankruptcy, and eviction actions; and (3) costs and expenses associated
with the management, maintenance, preservation, and liquidation of the property.172 Such
advances are generally reimbursed from the sale proceeds and from the applicable GSE to the
extent the sale proceeds are insufficient to cover the advances.173

      In addition, ResCap, as primary servicer, was required to advance funds to investors and
other parties with respect to MBS and mortgage-related asset-backed securities and whole-loan
packages to pay the principal and interest on the related pool of mortgage loans and other
charges, including taxes and insurance premiums.174 In general, ResCap was required to use its
own funds to pay such advances, which were reimbursable.175 Nevertheless, “the primary
servicer is responsible for any loss in excess of the guarantee on an FHA-insured, VA- or
USDA-guaranteed mortgage loan.”176 In addition, the primary servicer may incur other losses,
including “costs of services exceeding expense caps or allowable amounts set forth in servicing
agreements, making certain interest payments, penalties for failure to comply with require
foreclosure timelines, costs related to restarting suspended foreclosures and assuming losses
relating to Fannie Mae loans if the loss resulted from a rescinded mortgage insurance policy.”177
171 See id. According to Whitlinger:


          Once it’s securitized, then it flips over into the servicing side, when I say [Forecasting Planning and
          Analysis group] for servicing, and now we’re servicing a loan and I’m in that world of—you know,
          the MSR got created, I’m getting service fees every month, I have to call the borrowers and collect
          payments, make their taxes and insurance. If they go delinquent, we have to make sure that we
          follow the servicing guides for following what the processes they require in a loan that’s delinquent,
          etc. So, to me origination is from app till sale.
   Int. of J. Whitlinger, Nov. 30, 2012, at 28:12–23. The First Day Affidavit stated that:
          As a primary servicer, the Debtors collect and remit mortgage loan payments, respond to borrower
          inquiries, account for and apply principal and interest, hold custodial and escrow funds for payment
          of property taxes and insurance premiums, provide ancillary products, counsel or otherwise work
          with delinquent borrowers (including helping borrowers modify their loans in accordance with
          federal programs and public policy intended to assist homeowners’ efforts to remain in their homes
          in the face of the recession and housing market collapse), supervise foreclosures and property
          dispositions and generally administer the mortgage loans consistent with contractual undertakings
          and business practices.
   First Day Affidavit, ¶ 26.
172 See First Day Affidavit, ¶ 27.

173 See id.

174 Id. ¶ 28.

175 Id. ¶ 29–30.

176 Id. ¶ 30.

177 Id.



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                        (b) Master Servicing

      Master servicing rights generally refer to a mortgagor’s right to service mortgage-backed
and mortgage-related asset-backed securities and whole-loan packages sold to investors.178 As
master servicer, ResCap collected mortgage loan payments from primary servicers and
distributed those funds to investors in mortgage-backed and mortgage-related asset-backed
securities and whole-loan packages.179 In addition, ResCap, as master servicer, provided loan
accounting, claims administration, oversight of primary servicers, loss mitigation, bond
administration, cash flow waterfall calculation, investor reporting, and tax reporting
compliance.180 As master servicer, ResCap advanced certain amounts, including the principal
and interest on “real estate owned” or “REO” properties, which generally refers to properties
that have been foreclosed and will remain on the master servicer’s balance sheet until sold to a
third-party, to the extent the primary servicer did not make such advances.181 Master servicing
advances are generally recoverable, because they are “priority cash flows in the event of a
default by the underlying borrower.”182

     In exchange for acting as primary or master servicer, ResCap was paid fees equal to a
percentage of the outstanding principal balance of the loans being serviced, and was entitled to
other forms of ancillary compensation, including late payment fees, prepayment penalties and
interest income (i.e., the “float” earned on collections deposited in custodial accounts between
the date of receipt and ResCap’s distribution of such funds to investors).183 The value of MSRs
generally depends on interest rates and other factors.184 This part of ResCap’s business was




178 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 8.

179 See id.; First Day Affidavit, ¶ 32 (“In this capacity, the Debtors interact with investors, not homeowners.”).

180 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 8.

181 See First Day Affidavit, ¶ 32.

182 Id.

183 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 9. In describing the servicing

   platform, Young stated:
          That’s the group of people, thousands of people who take the payments and process the payments.
          And there’s value to that course because you get servicing fees and you get float from the MSR
          . . . . But this is the core of these businesses. They all did the same thing, with this side of the house
          dealing with the GSE’s and this side of the house doing the non-GSE.
   Int. of J. Young, Sept. 28, 2012, at 30:25–31:8.
184 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 9.



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volatile.185 To mitigate the overall risk of loss due to a change in the fair value of the MSRs,
ResCap implemented a hedge program.186

                  (6) Warehouse Lending

     In its 2005 Annual Report, ResCap stated that it believed it was “the largest provider of
warehouse-lending facilities to correspondent lenders and other mortgage originators in the
United States.”187 These warehouse lending facilities enabled lenders and originators to
finance a full complement of residential mortgage loans, including loans acquired by ResCap
through correspondent lenders, until the loans were sold in the secondary market (sometime to
ResCap). Advances under the warehouse lending facilities were generally secured by the
underlying mortgage loans.188

                  (7) HFI Loans And Retained Interests

     ResCap held a portfolio of assets consisting of (1) residential mortgage loans HFI,
including residential mortgage loans sold in on-balance sheet securitizations and (2) retained
interests from its securitization activities. As of December 31, 2005, the principal balance of
ResCap’s mortgage loan portfolio was approximately $67.9 billion and the fair value of its
retained interests was approximately $1.3 billion.189 This portfolio provided ResCap with a
source of revenue as it recognized interest income over the life of the underlying mortgage
loans.190
185 See Int. of J. Young, Sept. 28, 2012, at 129:19–25 (“We need to keep in mind it’s a profitable business but

   also adds to the volatility—if you do sell the loan, you capitalize the MSR, it’s on your balance sheet and
   you’ve got this big infrastructure of thousands of people processing these payments and making money on
   that.”).
186 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 9; see Section V.B.9
   (discussing the MSR Swap and derivative transactions). MSRs related to HFI loans were not hedged, because,
   according to Young:

          [W]hen you hold the loan, you originate it, pay off, it’s in HFI the entire time and there is no MSR
          on the balance sheet. So, you only hedge the MSR when it’s on your balance sheet. So there’s no—
          so, if things are going down into HFI because we can’t sell them—it never gets to the point of sale,
          and there’s no MSR ever put on the balance sheet, there’s no hedging of any MSR, which is in a
          sense kind of beautiful because you get the economics with servicing but you don’t have to deal
          with the ugly asset that’s on your books.

   Int. of J. Young, Sept. 28, 2012, at 132:6–20.
187 Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 10.


188 See id.; Int. of A. Celini, Feb. 18, 2013, at 23:21–24:11 (discussing transfer of mortgage lending to Old

   GMAC Bank).
189 These amounts include assets held by Old GMAC Bank.


190 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 11.



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     5. Old GMAC Bank

     As an extension of its real estate finance business, ResCap owned, at the time of its
formation through the November 2006 consummation of the Cerberus PSA,191 Old GMAC
Bank, a federally chartered savings bank, which provided ResCap with an additional source of
funding for ResCap’s U.S. residential real-estate finance business. In addition, Old GMAC
Bank provided collateral/pool certification and collateral document custodial services to
ResCap’s U.S. residential real-estate finance business and third-party customers.192 As of
December 31, 2005, Old GMAC Bank had $9.6 billion in assets, with approximately
$4.1 billion in customer deposits, approximately 33% of which consisted of custodial funds
deposited by other parts of ResCap’s business.193

     6. Residential Finance Group Consisted Of GMAC Residential And Residential Capital
        Group

    Initially, ResCap carried out its U.S. residential real estate finance operations through
two operating entities: GMAC Residential (GMAC Mortgage and its subsidiaries)194 and
Residential Capital Group (RFC and its subsidiaries).195

               a. GMAC Residential (GMAC Mortgage)

     GMAC Mortgage, headquartered in Horsham, Pennsylvania, offered residential mortgage
and mortgage-related products and services to consumers and businesses throughout the
United States.196 GMAC Mortgage, was the parent of Old GMAC Bank.197

    GMAC Mortgage focused on the direct origination of mortgage loans with consumers of
prime credit quality that generally conformed to the underwriting requirements of Fannie Mae
or Freddie Mac (i.e., “conforming loans”).198 GMAC Mortgage also sold some non-
conforming loans (e.g., HELOCs). Substantially all of GMAC Mortgage’s direct origination
191 See Section V.A.1.a (discussing the 2006 Bank Restructuring).

192 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 11.

193 See id. at 12.

194 GMAC Residential is the term ResCap sometimes used to refer to the operations of GMAC Mortgage. Int. of

   J. Young, Sept. 28, 2012, at 29:9–18.
195 Residential Capital Group is the term ResCap sometimes used to refer to the operations of RFC. See, e.g.,

   Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 12.
196 See id.

197 See id.; see also Section V.A.1 (discussing Old GMAC Bank).

198 See Residential Capital, LLC, Annual Report (Form 10-K) (Mar. 28, 2007), at 12; see also Residential Capital

   Corp., Registration Statement (Form S-4) (July 15, 2005), at 62 (describing conforming mortgage loans as
   “prime credit quality first-lien mortgage loans secured by single-family residences that meet or ‘conform’ to
   the underwriting standards established by Fannie Mae or Freddie Mac for inclusion in their guaranteed
   mortgage securities programs”).

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of mortgage loans was conducted through retail branches and a direct lending network.199
GMAC Mortgage did, however, originate certain mortgage loans sourced from mortgage
brokers, and it purchased mortgage loans from correspondent lenders.200 GMAC Mortgage
produced approximately $91.5 billion in residential mortgage loans in 2005.201

     GMAC Mortgage sold most of the mortgage loans it originated or purchased. Such sales
were generally in the form of securitizations guaranteed by a GSE, primarily Fannie Mae or
Freddie Mac.202 GMAC Mortgage also sold mortgage loans to other investors through whole-
loan sales or securitizations.203 The loans that GMAC Mortgage did not sell were generally
held by Old GMAC Bank as part of a portfolio of HFI mortgage loans.204

     GMAC Mortgage typically retained the MSRs with respect to loans it sold or
securitized.205 GMAC Mortgage also purchased MSRs from other servicers or acted as a
subservicer of mortgage loans.206 In addition, GMAC Mortgage, primarily through Old
GMAC Bank, provided warehouse lending facilities to mortgage originators to finance
residential mortgage loans.207

               b. Residential Capital Group (RFC)

     RFC was headquartered in Minneapolis, Minnesota and focused primarily on the
purchase of residential mortgage loans in the secondary market and the origination of loans
through mortgage brokers.208 Unlike GMAC Mortgage, RFC originated mortgage loans that
covered a broad spectrum of the credit scale, from prime to nonprime.209 RFC’s mortgage
loans generally did not conform to the underwriting requirements of Fannie Mae or Freddie
Mac.210
199 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 12.

200 See id.

201 See id.

202 See id. 13–14.

203 See id. at 14.

204 See id.

205 See id.

206 See id.

207 See id.

208 See id.

209 See id.

210 See id. Residential Capital Group’s loans were generally considered non-conforming because (1) of the size of

   the loans or (2) they had more expansive documentation, property or credit-related features (e.g., higher debt-
   to-income or loan-to-value ratios), and therefore did not fit within the Fannie Mae or Freddie Mac guidelines.
   See id.

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     RFC purchased and originated first-lien and second-lien residential mortgage loans from
correspondent lenders throughout the United States and through mortgage brokers to whom it
provided wholesale funding.211 RFC also purchased both “seasoned” mortgage loans that had
been funded for more than twelve months and “distressed” mortgage loans that were in default
or otherwise not performing.212 RFC retained the MSRs for most of the loans it obtained or
securitized.213 In addition, RFC provided: (1) wholesale funding services to U.S. mortgage
brokers for the origination of residential mortgage loans; and (2) warehouse lending to the
residential mortgage lending industry in the United States.214 According to ResCap’s 2005
Annual Report:
          Our Residential Capital Group was the fifth-largest non-agency issuer of
          mortgage-backed and mortgage-related asset-backed securities in the United
          States in 2005. The Residential Capital Group issued approximately $56.7
          billion of mortgage-backed and mortgage-related asset-backed securities in
          2005. The Residential Capital Group is also a leading provider of wholesale
          funding services to U.S. mortgage brokers for the origination of residential
          mortgage loans and, as of December 31, 2005, we believe the Residential
          Capital Group was the largest provider of warehouse lending to the residential
          mortgage lending industry in the United States. The Residential Capital Group
          is also a leading primary and master servicer of residential mortgage loans and
          serves in that capacity for most of the loans it originates or purchases.215
                     (1) Sale And Securitization Activities Of RFC
      Like GMAC Mortgage, RFC sold nearly all of the mortgage loans it produced. Such sales
were primarily through ResCap’s securitization programs or in whole-loan sales to third-party
investors. In general, RFC segregated the types of mortgage loans it acquired into specific
securitization programs, each having distinct underlying collateral characteristics. According
to ResCap, this process of securitizing mortgage loans with similar prepayment and credit-
related characteristics through dedicated securitization programs resulted in RFC being able to
more efficiently obtain funding for those assets through the capital markets.216
                     (2) Servicing Activities Of RFC
     RFC acted as the primary servicer of most of the residential mortgage loans it obtained,
and as the master servicer of substantially all of the loans it sold in whole-loan sales or
securitizations.217 As of December 31, 2005, as primary servicer, RFC managed a portfolio of
approximately 792,000 loans with an aggregate unpaid principal balance of
211 See id. at 15.

212 See id. at 17.

213 See id. at 16.

214 See id. at 15.

215 See id.

216 See id. at 16.

217 See id.



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approximately $105 billion, and, as master servicer, a portfolio of approximately 826,000
loans with an aggregate unpaid principal balance of approximately $115 billion, which
amounts included loans for which RFC also served as primary servicer.218

                     (3) Seasoned And Distressed Mortgage Loans

      RFC purchased seasoned and distressed residential mortgage loans.219 RFC purchased
many seasoned loans “from previously sold or securitized pools that had been paid down to
less than 10% of their original aggregate principal balance, and were therefore ‘called’ out of
these deals because administering such a small pool is economically inefficient.”220 Other
seasoned loans were purchased in the secondary market. RFC purchased distressed residential
mortgage loans with the goal of resolving or restructuring them and then selling them through
securitizations or whole-loan transactions.221 In 2005, RFC: (1) acquired more than $5.4
billion of face-amount seasoned mortgage loans, of which $1.9 billion were called loans and
$3.5 billion were seasoned or distressed mortgage loans; and (2) securitized approximately
$2.6 billion of seasoned and performing distressed mortgage loans.222

                     (4) Business Capital Group

     In 2005, ResCap’s BCG conducted various business activities including residential
construction finance; residential equity; and model home finance, pursuant to which ResCap
provided capital to residential land developers and homebuilders to finance real estate
projects. In addition, ResCap’s BCG engaged in: (1) the resort finance business, which
provided debt capital to resort and timeshare developers;223 and (2) the health capital business;
which provided debt capital to health care providers, primarily in the health care services
sector.224 Loans by ResCap’s BCG were generally HFI.225




218 See id.

219 See id.

220 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 17.

221 See id. The Residential Capital Group obtained resolution of these mortgage loans “by working with the
   borrower to return the loan to performing status (in some cases under renegotiated terms), obtaining a payoff of
   the loan or selling the underlying residential property.” See id.
222 See id.

223 See id. at 19. ResCap’s BCG provided “revolving lines of credit secured by eligible timeshare receivables

   consisting of consumer timeshare notes.” See id. The proceeds of such lines of credit were generally used to
   fund operations. In addition, ResCap’s BCG made “loans to finance the acquisition, development and
   construction of the timeshare resort themselves, which are secured by a first lien on the real estate.” See id.
224 See id. at 17.

225 See Int. of J. Young, Sept. 28, 2012, at 51:8–15.



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                      (a) Residential Construction Finance

     ResCap’s BCG provided capital to homebuilders, residential land developers and related
market participants for the acquisition, development and construction of residential housing
developments in the United States. It also provided debt capital, primarily in the form of first-
lien loans and working capital loans, to finance specific projects for joint ventures that
developed land into for sale lots. As of December 31, 2005, ResCap had total first-lien and
working capital commitments of approximately $3.3 billion, with $2.2 billion in outstanding
principal.226

     ResCap’s BCG also made equity investments with certain customers in specially created
single-purpose entities to acquire residential projects and a certain other types of real estate. In
addition, the BCG owned a significant amount of equity in a large regional homebuilder. As
of December 31, 2005, the BCG had total equity investments of approximately $420
million.227

                      (b) Residential Equity

     The BCG provided mezzanine debt financing to homebuilders and residential land
developers.228 Such financings generally covered 80% to 90% of the homebuilder’s or
developer’s required equity contribution for a particular real estate project, typically single-
and multi-family housing or conversions of properties to condominiums. The BCG usually:
(1) made these loans to single-purpose entities specifically formed to acquire and own a single
project; and (2) obtained a security interest in the homebuilder’s or developer’s equity interest
in the single-purpose entity. As of December 31, 2005, the BCG had mezzanine financing
commitments of approximately $398 million with $341 million in principal outstanding.229

                      (c) Model Home Finance

     The BCG offered two major model-home products: (1) a model-home lease program; and
(2) a lot option program. Under the model-home lease program, a homebuilder built a model
home for the BCG, which would lease the model home to the homebuilderat a lease



226 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 18.

227 See id.

228 See Int. of J. Young, Sept. 28, 2012, at 50:21–51:2. According to Young,


          The [Business Capital Group], completely different, structured mezzanine financing to businesses
          that just happened to be in the home building business, so that was the strategic connection. Of
          course, in hindsight, you know, it was—I’m doubling down on the—you know, it’s the housing
          market, but— . . . .
   Id.
229 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 18–19.



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rate tied to a monthly floating interest rate.230 The homebuilder would use the model home as
a sales model. In exchange for a market commission, the homebuilder would sell the model
home on behalf of the BCG. As of December 31, 2005, the BCG had more than 3,150 model
homes with a net book value of approximately $776.5 million under lease.231

     Under the lot option program, the BCG purchased land that a homebuilder designated.
Simultaneously, the BCG entered into a contract with the homebuilder to develop the land into
completed lots and an option contract with the homebuilder to purchase the finished lots. As
of December 31, 2005, the BCG owned approximately 11,900 residential lots with a book
value of approximately $543.8 million through the lot option program.232

                       (d) Resort Finance

     The BCG provided revolving lines of credit secured by eligible timeshare receivables
consisting of consumer timeshare notes, generally to mid-size resort and timeshare developers.
The developers typically used these loan proceeds to fund operations. In certain instances, the
BCG made loans secured by the underlying real estate to developers to finance the acquisition,
development and construction of the actual timeshare resorts. As of December 31, 2005, the
BCG had: (1) total committed working capital lines of credit of approximately $1 billion, with
$545.6 million in principal outstanding; and (2) total committed facilities for the acquisition,
development and construction of resort and timeshare facilities of approximately $425 million,
with approximately $146 million in principal outstanding.233

                       (e) Health Capital

      The BCG also provided financing to healthcare-related enterprises, including physician
groups, hospitals, in-home service providers, medical staffing companies, medical equipment
manufacturers and distributors, in patient/out patient care facilities, other healthcare service
providers, and similar businesses, for working capital and for acquiring other healthcare-
related enterprises. The health capital loans primarily took the form of: (1) working capital
lines of credit secured by accounts receivable; (2) loans based primarily on
230 See Int. of J. Young, Sept. 28, 2012, at 52:16–53:2. According to Young,


          The model home was—we owned the home—and leased it back to the builder, which was like, sort
          of an offshoot again of federal issue with the builder, we get all the financing, of some kind you
          know, and the business group, you know, was creative and talked to them about, “Well, you got
          model home needs. So, we’ll buy a little bit more—build or buy the model home and lease it back
          to you.” So, they took it off their balance sheet basically.

   Id.
231 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 19.


232 See id.


233 See id.



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the cash flow generated by the healthcare-related enterprise; or (3) short-term loans secured by
real estate.234 As of December 31, 2005, the BCG had total committed facilities related to its
health capital business of approximately $792.5 million with $598.2 million in principal
outstanding.235

                     (5) International Business Group

    In 2005, ResCap’s IBG conducted operations in the United Kingdom, The Netherlands,
Germany, Canada, and Mexico.236 According to Young, ResCap’s International Business
Group conducted the functional equivalent of non-conforming business in those countries.237

                        (a) United Kingdom

     ResCap’s U.K. operations included residential mortgage loan origination, acquisition,
sale and securitization. Although ResCap retained the right to service the loans it securitized
in the U.K., it outsourced the servicing activities to a third party. In 2005, ResCap originated
approximately $12.5 billion of residential mortgage loans in the U.K. making it, according to
ResCap, “the largest originator of nonprime residential mortgage loans in the” U.K.238 In
addition, ResCap issued residential mortgage-backed securities of approximately $5.3 billion
in 2005 making it the “third largest issuer” of such securities in the U.K.239

                        (b) Continental Europe

    The IBG operated in The Netherlands and Germany. In 2005, the IBG originated
approximately $2.8 billion in mortgage loans in Continental Europe.240



234 See id. at 19–20. In connection with its health capital business, the BCG offered cash flow loans to certain

   healthcare-related enterprises with better credit quality than the customers of its accounts receivable secured
   lines of credit. These loans were usually secured by all the assets of the enterprise, including equity stakes in
   all related entities and cash flow. The real estate loans offered through the BCG’s health capital business were
   generally short-term loans that served as bridge financing while the borrower sought financing insured by
   HUD. See id. at 20.
235 See
     id.; see also Section V.F.4.a (discussing the August 2007 sale of the Health Capital business to
   GMAC CF).
236 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 20.

237 See Int. of J. Young, Sept. 28, 2012, at 46:3–13, (noting that the IBG “was basically non-conforming, the

   same business model . . . from the U.S., taken internationally, on the non-conforming side, because they don’t
   have Fannie and Freddie and things like that”); id. at 48:18–21 (“So, yeah, the same basic business model, but
   outside the U.S., nonconforming, originate, sell, retain the servicing.”). IBG’s business, however, was “not
   nonprime.” Id. at 47:3–6.
238 See Residential Capital Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at 20–21.

239 See id.

240 See id. at 21.



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                         (c) Canada

    In April 2002, the IBG acquired the largest non-bank owned mortgage brokerage network
in Canada. This mortgage brokerage network brokered loans to other lenders in Canada.
Through its Canadian operations, the IBG (1) received approximately $10.8 million in
brokerage fees and (2) originated approximately $1 billion of mortgage loans through its
mortgage broker network in 2005.241

                         (d) Mexico

     In 2000, the IBG began its Mexican lending operations. In Mexico, the IBG provided
(1) capital to developers to acquire and develop land and build homes; (2) mortgage lending;
and (3) warehouse facilities to financial intermediaries in Mexico to create an origination
network. As of December 31, 2005, the IBG had approximately $42 million in outstanding
loans from its operations in Mexico.242

                   (6) Other

     ResCap provided real-estate brokerage in markets including New England, Chicago, the
New York City metropolitan area, and San Francisco. In 2005, ResCap’s networks of real-
estate brokerage offices, including franchised and company-owned, were among the ten
largest in the United States. In addition, ResCap provided full-service global relocation to
consumers. ResCap’s global relocation services business was one of the largest providers of
global relocation services.243

D. HOUSING AND MORTGAGE MARKETS EXPERIENCE RAPID GROWTH IN
   THE YEARS LEADING TO RESCAP’S FORMATION

     Beginning in the late 1990’s, the housing and related mortgage markets experienced
rapid growth. A number of factors contributed to this growth including, most significantly:
(1) historically low interest rates; (2) promotion of home ownership by the Federal
Government through various programs; and (3) growth of owner’s equity attributable to
increasing real-estate prices in hot markets, such as southern California.244 Home prices in the
United States experienced a historic boom from 2001 through 2005. “Nationally, real home
prices rose 86% [corrected for inflation] between the bottom in the fourth quarter of 1996 and
241 See id.


242 See id.


243 See id. at 21–22.


244 See Anna J. Schwartz, Origins of the Financial Market Crisis of 2008, 29 CATO J. 19 (Winter 2009); see also

   OFFICE OF FEDERAL HOUSING ENTERPRISE OVERSIGHT, U.S. HOUSE PRICES CONTINUE TO RISE RAPIDLY
   (June 1, 2005), http://www.fhfa.gov/webfiles/1184/1q05hpi.pdf.

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the peak 9.25 years later in the first quarter of 2006.”245 By other estimates, the price of a
typical American house increased by 124% between 1997 and 2006.246

     In 2002 and 2003, fueled by demand from private-label MBS investors, mortgage lenders
created numerous alternative loan products,247 many of which traded traditional risk-based
pricing (i.e., higher interest rates and LTV ratios) for premium pricing and upfront fees.248
Increasingly, lenders and borrowers turned to more exotic mortgage products, most
significantly the “2/28 Option ARM” in 2004 and 2005, combined with lower and lower credit
and documentation standards to qualify.249

     The MBS market evolved as a means for mortgage originators to finance their business
by selling pools of loans to a special purpose entity known as an investment trust.250 The
investment trust would then rank the mortgages into credit quality strips or tranches, and sell
interests to private investors. The better credit quality tranches received the first right to
payment, while investors in the lower graded tranches received higher rates of return for
accepting greater risk.251 Investors from around the globe flocked to the MBS market.
          The private label market grew dramatically, with issuances rising from $586
          billion in 2003 to $1.2 trillion in 2005. A large share of the growth came from
          the subprime and Alt-A markets, whose share of the private label market grew
          from 41% to 76% . . . .252




245 ROBERT J. SHILLER, THE FEDERAL RESERVE BANK OF KANSAS CITY, UNDERSTANDING RECENT TRENDS IN

   HOUSE PRICES AND HOMEOWNERSHIP (Sept. 14, 2007), at 4, http://www.nber.org/papers/w13553.pdf.
246 CSI: Credit Crunch, Central Banks have Played a Starring Role, THE ECONOMIST, Oct. 18, 2007.

247 CYNTHIA ANGELL & CLARE D. ROWLEY, FDIC, FDIC OUTLOOK, BREAKING NEW GROUND IN U.S.
   MORTGAGE LENDING (last updated Mar. 21, 2007), http://www.fdic.gov/bank/analytical/regional/ro20062q/
   na/2006_summer04.html.
248 Id.

249 See id.; see also Chris Isidore, Liar Loans: Mortgage Woes Beyond Subprime, CNNMONEY.COM, Mar. 19,

   2007, http://money.cnn.com/2007/03/19/news/economy/next_subprime/?postversion=2007031913; see also
   THE SUBPRIME MORTGAGE CRISIS EXPLAINED, STOCK MARKET INVESTORS, http://www.stock-market-
   investors.com/stock-investment-risk/the-subprime-mortgage-crisis-explained.html.
250 THE  BOND MARKET ASSOCIATION, INTERNATIONAL SWAPS & DERIVATIVES ASSOCIATION, SECURITIES
   INDUSTRY ASSOCIATION, SPECIAL PURPOSE ENTITIES AND THE SECURITIZATION MARKET (Feb. 1, 2002), at
   1, http://www.isda.org/speeches/pdf/SPV-Discussion-Piece-Final-Feb01.pdf.
251 WORKING GROUP, COMMITTEE ON THE GLOBAL FINANCIAL SYSTEM, THE ROLE OF RATINGS                           IN
   STRUCTURED FINANCE; ISSUES AND IMPLICATIONS (Jan. 2005), at 1, http://www.bis.org/publ/cgfs23.pdf.
252 RICHARD K. GREEN & SUSAN M. WACHTER, FEDERAL RESERVE BANK OF KANSAS CITY, THE HOUSING

   FINANCE REVOLUTION (Aug. 31, 2007), at 34, http://www.kc.frb.org/publicat/sympos/2007/PDF/2007.08.21.
   WachterandGreen.pdf.

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      As developing economies and emerging markets grew, so did the global supply of money
to be invested.253 With the Fed Funds Rate—the rate of interest at which banks lend available
cash at the Federal Reserve to each other—pegged at 1% after the economic downturns caused
by the burst of the “dot-com” bubble and the tragedies of September 11, 2001, MBS increased
in appeal to this global money pool.254 By 2003, there were insufficient loans produced by
traditional lending standards to meet investor demand. With demand remaining strong,
lending standards began to weaken.255

     1. The Subprime Mortgage Market Expands

      The subprime mortgage market, which was virtually nonexistent before the mid 1990’s,
rose to account for a fifth of all new mortgages by 2005.256 New loan denial rates fell sharply
after 2000, with these newly available mortgages going to lower-income borrowers.257 Along
with the growth of subprime mortgages, new products were developed and introduced to the
market over time included ones with acronyms such as:

          •   “SIVA”—Stated Income, Verified Assets;

          •   “NIVA”—No Income, Verified Assets;

          •   “NINA”—No Income, No Assets (a/k/a “Liar Loans”); and, later,

          •   “NINJA”—No Income, No Job or Assets.258




253 Ben S. Bernanke, Governor, FRB, Remarks at the Sandridge Lecture, Virginia Association of Economists (Mar. 10,

   2005), http://www.federalreserve.gov/boarddocs/speeches/2005/200503102/.
254 Id.

255 This American Life: The Giant Pool of Money, National Public Radio (May 9, 2008); see also Dr. Faten

   Sabry & Dr. Chudozie Okongwu, How Did We Get Here? The Story of the Credit Crisis, J. OF STRUCTURED
   FIN. (Spring 2009), at 6 (“According to annual surveys conducted by the Office of the Comptroller of the
   Currency (OCC), credit underwriting standards were eased during the years 2004 to 2006.”).
256 NIKOLA KOJUCHAROV, CLYDE F. MARTIN, ROBERT F. MARTIN, & LILI XU, THE FEDERAL RESERVE BANK

   OF SAN FRANCISCO, THE SUBPRIME MORTGAGE CRISIS: IRRATIONAL EXUBERANCE OR RATIONAL ERROR?
   (July 2008), at 6, http://www.frbsf.org/economics/conferences/0901/Kojucharov-Martin-Martin-Xu.pdf.
257 ROBERT J. SHILLER, THE FEDERAL RESERVE BANK OF KANSAS CITY, UNDERSTANDING RECENT TRENDS IN

   HOUSE PRICES AND HOMEOWNERSHIP (Sept. 14, 2007), at 17–18, http://www.nber.org/papers/w13553.pdf.
258 See THE SUBPRIME MORTGAGE CRISIS EXPLAINED, STOCK MARKET INVESTORS, http://www.stock-market-

   investors.com/stock-investment-risk/the-subprime-mortgage-crisis-explained.html; see also CHARLES
   R. MORRIS, THE TWO TRILLION DOLLAR MELTDOWN: EASY MONEY, HIGH ROLLERS, AND THE GREAT
   CREDIT CRASH (2008).

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     In a NINJA loan, the borrower needed only a qualifying credit score; the lender was not
required to verify any other information.259 These lower underwriting standards were further
coupled with riskier structures such as the “2/28” or “3/27” (two or three year low teaser rate
followed by twenty-seven or twenty-eight years of adjustable rates).260 Adjustable rate
mortgages were not new. The practice of qualifying the borrower based on the lower teaser
rate payment amount not the future adjusted rate, however, was an innovation.261

     By 2004, lenders began placing substantial prepayment penalty clauses into loans to
ensure that the loan either remained outstanding through the first reset date, or the borrower
paid a premium to retire the loan.262 As low teaser rates became more common, so did
optional products allowing borrowers to choose to pay interest only or even something less,
creating a negative amortization loan.263 Increasing risk even further, lenders also began to
combine the exotic mortgage products with a means for little or no down payment.264 LTV of
80%, long considered the minimum lending standard, were quickly being replaced with 90%
LTV, or the “80/20” loan, where the lender made an 80% first mortgage coupled with a 20%
second mortgage that could be used as the down payment to avoid requiring personal
mortgage insurance also known as PMI.265

     By 2005, 22% of new loans were considered subprime, up from 8% in 2003.266 Further, at
the peak of the lending frenzy in 2006, subprime loans had an average cumulative LTV of 95%
and more than one half were low or no documentation loans. In addition, 55% were




259 See id.

260 RICHARD K. GREEN & SUSAN M. WACHTER, FEDERAL RESERVE BANK OF KANSAS CITY, THE HOUSING

   FINANCE REVOLUTION (Aug. 31, 2007), at 37, http://www.kc.frb.org/publicat/sympos/2007/PDF/2007.08.21.
   WachterandGreen.pdf.
261 Id. at 37–38.

262 Id.

263 CYNTHIA ANGELL & CLARE D. ROWLEY, FDIC, FDIC OUTLOOK, BREAKING NEW GROUND IN U.S.
   MORTGAGE LENDING (last updated Mar. 21, 2007), at 37–38, http://www.fdic.gov/bank/analytical/regional/
   ro20062q/na/ 2006_summer04.html.
264 Id.

265 THE FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT (Jan. 2011), at 109–

   110, http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf; see also Glenn Setzer, Piggybacks
   Arouse      Interest—and    Concerns,    MORTGAGE      NEWS       DAILY,     Aug.    9,    2005,
   http://www.mortgagenewsdaily.com/892005_Piggyback_Loans.asp; Jody Shen, Subprime Second-Mortgage
   Bond Downgrades Surging, Moody’s Says, BLOOMBERG, June 12, 2007, http://www.bloomberg.com/apps/
   news?pid=newsarchive&sid=aJHB7OMXxFT4.
266 RICHARD K. GREEN & SUSAN M. WACHTER, FEDERAL RESERVE BANK OF KANSAS CITY, THE HOUSING

   FINANCE REVOLUTION (Aug. 31, 2007), at 36, http://www.kc.frb.org/publicat/sympos/2007/PDF/2007.08.21.
   WachterandGreen.pdf.

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accompanied by a piggyback second loan, thereby permitting the borrower to avoid paying
PMI.267 In 2006, as interest rates began to reset on early vintage 2/28 Option ARM’s, the
subprime market began to see a significant rise in defaults.268 Borrowers’ interest rates reset
from initial low teaser rates of 2% to 3% to market rates as high as 8% to 9% in some cases. At
the same time, home prices were leveling off or, in some markets, declining, further hampering
homeowners’ ability to sell their home or refinance their loans. In 2006, the median price of new
homes dropped 3% from January to August, while the Dow Jones U.S. Home Construction
Index was down 35% in August 2006 from the prior year.269 Subsequent research shows that the
housing bubble peaked in 2006.270

    2. As Interest Rates Increase, Some Begin To Predict A Housing Slowdown

     By 2004, the FRB and other monetary fund leaders around the world began to see signs
of looming inflation and introduced increasing interest rates to combat these signs.271 LIBOR
and Fed Funds rates increased from historic lows of 1% in 2002, to 2.3% by the end of
2004.272 By the end of 2005, the continued rate increases brought LIBOR and the Fed Funds




267 Mark Zandi & Celia Chen, Aftershock: Housing in the Wake of the Mortgage Meltdown, MOODY’S
   ECONOMY.COM, Dec. 2007, at 21, http://www.economy.com/home/products/samples/2007-12-01-Aftershock-
   Housing-Wake-Mortgage-Meltdown.pdf.
268 Noelle Knox, Some Homeowners Struggle to Keep Up With Adjustable Rates, USA TODAY, Apr. 3, 2006,

   http://usatoday30.usatoday.com/money/perfi/housing/2006-04-03-arms-cover-usat_x.htm.
269 John  Spence, More Builders Lower Expectations, MARKETWATCH (WALL ST. J.), July 27, 2006, http://
   articles.marketwatch.com/2006-07-27/news/30812021_1_meritage-homes-corp-orders-for-new-homes-
   housing-market.
270 Henry M. Paulosn, Jr., Sec’y, U.S. Dep’t of the Treasury, Remarks on Current Housing and Mortgage Market

   Developments, Georgetown Law Center (Oct. 16, 2007), http://blogs.wsj.com/economics/2007/10/16/text-of-
   paulsons-remarks-on-housing/.
271 THE   FEDERAL RESERVE AND INTEREST RATES, BRANCH BANKING AND TRUST COMPANY,
   http://www.bbt.com/bbtdotcom/financial-education/ PLANNING/federal-reserve-and-interest-rates.page.
272 LIBOR    RATES     HISTORY:       HISTORICAL      LIBOR      RATES     INFORMATION,   FEDPRIMERATE.COM,
   http://www.fedprimerate.com/libor/libor_rates_history.htm#liborpreviousmonth; FEDERAL FUNDS TARGET RATE
   HISTORY, FEDPRIMERATE.COM, http://www.fedprimerate.com/fedfundsrate/federal_funds_rate_history.htm.

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Rate up to 4.25%,273 and by August 2006, both rates were at 5.3%.274 As Moody’s economists
Mark Zandi and Celia Chen pointed out:
            The tightening in monetary policy between mid-2004 and early 2006 was the
            catalyst for the rapid shift from boom to bust in the housing market. . . . Long
            term rates ultimately rose in response, although more modestly. . . . Rates on
            adjustable mortgages and fixed mortgage rates moved higher in response . . . .
            Higher mortgage rates, when mixed with very lofty house prices, undermined
            housing affordability.275

          Further, Federal Reserve Bank of Dallas President Richard Fisher noted:
            In retrospect, the real fed funds rate turned out to be lower than what was
            deemed appropriate at the time and was held lower longer that it should have
            been. In this case, poor data led to a policy action that amplified speculative
            activity in the housing and other markets. Today, as anybody not from the
            former planet of Pluto knows, the housing market is undergoing a substantial
            correction and inflicting real costs to millions of homeowners across the
            country.276

     In addition, the U.S. current account deficit also peaked in 2006.277 FRB President Ben
Bernanke explained how trade deficits required the U.S. to borrow from abroad, in the process
bidding up bond prices and lowering interest rates. In April 2005 he stated: “The greater the
extent to which [foreign] capital inflows act to augment residential construction and especially
current consumption spending, the greater the future economic burden of repaying the foreign
debt is likely to be.”278




273 Id.

274 Id.

275 Mark Zandi & Celia Chen, Aftershock: Housing in the Wake of the Mortgage Meltdown, MOODY’S
   ECONOMY.COM, Dec. 2007, at 23, http://www.economy.com/home/products/samples/2007-12-01-Aftershock-
   Housing-Wake-Mortgage-Meltdown.pdf.
276 RichardW Fisher, President, The FRB of Dallas, Speech to the New York Association for Business
   Economics: Confessions of a Data Dependent (Nov. 2, 2006), http://www.dallasfed.org/news/speeches/fisher/
   2006/fs061102.cfm.
277 THE FINANCIAL CRISIS INQUIRY COMMISSION, THE FINANCIAL CRISIS INQUIRY REPORT (Jan. 2011), at 104,

   http://www.gpo.gov/fdsys/pkg/GPO-FCIC/pdf/GPO-FCIC.pdf
278 Ben S. Bernanke, Chairman, The FRB, Remarks At the Sandridge Lecture, Virginia Association of
   Economists, Richmond, Virginia: The Global Saving Glut and the U.S. Current Account Deficit (Apr. 14,
   2005), http://www.bis.org/review/r050318d.pdf.

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     Though few foresaw the looming crisis, Yale University Professor Robert Shiller was one
of the earliest to sound the warnings in 2005, followed in August/September 2006 by several
other voices expressing grave concern. Prof. Shiller stated:
          In 2005, in the second edition of my book “Irrational Exuberance,” I stated
          clearly that a catastrophic collapse of the housing and stock markets could be
          on its way. I wrote that “significant further rises in these markets could lead,
          eventually, to even more significant declines,” and that this might “result in a
          substantial increase in the rate of personal bankruptcies, which could lead to a
          secondary string of bankruptcies of financial institutions as well,” and said that
          this could result in “another, possibly worldwide, recession.279

     In August 2006, Barron’s included a warning of the approaching housing crisis noting
that 32.6% of new mortgages were interest only and that 43% of first time home buyers in
2005 put no money down.280 Further, Barron’s noted that “[e]ven a relatively brief period of
rising mortgage payments, rising debt and falling home values will collapse the system.”281
These stresses were not just on home owners. In 2001, approximately 54% of subprime loans
were bundled and securitized to third-party investors. By 2006, this percentage increased to
75%.282 During the period when interest rates were low, refinancing was an option to relieve
stress on home owners. For example, “[i]n 2005, when mortgage interest rates were low,
around 40% of existing mortgages were refinanced in a single year.”283 In September 2006,
Professor Nouriel Roubini noted:
          We have a glut of housing stock . . . . Whenever you have a glut … demand for
          these goods becomes interest insensitive . . . . The market consensus is still that
          there will be a soft landing. My concern today is that the bursting of the
          housing bubble—we haven’t seen it yet—is going to lead to broader systemic
          banking problems. It’s going to start with subprime lenders—they are already
          in trouble because of increased delinquencies and foreclosures—and then it is
          going to be transmitted to other banks and financial institutions.284



279 Robert J. Shiller, Challenging the Crowd in Whispers, Not Shouts, N.Y. TIMES, Nov. 1, 2008,
   http://www.nytimes.com/2008/11/02/business/02view.html?pagewanted=all&_r=0.
280 Lon Witter, The No Money Down Disaster, BARRON’S, Aug. 21, 2006.

281 Id.

282 KATALINA  M. BIANCO, THE SUBPRIME LENDING CRISIS: CAUSES AND EFFECTS OF THE MORTGAGE
   MELTDOWN, CCH FEDERAL BANKING LAW REPORTER, CCH MORTGAGE COMPLIANCE GUIDE AND BANK
   DIGEST (2008), http://www.business.cch.com/bankingfinance/focus/news/Subprime_WP_rev.pdf.
283 RICHARD K. GREEN & SUSAN M. WACHTER, FEDERAL RESERVE BANK OF KANSAS CITY, THE HOUSING FINANCE

   REVOLUTION (Aug. 31, 2007), at 32, http://www.kc.frb.org/publicat/sympos/2007/PDF/2007.08.21.WachterandGreen.pdf.
284 Nouriel Roubini, Stern School of Business, NYU, Featured Speaker at the International Monetary Fund Seminar:

   Nouriel Roubini on the U.S. and Global Outlook, Washington, D.C. (Sept. 7, 2006), http://www.economonitor.com/
   nouriel/2010/09/02/economonitor-flashback-roubinis-imf-speech-september-7-2006/.

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     Roubini also noted “credit supply conditions have not tightened. You do not see any
signal of a real tightening of the standards.”285 At an IMF symposium, economist Anirvan
Banerji noted Roubini had predicted a slowdown in 2005 and that he was “concerned that
[Roubini’s] approach amounts to subjective forecasting by selective analogy.”286 The New
York Times reported that:

          The audience seemed skeptical, even dismissive. As Roubini stepped down
          from the lectern after his talk, the moderator of the event quipped, “I think
          perhaps we will need a stiff drink after that.” People laughed—and not without
          reason. At the time, unemployment and inflation remained low, and the
          economy, while weak, was still growing, despite rising oil prices and a
          softening housing market. And then there was the espouser of doom himself:
          Roubini was known to be a perpetual pessimist, what economists call a
          “permabear.”287

    The markets were enjoying healthy investment returns on MBSs, so these few individuals
were easily overshadowed by the majority who believed the boom would continue. Indeed,
many others continued to see opportunity even in late 2006, as illustrated in an August 2006
Barron’s article claiming housing and construction related stocks look very attractive as they
were trading around book value.288

E. GM’S SALE OF A 51% INTEREST IN AFI TO CERBERUS

     1. GM’s Ratings Continue To Decline

     GM’s operational problems and credit rating issues continued relatively unabated after
ResCap’s incorporation. On October 14, 2004, S&P downgraded GM’s and AFI’s long-term
credit rating from BBB with a negative outlook to BBB- with a stable outlook and, at the same
time, downgraded GM’s and AFI’s commercial paper rating from A-2 with a negative outlook
to A-3 with a stable outlook.289




285 Id.

286 Anirvan Banerji, Chief Research Officer, Economic Cycle Research Institute, Discussant at the International

   Monetary Fund Seminar: Nouriel Roubini on the U.S. and Global Outlook, Washington, D.C. (Sept. 7, 2006),
   http://www.economonitor.com/nouriel/2010/09/02/economonitor-flashback-roubinis-imf-speech-september-7-
   2006/.
287 Stephen Mihm, Dr. Doom, N.Y. TIMES, Aug. 15, 2008, http://www.nytimes.com/2008/08/17/magazine/17pessimist-

   t.html.
288 Lon Witter, The No Money Down Disaster, BARRON’S, Aug. 21, 2006.

289 See General Motors Corp., Annual Report (Form 10-K) (Mar. 16, 2005), at II-12; see also Section III.A.2

   (discussing the declining credit ratings of GM and AFI).

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     On November 4, 2004, Moody’s downgraded GM’s long-term credit rating from Baa1
with a negative outlook to Baa2 with a stable outlook and, at the same time, downgraded
AFI’s long-term credit rating from A3 with a negative outlook to Baa1 with a stable
outlook.290 Moody’s affirmed GM’s and AFI’s commercial paper rating at Prime-2 with a
stable outlook. On February 14, 2005, Moody’s lowered the outlook on GM’s and AFI’s long-
term credit ratings of Baa2 and Baa1, respectively, to negative from stable and, at the same
time, lowered the outlook on GM’s and AFI’s commercial paper rating of Prime-2 to negative
from stable.291 Refer to the tables below for a summary of GM’s, AFI’s, and ResCap’s credit
ratings subsequent to these rating actions:




290 See General Motors Corp., Annual Report (Form 10-K) (Mar. 16, 2005), at II-12.

291 See id.



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     GM’s long-term credit rating fell from BBB (high) on February 14, 2005292 to BB on
October 17, 2005. On October 11, 2005, DBRS placed the ratings of AFI and ResCap under
review with developing implications. Fitch later downgraded GM’s senior unsecured rating
from B+ to B. Fitch maintained the rating watch negative outlook for GM’s ratings.293

     2. AFI’s Concerns Regarding GM’s Ratings And The Affect On AFI Grows, Leading To
        Consideration Of Its Separation From GM

     Although Eric Feldstein, AFI’s Chairman and CEO, could not pinpoint the exact time
frame for his mounting concerns regarding GM’s ratings erosion and AFI’s concomitant
ratings slide, he did recall that GM’s ratings were under constant pressure in 2003, 2004, and
2005.294 Moreover, although he could not recall the precise rating, Feldstein did remember
that when there was a ratings change, it was always a downward change and GM was often on
credit watch.295

     Feldstein “felt that it was [his] responsibility and [AFI’s main] responsibility to
anticipate, given the trajectory . . . . that [GM’s credit rating] could one day become
noninvestment grade.”296 While Feldstein believed that GM, without enormous borrowing
requirements, could withstand a noninvestment grade rating, he thought that a financial
services company, like AFI, with borrowings between $125 and $175 billion, might well
suffocate unless its credit rating remained at investment grade because liquidity was like
“oxygen” for a financial services company.297 Feldstein believed that if AFI were “to become
noninvestment grade,” it would have “transform[ed] the junk market.”298 Feldstein’s concerns
prompted him to approach GM in 2005 about possible steps to delink the credit rating of AFI
and GM.299

     Feldstein believed that when GM was an A-rated company or better, it made sense for
AFI to be wholly owned by GM,300 but when GM was approaching noninvestment grade, he
thought that GM should think about separating AFI in some way “and maybe even ced[e] a
majority interest.”301 Accordingly, Feldstein approached GM with the thought of separating
the two companies. GM’s senior management was “not enamored in the first instance with
292 See id.

293 See id. at II-32–33.

294 Int. of E. Feldstein, Dec, 14, 2012, at 61:10–14.

295 Id. at 61:15–21.

296 Id. at 61:24–62:3.

297 Id. at 62:8–23.

298 Id. at 63:8–11.

299 Id. at 64:1–17.

300 Id. at 64:23–25.

301 Id. at 64:23–65:5. One or more investment banks were of the same view because they presented to Feldstein

   why it made sense for GM and AFI to consider separating. See id. at 77:9–11.

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this proposal because [AFI] was considered the ‘crown jewel’ of GM.”302 According to
Feldstein, GM could have at one time achieved a de-linking with a sale of a 20% interest in
AFI,303 but things got progressively worse at GM and by the time GM became comfortable
selling 20% of AFI, that was no longer enough to de-link AFI’s credit rating from that of
GM.304 In order to de-link the rating, GM would have to sell 51%.305

     GM’s initial hesitation gave way to practical reality. Feldstein believes that GM’s senior
management ultimately came to understand that not parting with a majority interest in AFI
was worse than a sale of its captive automobile finance business.306 Feldstein speculated “that
ultimately, [GM] determined that it was better to own 49 percent of a viable, economically
viable, profitable company than 100 percent of a company that could be at risk.”307 Feldstein
did not recall the precise date of GM’s decision to pursue a sale of AFI but believes the
process began in earnest in mid- to late-2005308 when GM formed a team led by the CFO and
Treasurer to explore a sale of GM’s interest in AFI.309

     On October 17, 2005, GM announced that it was exploring the possible sale of a
controlling interest in AFI, with the goal of de-linking AFI’s credit rating from GM’s credit
rating and renewing its access to low-cost financing. In it is 2005 Annual Report, GM
acknowledged the steps it had taken to separate ResCap from GM’s credit rating noting the
2005 Operating Agreement between AFI and ResCap and the limitations the 2005 Operating
Agreement imposed on the payment of dividends to AFI and repayment of subordinated
debt.310 Additionally, after being pressured by AFI’s management and the investment




302 Id. at 67:24–68:2.

303 Id. at 69:20–22.

304 Id. at 70:12–14. Walker noted:


         [A]s much as we wanted ResCap to be distinct from GMAC, we also wanted GMAC to be distinct
         from GM, distinct in the agencies’ minds. They would allow less linkage than they would between
         ResCap and GMAC, but there was still some element of de-linkage, and these guys are clearly
         stating that if we don’t get this deal done, they’re going to equalize our ratings and that’s going to
         be bad news for everybody in the GMAC family relative to getting this deal done.
   Int. of D. Walker, Nov. 28, 2012, at 120:2–13.
305 Int. of E. Feldstein, Dec. 14, 2012, at 70:21–22.

306 Id. at 78:4–9.

307 Id. at 78:10–15. Similarly Walker noted: “GM had owned GMAC for 80 years, was selling 51 percent because

   they had financial distress.” Int. of D. Walker, Nov. 28, 2012, at 117:7–9.
308 Int. of E. Feldstein, Dec. 14, 2012, at 79:12–14.

309 Id. at 85:2–6.

310 General Motors Corp., Annual Report (Form 10-K) (Mar. 28, 2006), at I-22–I-23.



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community to improve the debt ratings and lower the cost of borrowings at AFI and ResCap,
GM announced:

                   We are considering the sale of a controlling interest in [AFI] as
                   well as exploring strategic and structural alternatives for ResCap.

                                               *      *        *

                   The extent of the effect on [AFI’s] and ResCap’s credit ratings, if
                   any, will depend on the structure and other terms of any potential
                   transaction as well as the extent of [AFI’s] ongoing credit exposure
                   to GM.

                                               *      *        *

                   Failure to execute a AFI strategic transaction will place further
                   pressure on both GM’s and [AFI’s] credit profiles, potentially
                   resulting in further downgrades with [AFI’s] credit ratings
                   explicitly re-linked to those of GM.

                                               *      *        *

                   In the absence of a transaction:

           •       [AFI’s] access to capital may be seriously constrained, as most unsecured funding
                   sources may decline, including bank funding;

           •       The cost of funds related to borrowings that are secured by assets may increase,
                   leading to a reduction in liquidity for certain asset classes;

           •       It may be increasingly difficult to securitize assets, resulting in reduced capacity
                   to support overall automotive originations;

           •       Uncompetitive funding costs may result in a lower return on capital and
                   significantly lower earnings and dividends; and

           •       [AFI] may need to consider divesting certain businesses in order to maintain
                   adequate liquidity to fund new originations or otherwise preserve the value of its
                   businesses.311
311 Id. at I-20–I-21. GM further reported:


         Although any transaction involving [AFI] would reduce our interest in the earnings of [AFI], it is
         expected that the financial effects of that reduction would be offset by the value of any
         consideration we receive from a purchaser. We are working to finalize a transaction as rapidly as
         we can. Structuring a [AFI] transaction is a complex endeavor and we cannot predict whether any
         transaction with respect to [AFI] will occur, the terms of any transaction, the identity of any
         purchaser, or whether and over what period a transaction could achieve the principal strategic goals.
   Id. at II-26.

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     3. Despite GM’s Consideration Of Sale Of AFI, GM’s Ratings Continue To Decline
     On December 12, 2005, S&P resolved GM’s issuer credit rating by downgrading the
rating from BB minus, CreditWatch with negative implications to B, outlook negative, and
downgraded GM’s short-term ratings from B-2, CreditWatch with negative implications to B-
3 outlook negative. GM’s ratings were removed from CreditWatch. The long-term ratings of
AFI and ResCap were unchanged at BB and BBB minus, respectively, both under
CreditWatch with developing implications. On December 16, 2005, DBRS downgraded GM’s
long-term debt to B (high) and GM’s short-term rating to R-3 (mid), both with negative
trends.312
     While GM experienced limited access to the capital markets in 2005 as a result of
deterioration in its credit ratings, it was able to use available liquidity to meet its capital
requirements. Similarly, due to the downgrade of its unsecured debt to non-investment grade,
AFI’s access to the unsecured capital markets was limited. AFI was able to meet its capital
requirements by accessing alternative funding sources, with a focus on secured funding and
automotive whole loan sales.
     On February 21, 2006, Moody’s downgraded GM’s senior unsecured debt to B2 with a
negative outlook from B1 under review for a possible downgrade. On March 16, 2006,
Moody’s placed the senior unsecured ratings of GM, AFI, and ResCap under review for a
possible downgrade.313
     4. Execution Of The Cerberus PSA
     On April 3, 2006, GM announced the sale of a 51% stake in AFI to FIM Holdings, an
investment vehicle formed by a group led by Cerberus.314 AFI, GM, GM Finance Co.
Holdings Inc. (a wholly owned subsidiary of GM), and FIM Holdings had entered into the
Cerberus PSA on April 2, 2006.315 The Cerberus PSA contemplated a series of transactions to
accomplish the sale of 51% of GM’s interest in AFI to FIM Holdings. The sale ultimately
closed in November 2006.316
312 Id. at II-31–II-3.

313 General Motors Corp., Quarterly Report (Form 10-Q) (June 8, 2006), at I-53–I-54.

314 See  GM, Press Release, GM Reaches Agreement to Sell Controlling Stake in GMAC (Apr. 3, 2006)
   [EXAM11496076]; see also GMAC LLC, Current Report (Form 8-K) (July 26, 2006) (“In addition to
   continuing to enable [AFI] to support the sale of GM vehicles, the transaction is intended to support [AFI]’s
   strategic goal of a stable investment grade credit rating and profitable growth.”); Int. of L. Tessler, Nov. 16,
   2012, at 16:14–17:3 (“Cerberus’ [sic] whole investment strategy in private equity is focused on operationally
   challenged and operationally distressed businesses. . . . So, there’s always an operational orientation with
   regard to the type of investments we make where we believe that we will be able to go in to a company and
   improve its quality of operations and its profitability.”); id. at 18:16–19 (“[Cerberus] felt . . . there were
   operational improvements [at AFI]. After all, it was owned by General Motors.”); id. at 20:11–21:13 (“[Q:]
   Were you interested principally in the automotive side, or were you interested in the mortgage side of the
   business, as well? [A:] We were interested in the totality of [AFI].”).
315 See General Motors Acceptance Corp., Current Report (Form 8-K) (Apr. 3, 2006). Pursuant to the Cerberus

   PSA, HoldCo acquired the Call Option. See Section V.A.1 (discussing the Call Option and HoldCo’s
   acquisition of the Call Option).
316 See General Motors Corp., Current Report (Form 8-K) (Nov. 30, 2006), at 3.



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     In particular, the Cerberus PSA provided that certain entities, including AFI, ResCap, and
RFC, would be converted into limited liability companies.317 In addition, the Cerberus PSA
required Old GMAC Bank to be removed from the Cerberus ownership chain so that Cerberus
would not become subject to regulations relating to thrift holding companies.318 Thereafter,
GM would sell 51% of the common limited liability company interests in AFI to FIM
Holdings in exchange for $7.353 billion, the Cerberus PSA Equity Purchase Price.

     According to AFI, the sale to FIM Holdings “strengthens [AFI’s] ability to support GM’s
automotive operations, improves [AFI’s] access to cost-effective funding, provides significant
liquidity to GM and allows GM to continue to participate in the profitability of AFI over the
long term through its 49-percent ownership stake.”319 Moreover, it was anticipated that the
sale would “reduce [AFI’s] cost of funds as [AFI’s] ratings are delinked from GM’s and
improve over time. Under the [Cerberus PSA and related] agreements, GM will directly
benefit from [AFI’s] lower cost of funds.”320 At the time the sale was announced, both GM
and Cerberus publicly expressed expectations as to the emergence of a stronger AFI.
          We look forward to working with Cerberus to maintain and grow [AFI’s]
          traditional strong performance and contribution to the GM family, said GM
          Chairman and Chief Executive Officer Rick Wagoner. This agreement is
          another important milestone in the turnaround of General Motors. It creates a
          stronger [AFI] while preserving the mutually beneficial relationship between
          GM and [AFI]. At the same time, it provides significant liquidity to support our
          North American turnaround plan, finance future GM growth initiatives,
          strengthen our balance sheet and fund other corporate priorities.
          We are committed to helping [AFI] compete even more effectively and
          continuing its tradition of strong growth and success,” added Lenard Tessler,
          Cerberus’ head of Private Equity and senior managing director. We recognize
          that GM’s dealers are a cornerstone for growth in this business, and we are
          committed to maintaining the strong support that [AFI] provides to its dealer
          customers. Moreover, we have great confidence and respect for the people of



317 Cerberus
          PSA, § 2.3(a) [CERB000521]; Cerberus PSA, Disclosure Schedules, at Sched. 2.3(a)
  [CERB000731].
318 The Cerberus PSA was silent as to the mechanics to remove Old GMAC Bank from the Cerberus chain of

  ownership. Indeed, as of April 4, 2006, ResCap’s management was exploring three potential ownership
  structures: (1) AFI owning 100% of voting control of IB Finance with proportional earnings distribution to
  ResCap; (2) proportional voting control and earning distribution; and (3) formation of ResCap’s own
  industrial bank. See Section V.A.1.a (discussing the 2006 Bank Restructuring). The Cerberus PSA, however,
  did provide that “[a]fter the Bank Restructuring, [AFI] or ResCap will wholly own [GMAC Automotive
  Bank], or it will be co-owned by [AFI] and ResCap.” Cerberus PSA, Ex. H, at 2 [CERB039811].
319 GM,
      Press Release, GM Reaches Agreement to Sell Controlling Stake in GMAC (Apr. 3, 2006)
  [EXAM11496076].
320 General Motors Acceptance Corp., Current Report (Form 8-K) (Apr. 10, 2006).



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          [AFI], and look forward to the continued success of the [AFI] automotive
          financing, mortgage and insurance, banking, and real estate services businesses
          around the globe.321

    Following GM’s announcement that it agreed to sell a 51% interest in AFI, Fitch revised
AFI’s rating watch status to Positive from Evolving, indicating that the ratings may be
upgraded or maintained at current levels.322

     5. ResCap Converts To A Limited Liability Company

      As required by the Cerberus PSA, ResCap converted from a corporation to a single
member limited liability company. Effective as of the conversion, the ResCap By-Laws were
superseded by the ResCap LLC Agreement.323 Although ResCap initially chose to remain
treated as a corporation for tax purposes, it later elected to change its classification to a
disregarded entity effective November 21, 2006. A discussion of tax issues is contained in
Section V.D.

     6. 2006 ResCap LLC Agreement

     In connection with the conversion of ResCap to a limited liability company, a certificate
of conversion and a certificate of formation was filed with the Secretary of State of Delaware.
In addition, GMAC Mortgage Group LLC, as the sole member of ResCap, entered into and
executed the 2006 ResCap LLC Agreement.324

     Pursuant to the 2006 ResCap LLC Agreement, the management of ResCap was vested
exclusively with the ResCap Board subject to any delegation to officers as provided or
contemplated by the Agreement.325 The 2006 ResCap LLC Agreement further provided that
the directors serving on the ResCap Board before the conversion of ResCap to a limited
321 GM,   Press Release, GM Reaches Agreement to Sell Controlling Stake in GMAC (Apr. 3, 2006)
   [EXAM11496076]. When Cerberus began considering the acquisition of a controlling interest in AFI, it
   viewed ResCap as a unique, well-run, and profitable asset. Int. of L. Tessler, Nov. 16, 2012, at 22:17–23:17
   (“Our initial interest in [AFI] was based upon a view that the mortgage business was very large, fairly unique
   one of the few assets that was, of its type, that was not part of a bank at [sic] our initial impressions were that
   it was well-run and very profitable.”).
322 See GMAC LLC, Quarterly Report (Form 10-Q) (Aug. 8, 2006), at 37.


323 2006 ResCap LLC Agreement, at 1 [ALLY_0255865].


324 Id.


325 Id. § 14 (“Subject to the delegation to the Officers of the Company provided herein and any delegation

   otherwise herein contemplated the business and affairs of the Company shall be managed by or under the
   direction of the Board.”). The 2006 ResCap LLC Agreement contemplated meetings of the ResCap Board,
   during which a majority of the directors present (assuming a quorum was present) could authorize ResCap to
   act. See id. § 15(b). The ResCap Board could act without meeting if a written consent to act was signed by a
   majority of the directors entitled to vote at a ResCap Board meeting. See id. § 15(d).

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liability company would continue to serve on the ResCap Board.326 Because the 2006 ResCap
LLC Agreement did not delegate management to any officers, the full ResCap Board was
entrusted with the management of ResCap, including the review and consideration of any
transaction with any GMAC Affiliate.

    7. 2006 AFI Amended LLC Operating Agreement

     In connection with the Cerberus acquisition of a 51% interest in AFI on November 30,
2006, GM and Cerberus entered into the 2006 AFI Amended LLC Operating Agreement,327
which gave Cerberus the right to appoint six representatives and two independent managers to
the thirteen person AFI Board.328 Also on November 30, 2006, Cerberus appointed, as its
representatives, Frank Bruno, Lenard Tessler, Mark Neporent, Seth Plattus, J. Ezra Merkin,
and Michael Klein, with Merkin serving as Chairman.329 Bruno, Tessler, Neporent, and Plattus
also held executive positions at Cerberus.330

    8. The 2006 Bank Restructuring331

      As part of the sale of a 51% interest in GMAC to the Cerberus-led consortium, Cerberus
required332 ResCap to divest Old GMAC Bank so that Cerberus could avoid bank holding
company status and the restrictions on non-banking activities that would have been triggered
by ownership of a federal savings bank.333 In order to comply with this requirement, AFI and
ResCap undertook a fundamental restructuring of their automotive and mortgage banking
operations. Substantially all of the assets and liabilities of Old GMAC Bank were transferred
to GMAC Automotive Bank while the Old GMAC Bank entity and its remaining assets and
liabilities were transferred to GM.334 Full ownership of GMAC Automotive Bank was then
transferred to IB Finance, a newly created wholly owned direct subsidiary of AFI.335 By
326 See id. § 14(b).


327 See 2006 AFI Amended LLC Operating Agreement [CERB001063].


328 Written Consent of the Initial Class A and Initial Class B Holders to Action in Lieu of Meeting of GMAC

   LLC, dated Nov. 30, 2006, at 1 [CERB003011].
329 Id at 1–2. In his role at Cerberus, Tessler led the due diligence on the acquisition. Int. of L. Tessler, Nov. 16,

   2012, at 22:5–8.
330 SENIOR   EXECUTIVES/MANAGING        DIRECTORS,     CERBERUS       CAPITAL               MANAGEMENT,          L.P.,
   www.cerberuscapital.com/team/senior_executives_managing_directors.
331 See Section V.A.1.a (discussing details of the 2006 Bank Restructuring).


332 Cerberus PSA, Ex. H [CERB039811].


333 Walker Report, at 2 [RC40008925].


334 Certificate of Share Transfer, dated Nov. 21, 2006 [ALLY_0401265]; Transfer of Shares Agreement, dated

   Nov. 22, 2006 [CERB001787].
335 Share Contribution Agreement [CERB001521].



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conveying Old GMAC Bank’s assets and operations to GMAC Automotive Bank and
transferring the Old GMAC Bank entity to GM, ResCap maintained, through membership
interests in IB Finance, the benefits of bank funding while the possibility that Cerberus would
become subject to federal regulations related to ownership of a federal savings bank was
eliminated.336

    9. The 2006 Amended Operating Agreement

      On November 27, 2006, GM, AFI, and ResCap entered into the 2006 Amended
Operating Agreement, which amended and superseded the 2005 Operating Agreement.337 The
amendments reflected by the 2006 Amended Operating Agreement were approved by the
ResCap Board, including the Independent Directors.338 Melzer, however, does not recall
having any discussions regarding the 2006 Amended Operating Agreement in connection with
its approval.339




336 The transaction’s structure (specifically, the use of an industrial loan bank, instead of a federal savings and

   loan bank or “thrift”) was driven by Cerberus’s desire to avoid bank holding company regulations. Under a
   “loophole” in the Bank Holding Company Act, ownership of an industrial loan bank did not trigger bank
   holding company status. Debate over this “loophole” prompted the FDIC, on July 28, 2006, to issue a six-
   month moratorium on deposit insurance and change of control approvals for industrial loan banks. Despite the
   moratorium, Cerberus received FDIC approval in November, 2006 for its acquisition of 51% of AFI by
   agreeing that Ally Bank would be subject to any changes that the FDIC might make to the regulation and
   supervision of industrial loan banks once the moratorium was lifted (agreeing, if necessary, to sell its interest
   in the bank, to convert the bank to a thrift or to obtain a waiver from the FDIC). See, e.g., FDIC, Press
   Release, FDIC Places Six-Month Moratorium on Industrial Loan Company Applications and Notices (July 28,
   2006), http://www.fdic.gov/news/news/press/2006/pr06073.html; FDIC, Press Release, FDIC Board Approves
   Change in Control Notice for GMAC Automotive Bank, Midvale, Utah (Nov. 15, 2006) [EXAM10241413];
   see also Section V.A.1.a (discussing the 2006 Bank Restructuring).
337 According to the ResCap Board minutes, it was unanimously resolved that the 2005 Operating Agreement is

   amended to “(a) permit the LLC Tax Dividend and not subject it to the dividend restrictions contained in the
   [2005] Operating Agreement; (b) amend certain other provisions of the [2005] Operating Agreement related
   to the conversion of the Company to a limited liability company; and (c) implement other amendments the
   [2005] Operating Agreement, including amendments related to the conversion of the Company to become a
   limited liability company.” Minutes of a Special Meeting of the Board of Directors of Residential Capital,
   LLC, dated Nov. 20, 2006, at 1–2 [RC00016852].
338 See Residential Capital, LLC Written Consent in Lieu of Meeting, dated Nov. 29, 2006, RC4006849–55

   [RC40006748].
339 See Int. of T. Melzer, Oct. 10, 2012, at 121:2–12.



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     The 2006 Amended Operating Agreement largely followed the 2005 Operating
Agreement. There are a few notable exceptions. In particular, the 2006 Amended Operating
Agreement enabled the declaration and payment of a dividend340 that would have not been
permitted under the 2005 Operating Agreement; eliminated section 2(e) of the 2005 Operating
Agreement, which established parameters for prepaying subordinated debt;341 and deleted
section 2(f)(vii), which required ResCap to employ individuals and have officers who were
not also employees or officers of any GMAC Affiliate.342

     The 2006 Amended Operating Agreement sections pertaining to the appointment and
rights and obligations of the Independent Directors are largely consistent with the 2005
Operating Agreement.343 Like the 2005 Operating Agreement, the 2006 Amended Operating
Agreement prohibited transactions with GMAC Affiliates unless such transactions were at
arm’s length and for fair value.
340 As a result of the conversion of ResCap and certain domestic subsidiaries, and their election to be treated as a

   “multi-member limited liability company” for tax purposes, ResCap’s equity increased. See Residential
   Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), at 2. ResCap desired to pay a dividend in the
   amount of such increase. On November 27, 2006, ResCap declared a dividend in an amount equal to the net
   increase of its equity. See id. ResCap, GM, and AFI entered into the 2006 Amended Operating Agreement to
   permit, inter alia, the declaration and payment of this dividend. See id.; see also Section V.D.3.b (discussing
   the tax considerations).
341 The full text of § 2(e) in the 2005 Operating Agreement states:


         Without limiting the applicable provisions in the relevant underlying loan documents, ResCap shall
         not make any Prepayment of any GMAC Subordinated Debt, except from (i) ResCap’s Cumulative
         Net Income at the time such Prepayment is made, less any Dividends previously paid after the date
         of this Agreement and any Prepayments of GMAC Subordinated Debt mad after the date of this
         Agreement (to the extent that such Prepayment was made from ResCap’s Cumulative Net Income),
         other than Excluded Prepayments, (ii) the net proceeds to ResCap from the issuance of Capital
         Stock or indebtedness to any Person (other than a GMAC Affiliate) that is subordinated in right of
         payment of principal, interest and premium, if any, to Rated Indebtedness, or (iii) 50% of the net
         proceeds to ResCap from the issuance or incurrence of indebtedness to any Person (other than a
         GMAC Affiliate) that ranks pari passu with Rated Indebtedness in right of payment of principal,
         interest and premium, if any. Notwithstanding the foregoing, ResCap may make Prepayments of
         GMAC Subordinated Debt of up to a cumulative amount of $500 million after the date of this
         Agreement (‘Excluded Prepayments’).
   2005 Operating Agreement, § 2(e) [ALLY_0140795].
342 Compare 2006 Amended Operating Agreement, §§ 2(e)(i)–(ix) (attached to Residential Capital, LLC, Current

   Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1), with 2005 Operating Agreement, §§ 2(f)(i)–(x)
   [ALLY_0140795]. Eliminating the prohibition on shared employees allowed Cerberus to pursue its
   investment strategy of imbedding Cerberus and COAC employees throughout the companies it controlled to
   implement operational improvements. See Consulting Agreement, Recital B [ALLY_0401248].
343 Compare 2006 Amended Operating Agreement, § 2(f) (attached to Residential Capital, LLC, Current Report

   (Form 8-K) (Nov. 30, 2006), Ex. 10.1), with 2005 Operating Agreement, § 2(g) [ALLY_0140795]. Indeed,
   Melzer did not believe the 2006 ResCap LLC Agreement affected his duties as an Independent Director. See
   Int. of T. Melzer, Oct. 10, 2012, at 114:9–12. According to him, the Independent Director provisions were left
   unchanged by the 2006 Amended Operating Agreement. See id. at 106:14–18. Note also that a typographical
   error in the 2006 Amended Operating Agreement fails to modify internal references within section 2(f) and
   instead refers to section 2(g), which relates back to the wording of the 2005 Operating Agreement.

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     In addition the 2006 Amended Operating Agreement released GM from all of its
obligations under the Agreement from and after November 30, 2006.344 GM remained liable,
however, for any obligations related to the pre-November 30, 2006 period.345

     10. Purchase Price Adjustment

     Pursuant to the Cerberus PSA, the Equity Purchase Price was subject to two
adjustments.346 The first adjustment was calculated based on the Initial Tangible Net Book
Value347 calculated at least two days prior to the closing date minus $14.4 billion, with GM
receiving any Initial Tangible Net Book Value in excess of $14.4 billion and paying AFI any
shortfall.348

      The second and final adjustment was based on a closing balance sheet prepared within
ninety days following the closing date.349 The amount of the adjustment was calculated based
on the difference between the Adjusted Final Tangible Net Book Value350 and the Initial
Tangible Net Book Value.351 GM Finance Co. Holdings, Inc. would have received the amount
by which the Adjusted Final Tangible Net Book Value exceeded the Initial Tangible Net Book
Value as a distribution.352 Because the Adjusted Final Closing Balance Sheet was less than the
Initial Tangible Net Book Value, GM Finance Co. Holdings, Inc. made a capital contribution
to AFI in the amount of the shortfall, without adjusting the capital accounts of AFI’s
344 2006 Amended Operating Agreement, § 9 (attached to Residential Capital, LLC, Current Report (Form 8-K)

   (Nov. 30, 2006), Ex. 10.1). In connection with the consummation of the transactions contemplated by the
   Cerberus PSA, ResCap and AFI released GM from its obligations under a Services Facilities Agreement and a
   Trademark License Agreement. See Residential Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), at
   2. The Services Facilities Agreement was amended and restated to release GM from its obligations and to
   provide for certain services to ResCap by AFI and vice-versa. See Amended and Restated Services Facilities
   Agreement, dated Nov. 30, 2006 [ALLY_0013267]. The Trademark License Agreement was terminated
   because the parties agreed to an alternative arrangement for the use of certain intellectual property. See
   Termination Agreement, dated Nov. 30, 2006 [CERB002157].
345 See2006 Amended Operating Agreement, § 9 (attached to Residential Capital, LLC, Current Report
   (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
346 Cerberus PSA, §§ 3.3, 3.4 [CERB000521].

347 “Initial Tangible Net Book Value” is defined in the Cerberus PSA as the amount resulting from subtracting

   the Tangible Adjustment Amount from an amount equal to total assets less total liabilities of the FinanceCo
   Companies on a consolidated basis as shown on the schedule to the Initial Closing Balance Sheet. Id. § 1.1.
348 Id. § 3.3.

349 Id. § 3.4(a).

350 “Adjusted Final Tangible Net Book Value” is defined in the Cerberus PSA as the amount resulting from

   subtracting the Tangible Adjustment Amount from an amount equal to the total assets less total liabilities of
   the FinanceCo Companies on a consolidated basis as shown on the schedule to the Adjusted Final Closing
   Balance Sheet. Id. § 1.1.
351 Id. § 3.4(e).

352 Id.



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members.353 As a result of the final purchase price adjustment, GM contributed approximately
$1 billion in equity to AFI during the first quarter of 2007.354

     11. Consulting Agreement

     AFI, Cerberus, and COAC entered into a Consulting Agreement, effective as of April 1,
2007 (the “Consulting Agreement”),355 pursuant to which Cerberus was granted the right to
place consultants at AFI.356 The Consulting Agreement does not include ResCap and other
AFI subsidiaries and affiliates unless they “opt-in” to the agreement by executing a copy of an
addendum to the agreement.357 The “Company’s Direct and Indirect Subsidiaries” provision
states that AFI’s direct and indirect subsidiaries are not parties to the Consulting Agreement,
but gives AFI subsidiaries the option to become parties to the Consulting Agreement by filling
out and executing the Opt-in Letter attached as Exhibit B to the Agreement.358 It does not
appear that ResCap or any other AFI affiliate executed an “opt-in” letter. Indeed, Melzer
stated that he never saw the Consulting Agreement.359 Nevertheless, Cerberus also placed
COAC consultants at ResCap.360

     A list of consultants serving under the Consulting Agreement is attached as an Exhibit to
the Agreement. Under the heading, “Cerberus Capital Management, L.P.” there are 29
consultants listed and under the heading “Cerberus Operations Advisory Company, L.L.C.”
there are 44, for a total of 73 consultants. According to the column headed, “Primary
functional area/business line,” there were at any one time 59 consultants at ResCap, 11
consultants at AFI, one consultant at Ally, and one consultant at “Auto.” According to the
column, “Type of Advisory Services Provided,” three of the consultants are “Legal.”

     Cerberus advisors at AFI consulted in areas including information technology, human
resources, risk management, financial planning and analysis, and finance and treasury.361
353 Id.; GMAC LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 17.

354 GMAC LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 17.

355 Although effective as of April 1, 2007, the Consulting Agreement was not signed by the parties until late

   October 2007. See Consulting Agreement, at 1, 8 [ALLY_0401248].
356 Id. § 1. In addition to having upper level executives from Cerberus sit on the boards of portfolio companies,

   Cerberus uses a subsidiary, COAC, to assist Cerberus in running its portfolio companies.
357 Id. § 19, Ex. B.

358 Id.

359 Int. of T. Melzer, Mar. 22, 2013, at 55:2–56:14.

360 SeeConsulting Agreement, Ex. A [ALLY_0401248]. As noted above, the 2005 Operating Agreement
   prohibited employees from filling dual roles at ResCap and any AFI affiliate, including Cerberus; however,
   the November 27, 2006 amendments eliminated this prohibition. Compare 2005 Operating Agreement,
   § 2(f)(vii) [ALLY_0140795], with 2006 Amended Operating Agreement, § 2(e) (attached to Residential
   Capital, LLC, Current Report (Form 8-K) (Nov. 30, 2006), Ex. 10.1).
361 Consulting Agreement, Ex. A [ALLY_0401248].



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Cerberus advisors at ResCap provided consulting services in areas including credit
management, financial planning and analysis, legal, restructuring and monetization, cash
management, work out, risk management, assessment management, finance, treasury, lending,
and human resources.362

      Upon consummation of the transactions contemplated by the Cerberus PSA, Cerberus
took an active role in the management of AFI and its subsidiaries, including ResCap.363
Indeed, Cerberus’s initial interest in acquiring a majority position in GM was predicated on
improving AFI’s operations.364 After acquiring control of AFI, Cerberus began implementing
its strategy of imbedding Cerberus and COAC employees throughout AFI and ResCap to
implement operational improvements.365 Soon after the acquisition, however, ResCap began
experiencing liquidity problems.366

    Following Cerberus’s acquisition of AFI, Eric A. Feldstein, William F. Muir, Sanjiv
Khattri, Barbara J. Stokel, and Mark F. Bole resigned from the AFI Board of Managers.367
G. Richard Wagoner, Jr., Frederick A. Henderson, Mark R. LaNeve, and Walter G. Borst
362 Id. The Consulting Agreement also recognized that Cerberus advisors might gain access to confidential AFI

   and ResCap information. Id. § 3. The Consulting Agreement permitted advisors to disclose confidential
   information to any member, partner, manager, director, officer, employee, financial or legal advisor of
   Cerberus or any of its affiliates to the extent a legitimate business need to know existed. Id. §§ 3.1(a), 3.4.
   Furthermore, the Consulting Agreement specified that:
          Notwithstanding the foregoing or any other provision of this Agreement, the parties understand and
          agree that nothing set forth in this Agreement shall operate or be construed to operate to restrict in
          any manner the rights of Cerberus and/or its affiliates under the Operating Agreement, including the
          ability of Cerberus to consider Confidential Information in connection with corporate governance,
          oversight and investment management activities.
   Id. § 3.2. Thus, the Consulting Agreement explicitly gave Cerberus the right to access information from all of
   its consultants at both AFI and ResCap in order to manage its investment in those Cerberus portfolio
   companies.
363 Int. of P. Bossidy, Dec. 14, 2012, at 53:2–4.

364 Int. of L. Tessler, Nov. 16, 2012, at 18:8–19.

365 See Consulting Agreement, Recitals, Ex. A [ALLY_0401248]. Through AFI’s ability to appoint ResCap
   Board members and officers and the Consulting Agreement with AFI, Cerberus placed employees in
   executive and director positions at ResCap. See Ex. A (listing fifty-nine Cerberus employees providing
   consulting services to ResCap); Minutes of a Regular Meeting of the Board of Directors of Residential
   Capital, LLC, Mar. 23, 2007, at RC40005567–68 [RC40005558] (appointing Cerberus employees as ResCap
   directors and Jim Jones as ResCap CEO).
366 See Section V.F (discussing asset sales due to liquidity crisis). In May, 2007, only about six months after

   acquiring a controlling stake in AFI in November 2006, Cerberus also acquired 80.1% of Chrysler Holdings
   from Daimler Benz for $7.8 billion (about ten years after Daimler paid $36 billion for Chrysler). The Chrysler
   acquisition also gave Cerberus control of Chrysler Financial. As Tessler noted, “We had a unique window into
   the capital markets at that time as a result of also owning Chrysler Automotive and Chrysler Financial. So, our
   window was not simply through a [AFI] lens.” Int. of L. Tessler, Feb. 28, 2013, at 38:20–24.
367 See GMAC LLC, Current Report (Form 8-K) (Nov. 30, 2006), at 5.



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remained as GM-appointed members of the AFI Board of Managers.368 FIM Holdings elected
Frank W. Bruno, Lenard B. Tessler, Mark A. Neporent, Seth P. Plattus, J. Ezra Merkin, and
Michael Klein to the AFI Board of Managers.369 In addition, (1) FIM Holdings elected T.K.
Duggan and Douglas A. Hirsch as independent managers, and (2) GM Holdco elected Robert
Scully of Mortgage Stanley as the third independent manager.370 Merkin was elected chairman
of the board of managers.371 AFI’s existing management team remained and Feldstein, Muir,
and Khattri continued serving as Chief Executive Officer, President, and Chief Financial
Officer, respectively.372

     12. Other Agreements

      In connection with the consummation of the Cerberus PSA, GM, and AFI entered into a
number of agreements that were purportedly consistent with their historical practices that were
intended to continue the global relationship between GM and AFI,373 including the United
States Consumer Financing Agreement, pursuant to which AFI preserved its exclusive
relationship with GM for vehicle financing and leasing incentives.374




368 See id. Pursuant to the GMAC LLC Agreement, GM Holdco elected these individuals to the AFI board of

   managers. See Written Consent of the Initial Class A and Initial Class B Holders to Action in Lieu of Meeting
   of GMAC LLC, dated Nov. 30, 2006 [CERB003011].
369 See Written Consent of the Initial Class A and Initial Class B Holders to Action in Lieu of Meeting of GMAC

   LLC, dated Nov. 30, 2006 [CERB003011].
370 See id.

371 See GMAC LLC, Current Report (Form 8-K) (Nov. 30, 2006), at 5.

372 SeeGMAC LLC, Press Release, GMAC Financial Services Begins New Era as an Independent Global
   Financial Services Company (Nov. 30, 2006) [EXAM10016428].
373 See General Motors Corp., Annual Report (Form 10-K) (Mar. 15, 2007), at 9.

374 See GMAC LLC, Current Report (Form 8-K) (Nov. 30, 2006), at .2.



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  The following diagram illustrates AFI ownership as of November 30, 2006:




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F. INDUSTRY DISLOCATION LED BY SUBPRIME DISTRESS (DECEMBER 2006
   THROUGH AUGUST 2007)
    1. The Subprime Mortgage Industry Faced Significant Challenges
    By year-end 2006, subprime mortgage originations had decreased by 4% from 2005 and
numerous factors signaled that the decline in subprime mortgage loans would continue in
2007.
            a. Housing Appreciation Showed The Largest Decline In Three Decades
     Signs of trouble in the housing market became more evident as 2006 progressed. Home
price appreciation began to slow almost to the point of stagnation.375 The second quarter of
2006 exhibited the slowest rate of appreciation since the fourth quarter of 1999.376 The S&P
Case-Shiller 20-City Composite Home Price Appreciation Index, after having risen nearly
every month for six years, remained flat through 2006, and even declined in several
markets.377
     During 2006, new housing starts fell significantly below prior-year levels and the supply
of homes on the market began to grow.




375 See   generally ROBERT J. SHILLER, UNDERSTANDING RECENT TRENDS IN HOUSE PRICES AND
    HOMEOWNERSHIP, YALE ECONOMICS DEPARTMENT WORKING PAPER NO. 28, COWLES FOUNDATION
    DISCUSSION PAPER NO. 1630, Oct. 18, 2007, http://ssrn.com/abstract=1017546.
376 Office of Federal Housing Enterprise Oversight (OFHEO), Press Release, House Price Appreciation Slows:

    OFHEO House Price Index Shows Largest Decline in Three Decades (Sept. 5, 2006), http://www.fhfa.gov/
    webfiles/1179/2q06hpi.pdf.
377 S&P/CASE-SHILLER HOME PRICE INDICES 2008, A YEAR IN REVIEW (Jan. 13, 2009), at 2–3,

    https://www.standardandpoors.com/indices/index-research/en/us/?type=All&category=Economic.

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            b. Interest Rates Rise

      Well before the subprime distress began, the FRB, fearing inflation, began raising
interest rates in June 2004. By mid-December 2004, the prime interest rate was at 5.25% and
it continued to climb, reaching 8.25% by June 2006.378 The combination of rising interest
rates, waning home appreciation rates, and increasing inventories of homes for sale made it
difficult for borrowers to continue refinancing and servicing their debts by using home
equity.379

            c. Mortgage Delinquencies

     A large number of ARMs that had originated in earlier years were reaching the point at
which their interest rates reset, often to a rate that was higher than the already increased
prevailing interest rates. The resulting increase in monthly mortgage payments meant many
borrowers were unable to make their new monthly payments. In 2006, delinquencies on
subprime mortgages began to grow, increasing from 10% to almost 15%.380




378 BANK PRIME LOAN RATE CHANGES: HISTORICAL DATES OF CHANGES AND RATES, (Dec. 17, 2008), http://

  research.stlouisfed.org/fred2/data/PRIME.txt.
379 David Muir, Americans in Debt: ‘Using Home Equity as an ATM Machine’, ABC NEWS, June 17, 2008, http:/

  /abcnews.go.com/Business/story?id=5187754&page=1—.UV24DL91-Gs.
380 U.S. CENSUS BUREAU, STATISTICAL ABSTRACT OF THE UNITED STATES (2012).



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     In the fourth quarter of 2006, the delinquency rate was 14.4% for subprime ARMs and
13.3% for all subprime mortgage loans, the highest in four years.381 In the first quarter of
2007, the delinquency rate for all subprime mortgage loans rose to 13.77%, compared to only
2.58% for prime mortgage loans.382 In the second quarter of 2007, the delinquency rate for
subprime mortgages jumped again, to 14.82%, compared to 2.73% for prime mortgage
loans.383 In the third quarter of 2007, the delinquency rate for subprime mortgages increased
yet again, to 16.31%, compared to 3.12% for prime mortgage loans.384 One in every five
subprime ARM loans had a late payment in third quarter 2007, and that did not include the
one in every ten subprime ARM loans in foreclosure.385

      Mortgage foreclosures also soared to record highs, with 0.54% of all outstanding
mortgages entering the foreclosure process in the fourth quarter of 2006.386 The percentage of
all outstanding mortgages entering the foreclosure process rose to new records of 0.58% in
first quarter 2007, 0.65% in second quarter 2007, and 0.78% in third quarter 2007.387 While
subprime ARMs represented only 6.8% of all mortgage loans outstanding in the third quarter
of 2007, they represented 43% of the foreclosures started during that quarter.388

               d. Early Payment Defaults And Repurchases

      Many of the subprime mortgage loan payment delinquencies and defaults occurred in the
first few months after their origination. The FRB Chair pointed to such EPDs as likely
evidence that lenders had loosened underwriting standards to continue increasing loan volume



381 Douglas Dyer & Sarah Woo, Analyzing the Subprime Market Fallout Using EDF Credit Measures, MOODY’S

   K.M.V. COMPANY (Apr. 16, 2007), at 7, https://riskcalc.moodysrms.com/us/research/docs/General/Analyzing
   Sub-Prime Fallout Using EDF Credit Measures Apr 2007.pdf.
382 Mortgage  Bankers Ass’n, Press Release, Delinquencies Decrease in Latest MBA National Delinquency
   Survey, (June 14, 2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/55132.htm.
383 Id.

384 Mortgage Bankers Ass’n, Press Release, Delinquencies and Foreclosures Increase in Latest MBA National

   Delinquency Survey (Dec. 6, 2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/58758.htm.
385 Id.

386 See Statement of Roger T. Cole, Dir., Div. of Banking Supervision and Regulation, Before the U.S. Senate

   Committee on Banking, Housing and Urban Affairs (Mar. 22, 2007), http://www.federalreserve.gov/
   newsevents/testimony/cole20070322a.htm.
387 Mortgage  Bankers Ass’n, Press Release, Delinquencies Decrease in Latest MBA National Delinquency
   Survey, (June 14, 2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/55132.htm; Mortgage
   Bankers Ass’n, Press Release, Delinquencies Increase in Latest MBA National Delinquency Survey (Sept. 6,
   2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/56555.htm; Mortgage Bankers Ass’n,
   Press Release, Delinquencies and Foreclosures Increase in Latest MBA National Delinquency Survey (Dec. 6,
   2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/58758.htm.
388 Mortgage Bankers Ass’n, Press Release, Delinquencies and Foreclosures Increase in Latest MBA National

   Delinquency Survey (Dec. 6, 2007), http://www.mortgagebankers.org/NewsandMedia/PressCenter/58758.htm.

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when mortgage loan originations began to slow.389 The rise in EPDs had adverse
consequences for subprime mortgage lenders, including ResCap. In connection with
secondary mortgage market sales—both whole loan sales and securitizations—lenders
typically commit to repurchasing loans upon an EPD. Thus, as EPDs rose, many lenders were
forced to repurchase loans.

     By the first quarter of 2007, the handwriting began to appear on the wall. Reuters,
documenting the toll EPDs and related repurchases would have on lenders, reported that
“[l]enders have been battered by rising defaults and demands from their own lenders to take
back soured loans at a loss.”390 In April 2007, The New York Times further documented the
problem:

                 Some of the problems afflicting mortgages sold to borrowers
                 with weak, or subprime, credit increasingly appear to be
                 cropping up in loans made to homeowners who were thought to
                 be less risky. The latest sign of possible further deterioration in
                 the credit market came yesterday as American Home Mortgage,
                 a lender based in Melville, N.Y., said that it would earn less and
                 pay out a smaller dividend because it was being asked to buy
                 back and write down the value of certain loans . . . . Reports that
                 Wall Street, which made millions of dollars securitizing
                 mortgages in recent years, is becoming more wary of Alt-A by
                 putting loans back to lenders or by bidding less for them could
                 be an indication that default rates will worsen before they
                 improve.391

     By the summer of 2007, “[s]everal mortgage lenders—particularly monoline subprime
lenders—experienced substantial losses, as they had to repurchase larger-than-expected
volumes of previously securitized loans because of so-called early payment defaults.”392

     Subprime mortgage lenders’ short-term lending arrangements with warehouse lenders
also took a hit because of EPDs when warehouse lenders began to exercise rights to compel
the subprime mortgage lenders to repurchase loans that did not satisfy contractual



389 Speech of Ben S. Bernanke, Chairman, at the Federal Reserve Bank of Chicago’s 43rd Annual Conference on

   Bank Structure and Competition, The Subprime Mortgage Market                         (May    17,    2007),
   http://www.federalreserve.gov/newsevents/speech/bernanke20070517a.htm.
390 Jonathan Stempel & Dan Wilchins, Accredited, New Century Lead Subprime Meltdown, REUTERS, Mar. 13,

   2007, http://www.reuters.com/article/2007/03/13/us-newcentury-inquiry-idUSN1342127420070313.
391 Vikas Bajaj, Defaults Rise in Next Level of Mortgages, N.Y. TIMES, Apr. 10, 2007, http://www.nytimes.com/

   2007/04/10/business/10lend.html.
392 FRB.,   MONETARY POLICY AND THE ECONOMIC OUTLOOK                         (July   18,   2007),     at   22,
   http://www.federalreserve.gov/monetarypolicy/mpr_20070718_part1.htm.

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representations. The repurchase demands by warehouse lenders exacerbated the strain on the
subprime mortgage lenders’ liquidity.393 As explained by the head of the specialty finance
team at S&P:

                  Warehouse lenders are the lifelines for a lot of these subprime
                  originators because they don’t have the financial capacity to
                  fund these loans by themselves . . . . To the extent that these
                  warehouse lenders go away, the whole process starts to
                  unravel.394

     In addition to exercising repurchase rights, “warehouse lenders [worried] about the
quality of subprime loans . . . originated in recent years . . . began asking subprime specialists
for bigger haircuts, putting the originators in financial peril and forcing some into
bankruptcy.”395

     At the same time, investors became more reluctant to purchase subprime MBS in light of
the increasingly poor performance of the underlying loans, driving total MBS issuance in 2006
down to $1.93 trillion, from a peak of $3 trillion in 2003.396 To the extent subprime lenders
were able to securitize loans, it was on conditions much less favorable to them.

               e. First Quarter 2007 Mortgage Company Bankruptcies

      As subprime mortgage delinquencies increased, credit markets as well as underwriting
criteria began to tighten. In the first quarter of 2007, the first wave of mortgage company
bankruptcies began. Ownit Mortgage Solutions,397 American Freedom Mortgage,398 and
Mortgage Lenders Network399 filed bankruptcy petitions on December 28, 2006, January 30,
2007, and February 5, 2007, respectively. By the end of first quarter of 2007, “[m]ore than two


393 Alistair Barr, Big Banks Control Fate of Subprime Lenders, WALL ST. J. MARKETWATCH, Feb. 16, 2007,

   http://articles.marketwatch.com/2007-02-16/news/30722912_1_subprime-loans-ownit-mortgage-solutions-
   warehouse-lenders.
394 Id. (quoting Emie Napier, head of the specialty finance team at Standard & Poor’s).

395 Id. (“It usually takes at least several weeks for subprime specialists to sell their loans. During that time, big

   banks provide a ‘warehouse’ in which to store them. In return for passing the loan onto these warehouse
   lenders, the originators get cash equal to the value of the asset, minus a fee, called a ‘haircut’, which provides
   a cushion against late payments and delinquencies.”).
396 Gretchen Morgenson, Crisis Looms in Market for Mortgages, N.Y. TIMES, Mar. 11, 2007,
   http://www.nytimes.com/2007/03/11/business/11mortgage.html?pagewanted=all&_r=0.
397 Bradley Keoun, Ownit Files for Bankruptcy as Merrill Seeks to Return Bad Loans, BLOOMBERG, Jan. 2, 2007,

   http://www.bloomberg.com/apps/news?pid=conewsstory&refer=conews&tkr=MER:US&sid=akwzqnZA.euU.
398 Joe Rauch, Ad Bill Forces Mortgage Lender Out of Business, ATLANTA BUS. CHRONICLE, Feb. 19, 2007,

   http://www.bizjournals.com/atlanta/stories/2007/02/19/newscolumn3.html?page=all.
399 Mortgage Lenders Network Files for Chapter 11, REUTERS, Feb. 5, 2007, http://www.reuters.com/article/

   2007/02/05/mortgagelendersnetwork-bankruptcy-idUSN0546894120070205.

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dozen subprime lenders ha[d] quit the industry” in a year’s time.400 In March 2007, New
Century Mortgage announced it would be unable to timely file its 10-K,401 and ultimately filed
a bankruptcy petition on April 2, 2007.402

                f. Capital Market Response

     On June 7, 2007, Bear Stearns halted redemptions for two of its CDO hedge funds. On
June 22, 2007, it was widely reported that Bear Stearns pledged up to $3.2 billion to bail out
one of the two troubled hedge funds because of subprime mortgages.403 Reporting analysts
noted:

                   Bear may have prevented a wider meltdown—and kept many of
                   the subprime bonds from plunging in value in a fire sale. Its
                   injection of money also will help bring order to the market and
                   pay back loans made by other big Wall Street banks to the Bear-
                   managed hedge fund . . . . The firm, whose move helps preserve
                   its reputation, eventually might even make some money from
                   the struggling investments.404

     Less than a month later—July 18, 2007—Bear Stearns announced its two hedge funds
were essentially worthless, having lost over 90% of their value, a loss equal to over
$1.4 billion.405 On August 1, 2007, the hedge funds filed for bankruptcy protection and
investors in the funds filed suit against Bear Stearns alleging that the investment bank misled
them about the extent of the funds’ exposure.406 It was noted at that time:

                   After Bear Stearns was forced to write off the value of two large
                   hedge funds that had invested heavily in securities backed by
                   subprime debt, it could take just one more “Bear-like event” for




400 Jonathan Stempel & Dan Wilchins, Accredited, New Century Lead Subprime Meltdown, REUTERS, Mar. 13,

   2007, http://www.reuters.com/article/2007/03/13/us-newcentury-inquiry-idUSN1342127420070313.
401 Compl., SEC v. Morrice, Case No. 8:09-CV-01426-DDP-FMP, Docket No. 1, at 3.

402 Id. at 4.

403 Kate Kelly and Serena NG, Bear Stearns Bails Out Fund With Big Loan: Injection of $3.2 Billion Caps Days

   of Drama; Subprime Sector Fears, WALL ST. J., June 23, 2007, http://online.wsj.com/article/
   SB118252387194844899-search.html.
404 Id.

405 THE JOINT ECONOMIC COMMITTEE: SUBPRIME MORTGAGE MARKET CRISIS TIMELINE (July 2008), at 21,

   http://www.jec.senate.gov/public/?a=Files.Serve&File_id=4cdd7384-dbf6-40e6-adbc-789f69131903.
406 Id.



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                 the financial system to freeze up. “If there’s another major
                 hedge fund that does stumble, that could elicit a crisis of
                 confidence and a global shock.”407

    On August 9, 2007, the “one more Bear Stearns-like event” happened: BNP Paribas
suspended three subprime investment funds because of liquidity concerns.408 Meanwhile, Alan
Greenspan, in an editorial entitled The Roots of the Mortgage Crisis, noted:

                 On Aug. 9, 2007, and the days immediately following, financial
                 markets in much of the world seized up. Virtually overnight the
                 seemingly insatiable desire for financial risk came to an abrupt
                 halt as the price of risk unexpectedly surged. Interest rates on a
                 wide range of asset classes, especially interbank lending, asset-
                 backed commercial paper and junk bonds, rose sharply relative
                 to riskless U.S. Treasury securities. Over the past five years, risk
                 had become increasingly underpriced as market euphoria,
                 fostered by an unprecedented global growth rate, gained
                 cumulative traction. The crisis was thus an accident waiting to
                 happen.409

     In an effort to soothe credit markets, “[c]entral banks around the world injected more
cash into the international banking system as problems that began with U.S. subprime
mortgages rattle[d] the world economy.410 This marked “the first time U.S., European, and
Japanese central banks had taken such action together since the aftermath of the September 11
terrorist attacks,” and resulted in banks calling in “notes from hedge funds and denying private
equity funds new loans for questionable investments.”411 It was described as a “modern-day
run on the bank.”412


407 Rex Nutting, Subprime Could Create Global Crisis, Economist Says, WALL ST. J. MARKETWATCH, July 26,

   2007,     http://articles.marketwatch.com/2007-07-26/news/30730663_1_financial-crisis-mark-zandi-housing-
   crisis (quoting economist Mark Zandi, who stated that “global financial shock” was just one “Bear-like” event
   away); see also Rex Nutting, Financial crisis just one ‘Bear-like’ event away, WALL ST. J. MARKETWATCH,
   July 26, 2007, http://articles.marketwatch.com/2007-07-26/news/30971052_1_financial-crisis-bear-stearns-
   funds-mark-zandi.
408 CSI: Credit Crunch, ECONOMIST, Oct. 18, 2007, http://www.economist.com/node/9972489; see also Matt
   Moore (Associated Press), ECB, Fed Inject More Cash to Ease Fears, WASH. POST, Aug. 10, 2007, http://
   www.washingtonpost.com/wp-dyn/content/article/2007/08/10/AR2007081000500_pf.html.
409 Alan Greenspan, The Roots of the Mortgage Crisis, WALL ST. J., Dec. 12, 2007.

410 Matt Moore (Associated Press), ECB, Fed Inject More Cash to Ease Fears, WASH. POST, Aug. 10, 2007,

   http://www.washingtonpost.com/wp-dyn/content/article/2007/08/10/AR2007081000500_pf.html.
411 Id. (noting that “WestLB Mellon Asset Management . . . suspended redemptions from its asset-backed securities

   ABS Fund” and “French bank BNP Paribas SA announced the suspension of three asset-backed securities
   funds”).
412 Id.



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    The moves by the Central Bankers only slowed the downward spiral. On August 14,
2007, Sentinel Management Group suspended redemptions.413 About this same time AIG
warned that mortgage defaults were spreading beyond the subprime sector, with delinquencies
becoming more common in the mortgage category just above subprime.414 A new wave of
mortgage company bankruptcies occurred thereafter.415

              g. Mortgage Company Bankruptcies Increased Throughout 2007

      By mid-2007, fifteen of the top twenty-five subprime lenders in 2006 had shut down,
been acquired, or were seeking buyers.416 On August 16, 2007, Countrywide needed an $11.5
billion rescue-financing package to survive.417 On August 31, 2007, Ameriquest ceased
operations.418




413 Jenny Strasburg and Matthew Leising, Sentinel Management Group Halts Client Redemptions (Update5),

  BLOOMBERG, Aug. 14, 2007, http://www.bloomberg.com/apps/news?pid=newsarchive&sid=a_af.hVzN_Ys.
414 THE JOINT ECONOMIC COMMITTEE: SUBPRIME MORTGAGE MARKET CRISIS TIMELINE (July 2008), at 21,

  http://www.jec.senate.gov/public/?a=Files.Serve&File_id=4cdd7384-dbf6-40e6-adbc-789f69131903.
415 Id. (By way of example, American Home Mortgage filed for bankruptcy on August 6, 2007; Aegis Mortgage

  filed for bankruptcy on August 13, 2007; and Countrywide Financial, the nations’s then-largest mortgage
  lender, drew down $11.5 billion from its credit lines on August 16, 2007.).
416 The Subprime Lending Industry: A Look At The Restructuring of a Market in Turmoil, prepared for ABA

  Annual Meeting, Business Law Section, Aug. 11, 2007, at 6, http://www.abanet.org/buslaw/newsletter/
  0063/materials/ ppla.pdf.
417 FEDERALRESERVE BANK OF ST. LOUIS, THE FINANCIAL CRISIS: A TIMELINE OF EVENTS AND POLICY
  ACTIONS (Apr. 13, 2011), http://timeline.stlouisfed.org/pdf/CrisisTimeline.pdf.
418 Mathew   Padilla, Ameriquest to Shut Down, ORANGE COUNTY                  REG.,   Aug.    31,   2007,
  http://mortgage.ocregister.com/2007/08/31/ameriquest-to-shut-down/.

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     Four of the top five largest bankruptcy filings in the United States in 2007, measured by
the amount of the debtors’ prepetition assets, were made by subprime mortgage lenders, and
the fifth was a prime mortgage lender. The aggregate total of prepetition assets reported by
these mortgage lender-debtors was in excess of $63 billion, as shown in the following table:419




     2. ResCap’s Returns Began To Reflect The Troubled Market

      Analysts were bullish on ResCap debt in early 2006, calling “ResCap one of the more
attractive opportunities in the investment grade market,”420 and noting:

                  We remain buyers of Residential Capital paper. As the GM story
                  becomes less ominous, the likelihood of the sale of a controlling
                  stake in [AFI] to Cerberus in a credit-improving transaction
                  increases.421

     As the year progressed and the subprime mortgage market began to deteriorate, analysts
continued to comment favorably regarding ResCap, forecasting that ResCap would weather
any downturn in the long term:

                  ResCap also cited competitive pricing pressure leading to lower
                  margins; we expect the industry to produce subpar results into
                  2007; we continue to like ResCap paper particularly for
                  investors with longer term investment horizon.422
419 BankruptcyData.com, Press Release, Number of Public Bankruptcies Slightly up in 2007, Fifth Lowest Ever,

   According to BankrupcyData.com (Jan. 16, 2007), http://www.businesswire.com/portal!site/home/
   index.jsp?epi_menultem1D=887566059a3aedb6efaaa9e27a808a0c&ndm_Viewld=news_view&ndmConfigid=I
   0089I8&newsld =20080II6006I69&newsLang=en.
420 Van Hesser and Daphne Feng, HSBC Global Research, Inc., Credit Research US Financials: Residential

   Capital Corp., dated Apr. 20, 2006, at 1.
421 Id. at 5.

422 Id. at 1.



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     With the pending Cerberus acquisition and credit rating delinkage from GM, analysts
noted at the time that “[r]atings are set to move higher, which will likely produce a stronger
technical bid for ResCap over the near term,”423 and that “[t]he rally in the Treasury market
has given a boost to the refinance market in particular, which should increase the probability
of an industry soft landing.”424

                a. Pre-Closing Indicators Showed That ResCap Was Vulnerable To The
                   Deteriorating Conditions For Subprime Lenders

     Before the Cerberus PSA transactions closed in November 2006, Cerberus received
information indicating that ResCap was beginning to evidence vulnerability to the
deteriorating conditions for sub-prime lenders. In a mid-September 2006 e-mail to Cerberus,
ResCap CEO David Applegate advised that “RFG’s August [2006] results were poor and
deviated significantly from forecast.”425 The “ResCap 2006 Earnings Update” stated that
“RFG missed its forecast for August by $42mm on a[n] after-tax basis ($70mm pre-tax).”426
The document explained the reasons for the $70 million unfavorable pre-tax variance:

                  Net Interest Income

                  The unfavorable variance is primarily due to spread
                  compression. The yield on loans held for sale and loans held for
                  investment was 24 bps lower than forecast, due to lower base
                  mortgage rates, and the average cost of funds was
                  approximating 23 bps higher than forecast.

                  Provision For Credit Losses

                  The negative variance related to RFG’s provision for loan losses
                  was largely attributable to an increase in observed delinquencies
                  when compared to forecast;

                  Early look at September delinquencies show levels slightly
                  below August, September provisions are expected to be in line
                  with the prior forecast;

                  Charge-offs (severity) are exceeding forecasted levels; may be
                  reflective of slower home price appreciation; and



423 Id.

424 Id. at 2.

425 E-mail from D. Applegate (Sept. 12, 2006) [CCM00065049].

426 ResCap 2006 Earnings Update, at 2 [CCM00065050] (attached to E-mail from J. Jones (Sept. 13, 2006)

   [CCM00065049]).

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                   Our provision forecast anticipated normal property appreciation
                   levels and is now being stress tested for more challenging
                   scenarios; newer originations are more susceptible to severity
                   risk.

                   ...

                   Gain On Sale Of Loans

                   The negative variance in gain on sale primarily reflects timing
                   differences as hedge losses for certain loans accounted for at the
                   lower of cost or market were recorded in August while the gain
                   on sale will not be recorded until the loans are sold.427

    Two weeks later, ResCap’s September 2006 pre-close operating results again reflected an
unfavorable variance to the forecast. A September 29, 2006 internal ResCap e-mail reported:

                   Estimated net income for September 2006 is 56.7 million, which
                   is 22.1 million unfavorable to the [ResCap] September forecast
                   of $78.8 million and $21.4 million unfavorable to the [AFI]
                   September forecast of $78.1 million.428

          RCG contributed $12.2 million to the unfavorable variance due to:

                   $8.3 million unfavorable net interest income primarily due to
                   unfavorable shared execution revaluation and speed and loss
                   model updates ($4.9 million) and lower average HFI asset
                   balances of $882 million ($3.1 million) . . . ;

                   10.2 million unfavorable provision for loan losses due to higher
                   delinquencies than forecasted.429

    AFI’s October 25, 2006 Form 8-K described AFI’s Preliminary Third Quarter 2006
Earnings Summary, including ResCap’s contribution to its performance, as:

                   ResCap’s net income was $76 million in the third quarter of
                   2006, down from $280 million earned in the third quarter of
                   2005. The decrease in earnings was the result of a number of
                   factors in ResCap’s U.S. residential mortgage business. In
                   particular, competitive pricing pressures negatively impacted
                   margins, which led to lower gains despite year-over-year
                   increases in production. Results were also affected by higher
                   credit provisions resulting from increases in delinquencies,
427 Id. at 23.

428 E-mail from L. Hankom (Sept. 29, 2006) [EXAM10194958].

429 Id.



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                  lower net interest margins as a result of a flatter yield curve, and
                  a decrease in net servicing income due to the effect of lower
                  long-term rates on expected prepayments of mortgages.
                  Mortgage originations were $51.5 billion for the third quarter of
                  2006, representing a slight increase from $51.3 billion in the
                  same period in the prior year.430

     Lenard Tessler, Cerberus’s lead negotiator in the acquisition of a 51% interest in AFI,
acknowledged that Cerberus recognized before the closing that “there was a deterioration in
the quality of new originations in the mortgage business that was manifesting itself in early
payment defaults.”431 Cerberus also appeared to have earlier indicators of the profitability and
liquidity issues at ResCap. Cerberus’s due diligence on ResCap from January and February
2006 included a downward adjustment to ResCap’s September 2005 book value, noting that
ResCap had a weak fourth quarter in 2005 and was losing money on its retail operations, and
observed that the industry as a whole was experiencing a downturn.432 Additionally,
communications between Cerberus and AFI personnel indicate that Cerberus was concerned
about ResCap’s performance prior to completing the acquisition.433

     Tessler, however, stated that those concerns did not cause Cerberus to reconsider its
purchase of AFI because Cerberus “believed in the unique value” of AFI, ResCap, and the
insurance company and thought Cerberus could “provide the appropriate guidance to the
investment to be successful post-closing.”434 Cerberus believed that there were opportunity
areas, which would help guarantee success even if ResCap’s projected growth in its core U.S.
mortgage business proved difficult to maintain.435 Cerberus’s due diligence focused on three
key areas:

          •   Integration of RCG and RFC: Integration of these two mortgage origination units
              was viewed as having the potential to generate upwards of $100 million in savings
              annually;436



430 GMAC LLC, Current Report (Form 8-K) (Oct. 25, 2006), Item 2.02.

431 Int. of L. Tessler, Nov. 16, 2012, 71:15–17.

432 Memorandum, ResCap Update, dated Feb. 28, 2006, at 2–3 [CCM00524428]; Cerberus Capital Management

   GMAC ResCap Investment Committee Presentation Draft, dated Jan. 2006, at 22 [CCM00524735].
433 E-mail  from E. Feldstein (Nov. 19, 2006), at EXAM10166717 [EXAM10166716]. (“I had a frank
   conversation with Lenard regarding Friday’s Cerberus/ResCap call and the upcoming meetings this week. . . .
   I advised Lenard whether they are underwhelmed with our operating results and earnings power or whether
   they are extremely impressed by our earnings power in this tough market. It doesn’t matter right now, because
   there is nothing much they can do about it between now and 11/30.”).
434 Int. of L. Tessler, Nov. 16, 2012, at 72:21–25.

435 Draft Memorandum, Cerberus Capital Management L.P. Acquisition Evaluation, at 12 [CCM00496103].

436 Id.



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          •     Improvement of ResCap’s Credit Rating: An upgrade of ResCap’s corporate credit
                rating [would] allow it to access lower cost capital and according to ResCap
                management could generate an additional $100 million in pre-tax savings . . .;437 and
          •     Growth opportunities related to BCG and IBG.438
                  b. Post-Closing Revelations Of Distressed Warehouse Lending Clients
     Cerberus viewed the market downturn as temporary.439 Cerberus believed ResCap had a
powerful platform that, combined with Cerberus’s ability to operate more efficiently than GM,
positioned ResCap for profitability once the market recovered.440 Hence, despite the warning
signals exhibited in the third quarter earnings report, Cerberus forged ahead with the
transaction, and on November 30, 2006, the transactions contemplated by the Cerberus PSA
closed, FIM Holdings acquired 51% of the common limited liability interests in AFI in
exchange for $7.353 billion, and certain preferred membership interests in AFI in exchange
for $500 million.441
     The ResCap Board held its first regular meeting after the Cerberus transaction on
December 12, 2006.442 Various members of the Cerberus Investment Team, including Jones,
Kravit, and Yaghoobzadeh, attended. During the meeting, Applegate, COO of ResCap,
presented the RFG market update, during which he “discussed the competitive challenges and
overall U.S. residential real estate market conditions.”443 The ResCap Board discussed the
status of the MLN/EMX warehouse lending accounts.444 According to Jones, Applegate
reported there being a $50–$100 million loss with regard to the MLN/EMAX account.
437 Id.

438 Id.

439 Memorandum, ResCap Update, dated Feb. 28, 2006, at 2–3 [CCM00524428]; Int. of M. Neporent, Feb. 6,

   2013, at 18:5–19.
440 Int. of M. Neporent, Feb. 6, 2013 at 17:17–23; 18:7–19:3.

441 General Motors Corp. Current Report (Form 8-K) (Nov. 30, 2006), Item 2.01.

              On November 30, 2006, GM, GMAC, GM Finance Co. Holdings LLC, a Delaware limited liability
              company and a wholly owned subsidiary of GM (“Holdco”), and FIM Holdings LLC, a Delaware
              limited liability company (“Purchaser”), successfully completed a series of transactions pursuant to
              which GM has sold to Purchaser common limited liability company interests of GMAC
              representing 51% of the aggregate common limited liability company interests of GMAC for a
              purchase price of approximately $7.353 billion (the “Transactions”) subject to the terms and
              conditions set forth in the Purchase and Sale Agreement Residential Capital 10K for year ended
              12/31/06.
   Id.; see also Cerberus PSA, §§ 2.1, 2.2 [CERB000521]. “In addition, certain officers and directors of ResCap
   and its subsidiaries also became officers and/or directors of the new GMAC Bank.” Residential Capital, LLC
   Current Report (Form 8-K) (Nov. 27, 2006), at 2.
442 Minutes of a Regular Meeting of the Board of Directors of Residential           Capital, LLC, Dec. 12, 2006, at
   RC4000685664 [RC40006748].
443 Id. at RC40006857.

444 Id.



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Applegate reported that, during October, these related companies were added to the Credit
Watch List due to concerns over liquidity and underwriting standards. Combined
commitments and outstandings for MLN and EMAX were reported as $1.6 billion and $1.5
billion, respectively. MLN/EMAX was ResCap’s largest warehouse lending client, largest
volume client for all products, and the largest servicing exposure/counterparty exposure within
ResCap’s portfolio.445




445 E-mail from B. Cleary (Oct. 20, 2006) [EXAM11331654].



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     Jones recalled that this disclosure created a fair amount of commotion because it came as
a “surprise.”446 Jones also recalled that Applegate described the problem as specific to MLN,
as opposed to a market-wide category problem. Jones believes that, as of the date of the Board
meeting, Applegate still felt that ResCap’s warehouse lending sector “was largely secure in
terms of the assets at that point in time—and while there may be some amount of loss,
[Applegate did not believe] that it was a particularly large exposure.”447 Nevertheless,
446 Jones described the revelation of the problems with MLN/EMAX as a “surprise” during his interview Int. of

   J. Jones, Nov. 30, 2012, at 20:7–20. While the exposure ResCap faced due to the distressed state of MLN/
   EMAX may have been a surprise to Cerberus, it is not as clear that ResCap was surprised. On November 17,
   2006, less than two weeks before the Cerberus transaction closed, Stenger forwarded an e-mail authored by
   Klun to ResCap’s CEO, Giertz, because Stenger thought Giertz would want to be “up to speed on ResCap’s
   largest commercial exposure.” E-mail from T. Stenger (Nov. 17, 2006) [EXAM11605863] (forwarding e-mail
   from Kuhn). The original e-mail authored by Kuhn stated in part:
         Background: MLN/EMAX combined are ResCap’s largest customer. Basically, MLN originates
         prime and subprime loans domestically. Most or all subprime volume is purchased by EMAX, a US
         Virgin Island domiciled company. This arrangement provides tax benefits that in theory allows
         EMAX to operate more aggressively. We had been buying 100% of EMAX production, which we
         have securitized in pools labeled EMAX 1, 2 etc. Historically, there have been no collateral quality
         issues with the pools and MLN/EMAX operations have not been a concern despite high growth.
         The companies have been profitable.
         Current situation: RFG purchases EMAX loans out of the warehouse for securitization stripped of 3
         cash flow components-residual, servicing, and prepayment penalty, each of which are kept on the
         EMAX balance sheet. We finance these components via an advancing term loan. The residual piece
         is subject to a 75% advance rate on new advances and up to 85% on existing advances. At present,
         the blended effective advance is 83%. Structure/advances around the servicing component appear to
         be less formal, with periodic advances made at 75% of value. “Value” may be determined by RVA
         or we may use an outside resource. The client of course has their own valuation ideas and
         techniques which usually yield a bigger number. We do not presently advance against prepayment
         penalty, instead viewing it as a cushion. RVA recently changed their model components to reflect
         lower home value appreciation. Simply put, this causes the EMAX collateral we hold (the
         capitalized value of residuals, servicing, etc) to decline. As the arrangement currently stands, we are
         looking at a collateral shortfall upward of $15 million in December. RVA has apparently gone
         through their proper governance in approving the new model assumptions.
         Another factor to consider in general and with respect to the margin issue has been a recent general
         deterioration of underwriting standards (lower FICO, higher LTV), admitted to by the client to fuel
         their substantial growth. Recent securitization pools (EMAX 7, 8, 9, 10) have been affected. The
         client has agreed to revert to more conservative standards going forward.
         Nonetheless, rapid growth has stressed cash and capital. This, and to a lesser degree the
         underwriting issue, has caused MLN/EMAX to end up on the watch list. It is generally agreed that
         more capital is needed to sustain future growth.
         Ultimately, warehouse lending and ResCap will have to decide if we want our exposure to increase
         beyond $1.6 billion, but that is another matter. There are some warehouse personnel who feel that
         we may be under financing a rapidly growing customer by not advancing against prepayment
         penalties. It is projected that the potential December shortfall goes away if we factor in an advance
         against prepayment penalty capitalized cash flows. Problem is, this may not address the issue
         beyond December if collateral continues to deteriorate.
   E-mail from E. Klun (Nov. 17, 2006) [EXAM11605863].
447 Int. of J. Jones, Nov. 30, 2012, at 20:15–20.



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Applegate’s disclosure of warehouse lending problems at the meeting led Cerberus to form a
“SWAT team” to assess and address problems as ResCap.448

             c. Cerberus PSA Post-Closing Adjustment Was Principally Attributable To Poor
                ResCap Performance

      Applegate’s disclosure resulted in immediate action by Cerberus to undertake a
comprehensive analysis of non-prime collateral supporting warehouse advances.449
Additionally, Cerberus analyzed ResCap’s (1) MLHFI; (2) MLHFS; (3) MSRs; (4) residuals;
(5) lending receivables; and (6) reserves for liabilities related to representation and warranties
and early payment defaults, in part for the purpose of determining whether the Cerberus PSA
closing balance sheet should be adjusted.450

      In early January 2007, GM announced that it would not report its results as scheduled, in
part, because of the need to finalize AFI’s numbers, the report of which had been delayed
while GM and Cerberus reviewed the $14.4 billion tangible net book value ascribed to AFI at
November 30, 2006, the date on which GM sold 51% of AFI to Cerberus. In March 2007, GM
made a “capital contribution to AFI of approximately $1 billion to restore its adjusted tangible
equity balance to the contractually required amount of $14.4 billion, due to the decrease in the
adjusted tangible equity balance of GMAC as of November 30, 2006.”451 Nearly all of the $1
billion adjustment was ResCap-related with close to 90% of the ResCap portion of the
adjustment being attributable to RCG.

             d. ResCap Reported A Loss For The Fourth Quarter Of 2006

     ResCap reported an operating loss of $651 million for fourth quarter 2006, compared to
net income of $118 million in the fourth quarter of 2005. According to ResCap, the loss
reflected increased reserves related to both higher delinquencies and greater loss severity in
the nonprime HFI portfolio, difficult market conditions for mortgages, and HFS and credit
losses related to lending relationships with certain third-party nonprime market participants. In
addition, rising short-term interest rates and market volatility suppressed the value of
mortgage servicing assets, and the slowdown in new home construction negatively affected
financial performance.452



448 Int. of R. Kravit, Mar. 4, 2013, at 13:5–15; 14:13–15; 15:21–16:5.

449 See Minutes of a Regular Meeting of the Board of GMAC LLC, Mar. 15, 2007, at ALLY_PEO_000088992

   [ALLY_PEO_0000860].
450 See generally ResCap Discussion Document, dated Jan. 30, 2007 [CCM00355071]; GMAC ResCap Audit

   Committee Materials Recent Events, dated Mar. 6, 2007 [EXAM12341494].
451 General Motors Corp., Annual Report (Form 10-K) (Mar. 15, 2007), at 120.


452 Residential Capital, LLC, Current Report (Form 8-K) (Mar. 13, 2007), Ex. 99.1; see also Residential Capital,

   LLC, Annual Report (Form 10-K) (Mar. 13, 2007), at 34–36.

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      ResCap reported 2006 net income of $705 million, compared to net income of $1 billion
in 2005. Net income in 2006 was significantly affected by a one-time tax benefit of $523
million in the fourth quarter from the conversion of ResCap to a limited liability company in
connection with the Cerberus PSA. ResCap’s 2006 operating earnings, excluding the LLC
conversion benefit, were $182 million, compared to $1 billion of operating earnings in 2005.
The challenging market environment—including pressure on home prices and weakening
consumer credit—severely depressed the value of ResCap’s large nonprime asset portfolio,
resulting in significant operating losses at its operating segment. These losses more than offset
the record earnings achieved at ResCap’s IBG and BCG, including a one time $259 million
after-tax gain on the second quarter sale of an equity investment in a regional homebuilder.

     Eric Feldstein, CEO of AFI, ascribed the disappointing 2006 results to “[t]he sharp
downturn in the U.S. mortgage market in the fourth quarter,” noting that the industry as a
whole was left to deal with enormous challenges including a decrease in origination volume,
narrowing margins, rising delinquencies, and increased pressure on home prices. Feldstein
noted that a profitable year was achieved amidst the turmoil in the U.S. mortgage markets
because of ResCap’s geographic and product diversity: “At ResCap, net losses were incurred
in its core U.S. mortgage business in the wake of this difficult industry environment.
Nonetheless, ResCap’s geographic and product diversity helped the company maintain a
profitable bottom line overall for the year.”453

                 (1) Losses Reported For 1st Quarter 2007

     Deterioration in the nonprime mortgage market resulted in ResCap incurring a net loss
for first quarter 2007, despite increased prime originations and strong international
performance. A January 28, 2007 e-mail from Sanjiv Khattri to Bruce Paradis, ResCap
Director and CEO, and David Applegate, ResCap Director and COO, reflected a belief that
ResCap’s poor results resulted from more than poor industry fundamentals. Khattri noted that
management “really let our shareholders down in a very big way.”454 Khattri faulted Paradis
and Applegate for not being “much more involved” and recounted that he had heard that
“there were traders in RCG who were buying paper based on model pricing even though they
knew [the] model couldn’t be right.”455 Khattri opined that the finance group let Applegate
and Paradis down by not providing the “the succin[c]t analysis for [the] forecasting
knowledge/tools to help the business.”456




453 Residential Capital, LLC, Current Report (Form 8-K) (Mar. 13, 2007), Ex. 99.1.

454 E-mail from S. Khattri (Jan. 28, 2007) [EXAM10163216].

455 Id.

456 Id.



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                  (2) Business Plan Modifications Following The Disappointing Year-End 2006
                      And First Quarter 2007 Results Focused On Establishing Cerberus-
                      Designated Management Ranks
     In his interview, Tessler stated that Cerberus had targeted Applegate and Paradis as
necessary casualties of the Cerberus purchase even before the transaction closed. According to
Tessler, Cerberus lacked confidence in the ability of Paradis and Applegate to execute the
necessary underwriting discipline and believed that Paradis and Applegate “were not as in
touch with the market in their business as they should [have been] given the changing
environment.”457 Mark Neporent, COO and General Counsel of Cerberus and a member of
AFI’s Board from 2006 to March 2009, echoed Tessler’s sentiments, indicating that even
before consummation of the Ceberus PSA, Cerberus identified Applegate and Paradis as “not
the strongest possible people in these markets.”458 Subsequently, the decision to force the
resignations of Applegate and Paradis was made by the AFI Board in early 2007.459
Cerberus’s view was that “a change in leadership at ResCap” was necessary.460 Shortly before
2006 earnings were released, David Applegate resigned as a director and as COO of
ResCap.461
     Applegate’s departure was an early example of Cerberus taking an active role in the
management of AFI and its subsidiaries, including ResCap.462 After acquiring control of AFI,
Cerberus began imbedding Cerberus and COAC employees throughout AFI and ResCap to
implement operational improvements.463 On March 23, 2007, Jim Jones was elected a member
of the ResCap Board and COO. Additionally, the composition of the ResCap Board was
increased by two additional members, and Paul T. Bossidy and Ronald J. Kravit were
appointed to the newly created memberships.464 Bossidy, Kravit, and Jones were all affiliated
with Cerberus. Kravit and Jones had been members of the Cerberus investment team
responsible for putting together and conducting the due diligence related to the Cerberus
transaction. Prior to Bossidy joining the ResCap Board, a position was proposed for Bossidy
at an AFI Board meeting that would have allowed Bossidy “the opportunity to go anyplace
that [he] wanted to go and operate on Steve[] [Feinberg’s] behalf.”465 According to Bossidy,
457 Int. of L. Tessler, Nov. 16, 2012, at 87:23–88:1.

458 Int. of M. Neporent, Feb. 6, 2013, at 55:11–56:20.

459 Id.

460 Int. of L. Tessler, Nov. 16, 2012, 89:13–19.

461 Walden, Siew, Bond investors bet on bankruptcy for ResCap, REUTERS, Nov. 20, 2007 (noting that “ResCap’s

   chief executive Bruce Paradis and co-chief executive David Applegate left the company this year, as did its
   chief financial officer in the wake of the global credit crunch this summer),
   http://www.reuters.com/article/2007/11/20/us-rescap-bonds-idUSN1962256020071120.
462 Int. of P. Bossidy, Dec. 14, 2012, at 53:2–4.

463 See Consulting Agreement, effective as of April 1, 2007, by and among Cerberus, COAC, and AFI, Recitals,

   Ex. A [ALLY_0401248]. Cerberus’s initial interest in acquiring a majority interest in AFI was predicated on
   improving AFI’s operations. Int. of L. Tessler, Nov. 16, 2012, at 18:8–19.
464 See Minutes of a Regular Meeting of the Board of Residential Capital, LLC, Mar. 23, 2007, at RC40005567

   [RC40005558].
465 Int. of P. Bossidy, Dec. 14, 2012, at 66:21–67:10. Steven Feinberg is the founder and head of Cerberus.



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his formal involvement in ResCap was a result of Feinberg’s perception that ResCap was a
risk to Cerberus’s investment in AFI.466 Bossidy stated that when he joined the ResCap Board,
he “began to focus intensely on behalf of Steve [Feinberg] on trying to diagnose some of the
issues that [were] affecting ResCap.”467

     It also was not uncommon for a Cerberus employee to hold positions at or advise on
multiple AFI entities simultaneously.468 Cerberus employees moved between AFI, ResCap,
and other AFI or ResCap subsidiaries as a need arose.469 As a result, it was not always clear to
employees as for whom they were working, Cerberus, AFI, or ResCap.470 And employees,
themselves, occasionally felt conflicted.471 Some ResCap employees working at ResCap
reported to Cerberus or AFI management in addition to, or instead of, reporting to ResCap
management.472 For example, as Vice Chairman of ResCap, Weintraub reported to AFI CEO
Alvaro de Molina.473

     Employee discomfort with Cerberus’s management style surfaced quickly, and remained
a theme at least through 2008. By way of example, in a late March 2007 e-mail explaining his
resignation, James Giertz, ResCap CFO, wrote:
                   First, the random management style of Cerberus makes me very
                   uncomfortable, especially as the Chief Financial Officer of this
                   company. It isn’t clear to me who is making the key decisions
                   within the business but certainly the official management
                   structure and decision making processes are not being respected
                   frequently. . . . Second, the drive to dismantle the ResCap
                   structure and replace it with a more substantial infrastructure
                   within the parent company [AFI] is not attractive to me
                   personally and I’m not sure if it is the best strategy for the
                   ResCap business.474
466 Id. at 22:10–13.

467 Id. at 22:13–17.

468 See Cerberus Capital Management GMAC Investment Oversight Key Initiatives Presentation, dated Apr. 23,

   2007, at 1 [CCM00271744]; Int. of P. Bossidy, Dec. 14, 2012, at 24:13–25.
469 Int. of J. Lombardo, Sept. 17, 2012, at 45:14–47:17.

470 Int. of P. Bossidy, Dec. 14, 2012, at 190:23–191:6.

471 E-mail from J. Lombardo (Aug. 7, 2009) [EXAM20033432].

472 See, e.g., Memorandum, ResCap Leadership Changes, July 28, 2008, at 1 [CCM00148289]; Int. of
   E. Feldstein, Dec. 14, 2012, at 200:17–201:4; Int. of P. Bossidy, Dec. 14, 2012, at 190:23–191:6; Int. of
   J. Lombardo, Mar. 18, 2013, at 31:20–32:1 (“On a daily basis, I was reporting to Mike Rossi, but I was also
   communicating with Paul Bossidy, who is the senior operational person from COAC or Cerberus Ops, and
   certainly, I was keeping Scott Parker in the loop as well, because he was also involved in ResCap.”).
473 Memorandum, ResCap Leadership Changes, dated Jul. 28, 2008, at 1 [CCM00148289].

474 E-mail from J. Giertz (Mar. 26, 2007) [EXAM11606784].



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     Sanjiv Khattri became the newly elected CFO and Craig Chapman was elected a member
of the ResCap Board.475 Khattri would eventually voice similar concerns and took issue with
the degree to which Cerberus expected AFI management to perform work at the ResCap
level.476 Khattri stated that “[Cerberus] had little respect for organizations.”477

     In May 2007, Bruce J. Paradis “resigned” as Director and CEO.478 Jim Jones was
appointed President and CEO of ResCap in lieu of COO, and joined AFI as an Executive Vice
President and member of the Executive Committee.479 According to Bossidy, Feinberg made
the decision to hire Jones as CEO.480

     Linda Zukauckas was elected Chief Accounting Officer and Controller.481 Additionally,
Louise M. Herrle resigned as Treasurer effective June 1, 2007; William Casey became the
newly elected Treasurer. Although his resignation would occur much later, Casey would echo
the concerns about Ceberus and AFI involvement before departing.482

     With new management in place, ResCap embarked upon a “Business Plan Reset.” Key
objectives for the reset were:

          •   Diversification of earnings domestically and internationally through production,
              servicing, investment portfolio, and fee based businesses;

          •   Returning RFG to profitability;

          •   Improving credit controls;

          •   Maintaining fundamental BCG marketing position while reducing risk and
              exposure; and

          •   Expanding existing IBG businesses and selectively exporting BCG’s capabilities
              internationally.483


475 See Minutes of a Special Meeting of the Board of Residential Capital, LLC, Apr. 20, 2007, at RC40005577–

   78 [RC40005558].
476 Int. of S. Khattri, Apr. 5, 2013, at 119:23–120:17.

477 Id. at 120:12–13.

478 Jonesto succeed Paradis as ResCap CEO, REUTERS, Apr. 17, 2007, http://www.reuters.com/article/
   2007/04/17/rescap-ceo-idUSN1725565320070417.
479 See, e.g., Individual Profiles, dated June 25, 2012 [ALLY_0004637].

480 Int. of P. Bossidy, Dec. 14, 2012, at 17:11–20.

481 See Minutes of a Regular Meeting of the Board of Residential Capital, LLC, May 11, 2007, at RC40005587

   [RC40005558].
482 See Section III. G.3.e(2) (discussing ResCap management resignations).

483 Id.



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    3. Further Market Dislocation In 2007; ResCap Begins An Era Of Parental Support And
       Affiliated Transactions

     By mid-2007, AFI and ResCap were striving to avoid the hate met by fifteen of the top
twenty-five mortgage lenders, described earlier in this section.484 In AFI and ResCap entered
an era of parental support involving numerous affiliated transactions; the goal was to weather
the storm and still be standing when the markets improved.485 Tessler acknowledged that he
knew ResCap was in “desperate” need of capital starting in early 2007, and found itself in
such a position “on a somewhat continuous basis, whether it was primarily to meet the net
worth covenant.”486 Tessler also explained, however, that Cerberus felt it had a unique
window into the capital markets at this time and was well-suited to see ResCap through the
storm. Tessler attributed this “unique window into the capital markets” to the fact that
Cerberus also owned Chrysler Automotive and Chrysler Financial during this time period. As
Tessler explained, “our window was not simply through [an AFI] lens.”487

              a. Funding Initiatives488

     In March 2007, AFI made a $500 million cash equity contribution to ResCap. It made
another $500 million cash equity contribution in April 2007. In May 2007, ResCap entered
into a $2.25 billion dual tranche transaction that included $1 billion two-year floating rate debt
and $1.25 billion five-year fixed rate debt. In June, ResCap issued an EU 600 million three-
year floating rate note, a GBP 400 million seven-year fixed rate note, and an MXP 1.8 billion
five-year fixed rate note.

              b. Amended And Restated Master Mortgage Loan Purchase And Sale Agreement

    Effective June 1, 2007, GMAC Mortgage and Ally Bank entered into an “Amended and
Restated” MMLPSA.489 This version of the MMLPSA, adopted as ResCap was confronting
worsening market conditions, made several key revisions.490


484 The American Bar Association, Annual Meeting Presentation, The Subprime Lending Industry: A Look At The

   Restructuring of a Market in Turmoil, dated Aug. 11, 2007, http://apps.americanbar.org/buslaw/newsletter/
   0063/materials/pp1a.pdf; see also Section III.F.1.g.
485 See Int. of J. Jones, Nov. 30, 2012, at 59:20–60:21 (noting the amount of support AFI had provided prior to

   2008).
486 Int. of L. Tessler, Feb. 28, 2013, at 15:20–22.

487 Id. at 38:20–24. In May, 2007, only six months after acquiring a controlling stake in AFI in November, 2006,

   Cerberus also acquired 80.1 percent of Chrysler Holdings from Daimler Benz for $7.8 billion (about ten years
   after Daimler paid $36 billion for Chrysler). The Chrysler acquisition also gave Cerberus control of Chrysler
   Financial.
488 See Section V.E (discussing these funding initiatives).

489 2007 MMLPSA [ALLY_0018275].

490 See Section V.B (discussing the 2007 MMLPSA).



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              c. MSR Swaps
     In 2007, Ally Bank and GMAC Mortgage entered into two swap transactions related to
mortgage servicing rights (i.e., the MSR Swap). One was based on a net funding component
and exchanged all servicing fees received by the Bank to GMAC Mortgage for a LIBOR-
based fixed income stream;491 the second was based on a FMV component and swapped the
risks of changes in the FMV of MSRs to GMAC Mortgage by obligating GMAC Mortgage to
pay Ally Bank for any decrease in the value of the MSRs (e.g., decrease in interest rates or
increases in delinquencies or foreclosures would decrease the value of MSRs). The MSR
Swap protected the Bank from market and credit risk.492
              d. August 2007 Severe Liquidity Crisis And The Health Capital Sale
    According to Tessler, by the summer of 2007, cracks were becoming visible in the U.S.
economy, which were largely connected to the downturn in the housing market and the
impending subprime mortgage crisis. Tessler described the situation as a “storm” until August
2007 when it became a “global catastrophe.”493 While the downturn in the housing market was
not a sudden, unexpected event, the adverse impact was greater than ResCap, AFI, or
Cerberus anticipated. Liquidity was drying up in the capital markets and for a business such as
ResCap, not having access to capital meant that it could not operate.
      At the end of June 2007, there was an urgent need to take steps to address the current
pending liquidity problem at ResCap and to do so quickly, while at the same time starting the
process to make more permanent changes to ResCap’s operations to address liquidity. The
belief within AFI and Cerberus was that ResCap was still a viable and valuable business but
that changes were needed to its business model to focus more on the prime mortgage market
rather than the non-prime market. Tessler noted that in August and September 2007 it was
Cerberus’s view that ResCap was valuable and unique and should receive support during the
crisis because it would remain one of the few surviving mortgage service companies and
would make a lot of money.494
     To address the immediate liquidity problem that ResCap was facing in August 2007, one
option involved ResCap selling BCG’s Health Capital business to GMAC CF because this
could be done quickly. Moreover, from a business standpoint, the Health Capital business
arguably was a better fit for GMAC CF than for ResCap.495
491 A December 2010 Ally Bank internal memo indicates that costs incurred on account of GSE repurchase

   requests were deducted from GMAC Mortgage’s net servicing fees paid under the MSR Swap. The memo
   states “[s]ince implementation of the MSR swap in 2007, the Bank has never been required to pay a
   repurchase or indemnification demand from Fannie Mae or Freddie Mac. All such demands have been
   administered and satisfied by GMACM, either as direct recipient of the investor demand, or pursuant to its
   obligations under the MSR swap.” Draft Memorandum, Evolution Of Ally Bank Processes For Purchase,
   Origination, Sale, And Servicing Of Mortgage Loans, dated Dec. 2, 2010, at 6–7 [EXAM11216070].
492 See Section V.B.9 (discussing the MSR Swaps).

493 Int. of L. Tessler, Nov. 16, 2012, at 95:25–97:11.

494 Int. of L. Tessler, Nov. 16, 2012, at 143:24–147:4.

495 Int. of S. Khattri, Oct. 25, 2012, at 212:23–223:24.



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      The Health Capital Sale was conceived, and an agreement executed, in one month. The
Health Capital Sale closed in August 2007 and the post-closing true-up payment was made
before the end of September 2007 so that the cash could be shown on ResCap’s September 30,
2007 balance sheet.496 On August 21, 2007, prior to the close of the transaction, ResCap CFO,
Sanjiv Khattri expressed concern regarding the “rush and scope” of the transaction and stated
at that time that he did “not support [the] plan.”497




496 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 7, 2007) (“On August 27, 2007, . . . wholly

  owned subsidiaries of [ResCap], sold substantially all of the assets and operations comprising their healthcare
  finance business to GMAC [CF], a wholly owned subsidiary of [AFI], pursuant to an asset purchase
  agreement. [ResCap] received $900.5 million, which represents the fair value of the business as valued by an
  independent third-party valuation. Net book value totaling $876.8 million was transferred as part of the sale
  resulting in a capital contribution from [AFI] of $23.7 million.”).
497 E-mail from S. Khattri (Aug. 21, 2007) [ALLY_0110176].



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G. RESCAP’S MOUNTING LIQUIDITY AND COVENANT ISSUES (SEPTEMBER
   2007 THROUGH JULY 2008)

     1. Summary Of Industry Data And Environment

    During the first half of 2007, market dislocation was mostly confined to the subprime
mortgage markets.498 These problems, however, migrated quickly to other areas including
employment and the capital markets.

            a. Housing Market

      The near elimination of nonprime mortgage originations and the tightening of lending
standards in early 2007 exacerbated the contraction in housing demand and construction in the
latter part of 2007 and in 2008.499 According to the National Association of Realtors, the
number of detached single family homes on the market in October 2007 was sufficient
inventory for approximately 10.5 months, “more than double the level of two years [before]
and the highest since 1985.”500 Moody’s noted that in addition to the number of detached,
single family homes, there was “over 11 months of unsold condo inventory, nine months of
existing single family homes and eight months of new homes (vacant for sale inventory).”501
Housing starts were off from their previous year peak.502 The FRB reported that new
construction in the fourth quarter of 2007 had been cut dramatically and was off 50% from the
high in the first quarter of 2006.503




498 Alister Bull, et al., Fed Missed Warning Signs in 2007 as Crisis Gained Steam, REUTERS, Jan. 18, 2013,

   http://www.reuters.com/article/2013/01/19/us-usa-fedidUSBRE90H13Q20130119?feedType=RSS&feedName=
   businessNews.
499 FRB MONETARY POLICY REPORT TO CONGRESS (Feb. 27, 2008), at 5, http://www.federalreserve.gov/
   monetarypolicy/files/20080227_mprfullreport.pdf.
500 James Hagerty, Home Listings in 18 Metro Areas Decline, WALL ST. J., Dec. 6, 2007, http://biz.yahoo.com/

   wallstreet/071206/sb119691376974115539_id.html.
501 Mark Zandi & Celia Chen, Aftershock: Housing in the Wake of the Mortgage Meltdown, MOODY’S
   ECONOMY.COM, Dec. 2007, at 18, http://www.economy.com/home/products/samples/2007-12-01-Aftershock-
   Housing-Wake Mortgage-Meltdown.pdf.
502 Id.

503 FRB MONETARY POLICY REPORT TO CONGRESS (Feb. 27, 2008), at 1, http://www.federalreserve.gov/
   monetarypolicy/files/20080227_mprfullreport.pdf.

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    The housing sector continued to look dismal as early 2008 numbers were reported. “U.S.
home prices fell another 11.4% in January 2008, the housing market’s steepest drop since
S&P started collecting data in 1987.”504 The numbers looked no better in February with new
home sales falling for “a fourth straight month, pushing activity down to a 13-year low. . . .”505

     In addition to the weakness in home sales and the decline in home prices, foreclosures
continued to rise. In early 2008, RealtyTrac reported that the foreclosure process had begun on
1.3 million properties in 2007, a 79% increase over 2006.506 It became apparent that the 2006
and 2007 vintages of mortgages would pose the greatest risks for lenders. According to a 2008
report:

                 For subprime ARMs originated in 2006, about 10 percent had
                 defaulted in the first twelve months, more than double the
                 fraction for mortgages originated in earlier years. Furthermore,
                 the path of the default rate for subprime ARMs originated in
                 2007 has run even higher. For subprime mortgages with fixed
                 interest rates, delinquency rates have moved up significantly in
                 recent months, to the upper end of their historical range.507

     Additionally, LIBOR had risen to 6.8%, its highest point since 1998.508 Rising interest
rates caused an increase in monthly loan payments after teaser rates expired; for example,
“[t]he average subprime borrower [would] experience an increase in their monthly payment at
the first reset of approximately $350, lifting the payment from $1,200 to $1,550.”509 These
types of increases were expected to lead to an increase in defaults. Industry expert Marc
Zandi, testifying before Congress, stated:

                 I expect 2.8 million mortgage loan defaults (the first step in the
                 foreclosure process) in 2008 and 2009. Of these, 1.9 million
504 Katalina M. Bianco, The Subprime Lending Crisis: Causes and Effects of the Mortgage Meltdown, CCH FED.

   BANKING L. REP., CCH MORTGAGE COMPLIANCE GUIDE & BANK DIG. 2008, at 18, http://
   www.business.cch.com/bankingfinance/focus/news/Subprime_WP_rev.pdf.
505 Id.


506 Associated Press, Number of Foreclosures Soared in 2007; Stage is Set for More Foreclosures in Year Ahead,

   Data Show, NBCNEWS.COM, Jan. 29, 2008, http://www.nbcnews.com/id/22893703/ns/business-real_estate/t/
   number-foreclosures-soared/.
507 FRB MONETARY POLICY REPORT TO CONGRESS (Feb. 27, 2008), at 6, http://www.federalreserve.gov/
   monetarypolicy/files/20080227_mprfullreport.pdf.
508 Mauro F. Guillen, The Global Economic & Financial Crisis: A Timeline, THE LAUDER INST., U. PA., at 2,

   http://unpan1.un.org/intradoc/groups/public/documents/apcity/ unpan033507.pdf.
509 Mark Zandi & Celia Chen, Aftershock: Housing in the Wake of the Mortgage Meltdown, MOODY’S
   ECONOMY.COM, Dec. 2007, at 9–10, http://www.economy.com/home/products/samples/2007-12-01-Aftershock-
   Housing-Wake-Mortgage-Meltdown.pdf.

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                 homeowners will go through the entire foreclosure process and
                 ultimately lose their homes.510

             b. Unemployment

     In September 2007, the Department of Labor reported the first month of negative job
growth since 2003.511 This was only the beginning as data in subsequent months worsened.
The Department of Labor announced in December 2007 that the economy had gained only
94,000 jobs in November.512 This was significantly below the 125,000 non-farm new jobs the
economy needed to absorb new workers and those losing their jobs on a monthly basis.513
While in the previous year, jobs in the financial services and construction were stable, by the
middle of 2007 these areas were experiencing losses in excess of 25,000 jobs a month,
increasing to 50,000 jobs lost in October and 75,000 jobs in November.514 By the Summer of
2008, the Department of Labor reported that unemployment rates had moved upward from
4.7% in September 2007 to 5.8% in July 2008.515

             c. Capital Markets

     With the considerable uncertainty in the investment markets caused by the sheer dollar
amount of subprime mortgage-backed securities, by January 2008, the lending system had
effectively closed. The FRB continued to react to the growing crisis by cutting an additional
125 basis points from the Federal Funds Rate in an attempt to keep banks lending, and lower
long-term rates to more affordable levels.516 The market forces were moving faster, however,
and in January 2008, ABX stopped issuing subprime indices517 and S&P downgraded or
placed on credit watch more than 8,000 RMBS and CDO securities, further affecting the
510 HEARING BEFORE THE SENATE COMMITTEE ON THE JUDICIARY, THE LOOMING FORECLOSURE CRISIS: HOW

   TO HELP FAMILIES SAVE THEIR HOMES (Dec. 5, 2007) (written testimony of Mark Zandi, Chief Economist
   and Co-founder, Moody’sEconomy.com), http://townhall.abiworld.org/node/281.
511 Tom  Redburn, Bernanke, The Fed and 2008, N.Y. TIMES, Sep. 9, 2007, http://www.nytimes.com/
   2007/09/09/weekinreview/09redburn.html?_r=0.
512 PeterGoodman & Michael Grynbaum, Slowing Growth in Jobs Seen as Ominous Sign for Economy,
   N.Y. TIMES, Dec. 8, 2007, http://www.nytimes.com/2007/12/08/business/08econ.html?pagewanted=.
513 PeterGoodman, Wall St. Sees Silver Lining, N.Y. TIMES, Dec. 1, 2007, http://www.nytimes.com/
   2007/12/01/business/01econ.html.
514 PeterGoodman & Michael Grynbaum, Slowing Growth in Jobs Seen as Ominous Sign for Economy,
   N.Y. TIMES, Dec. 8, 2007, http://www.nytimes.com/2007/12/08/business/08econ.html?pagewanted&_r=0.
515 DATABASES, TABLES & CALCULATORS BY SUBJECT, LABOR FORCE STATISTICS FROM THE CURRENT
   POPULATION SURVEY (from 2003 to 2013), http://data.bls.gov/timeseries/LNS14000000.
516 FRB MONETARY POLICY REPORT TO CONGRESS (Feb. 27, 2008), at 2, http://www.federalreserve.gov/
   monetarypolicy/files/20080227_mprfullreport.pdf.
517 Liang Simon, An Examination of the Subprime Crisis, Implications from the ABX Index (B.S. thesis, Leonard N.

   Stern School of Business, New York University) at 3, http://w4.stern.nyu.edu/emplibrary/Simon%20Liang_Thesis_
   Honors%202008.pdf.

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balance sheets of those invested in MBS markets.518 A report from market analysts at UBS in
late February 2008 showed that losses within the financial sector from subprime MBS could
reach $600 billion. This new report on expected losses marked a 50% rise from previous
estimates made just months earlier.

     By March 2008, mounting subprime issues had taken their toll on U.S. investment bank
Bear Stearns.519 By the end of the month, working with the FRB, JP Morgan acquired Bear
Stearns.520 The news would continue to get worse as the year progressed. Federal regulators
seized IndyMac Bank in July on fears of subprime issues consuming depositors’ funds.521

                 d. Contingency Funding Plans Employed By ResCap To Prevent Market Turmoil
                    From Having A Negative Effect On Liquidity

     As a result of the domestic and international mortgage and capital markets dislocation,522
ResCap experienced margin calls, changes to advance rates on its secured facilities, and a loss
of significant asset-backed commercial paper conduit financing capacity, all of which
negatively affected ResCap’s liquidity.523 Consequently, ResCap took several important




518 U.S. SENATE PERMANENT SUBCOMMITTEE ON INVESTIGATIONS, COMMITTEE ON HOMELAND SECURITY &
   GOVERNMENT AFFAIRS, WALL STREET AND THE FINANCIAL CRISIS: ANATOMY OF A FINANCIAL COLLAPSE (Apr.
   13, 2011), at 45, http://www.hsgac.senate.gov//imo/media/doc/Financial_Crisis/FinancialCrisisReport.pdf?attempt=2.
519 CSI:  Credit Crunch, Central Banks Have Played a Starring Role, ECONOMIST, Oct. 18, 2007,
   http://www.economist.com/node/9972489; see also FEDERAL RESERVE BANK OF ST. LOUIS, THE FINANCIAL
   CRISIS: A TIMELINE OF EVENTS AND POLICY ACTIONS (Sept. 21, 2008), at 5, http://www.stlouisfed.org/timeline/
   pdf/CrisisTimeline.pdf.
520 FEDERAL RESERVE BANK OF ST. LOUIS, THE FINANCIAL CRISIS: A TIMELINE OF EVENTS AND POLICY
   ACTIONS (Sept. 21, 2008), at 5, http://www.stlouisfed.org/timeline/pdf/CrisisTimeline.pdf.
521 Ari
      Levy & David Mildenberg, IndyMac Seized by U.S. Regulators: Schumer Blamed for Failure,
   BLOOMBERG, July 12, 2008, http://www.bloomberg.com/apps/news?pid=newsarchive&sid=aAYLeK3YAie4.
522 See Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 32. According to ResCap:


           During the third quarter, the mortgage and capital markets have continued to experience stress due
           to credit concerns and housing market contractions in the United States. The reduced accessibility
           to cost efficient capital in the secondary markets has made the residential mortgage industry even
           more capital intensive. In the short-term, it is probable the mortgage industry will continue to
           experience both declining mortgage origination volumes and reduced total mortgage indebtedness
           due to the deterioration of the nonprime and non-conforming mortgage market and a challenging
           interest rate environment. Due to these market factors, particularly interest rates, the business of
           acquiring and selling mortgage loans is cyclical. The industry is experiencing a downturn in this
           cycle.
   Id.
523 Id. at 50.



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measures in third quarter 2007 to augment cash balances during the mortgage and capital
markets turmoil. The extensive contingency funding plans that enabled ResCap to meet its
significant liquidity demands included:

                   (1) The elimination of exposure to extendable commercial paper conduit
                       liquidity due to market dislocation by the movement of collateral to
                       alternative financing sources including ResCap’s Mortgage Asset Lending
                       Agreement (MALA)/Receivables Lending Agreement (RLA) facilities and
                       repurchase agreements;524

                   (2) The securing of $2 billion of new committed repurchase agreements to fund
                       conforming mortgage production;525

                   (3) The sale of substantially all of the assets and operations comprising
                       ResCap’s healthcare finance business to [GMAC CF], for $900.5
                       million;526

                   (4) The receipt of capital contributions totaling $1 billion from AFI in the third
                       quarter of 2007;527 and

                   (5) The increase of funding at Ally Bank, which offered a competitive cost of
                       funding, in anticipation of ResCap increasing its loan production through
                       Ally Bank.528

     Additionally, AFI entered into an agreement with Citibank, effective September 6, 2007,
pursuant to which Citibank committed to provide up to $21.4 billion in various asset-backed
funding facilities through September 2008.529 A total of $14.4 billion became available for
immediate funding upon execution of such facilities, with the additional $7 billion becoming
available if and when certain conditions were met, including the syndication of the facility to
other lenders. Up to $8 billion of the facilities, depending on AFI’s usage of the facilities,




524 Id.

525 Id.

526 Id.; see also Section III.F.3.d (discussing the Health Capital transaction in greater detail).

527 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 50 (“GMAC also contributed

   $256.0 million of capital to GMAC Bank isolated to its auto division. [As of September 30, 2007], we have
   received $2.0 billion in capital contributions from [AFI], excluding the contribution to the auto division of
   GMAC Bank”).
528 Id.

529 Id.; GMAC LLC, Current Report (Form 8-K) (Sept. 11, 2007). These facilities replaced a $10 billion asset-

   backed funding facility that had been entered into with Citibank in August 2006. Id.

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could be made available to ResCap to fund mortgage assets.530 As of September 30, 2007,
ResCap had a net increase in secured committed funding capacity for its MSRs of $950
million from AFI’s new facilities.

             e. Third Quarter 2007’s Loss Marked ResCap’s Fourth Consecutive Quarterly
                Loss

      As a result of the measures taken by ResCap to stave off a negative liquidity event, its
equity base stood at $6.2 billion as of September 30, 2007.531 ResCap’s improved equity
position, however, was not accompanied by operating profit. Indeed, the third quarter of 2007
marked ResCap’s fourth consecutive quarterly loss with ResCap incurring a net loss of $2.3
billion,532 as compared to net income of $83 million in the third quarter of 2006.533 ResCap
reported that the losses in 2007 were not caused by competitive pricing pressures as had been
the case in 2006,534 but rather were the result of “i) higher provision for credit losses; ii) mark-
to-market adjustments on trading securities and mortgage loans held for sale; iii) tighter




530 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 50; see also GMAC LLC, Current

   Report (Form 8-K) (Sept. 11, 2007) (noting that the Citi facilities included “commitments to provide funding
   for U.S. automobile related assets, mortgage assets, and other assets across GMAC and its subsidiaries”).
531 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 3; see also GMAC LLC, Current

   Report (Form 8-K) (Nov. 1, 2007) (“In the third quarter, GMAC injected $1 billion of equity into ResCap to
   bolster the company’s capital base. As of Sept. 30, 2007, ResCap’s equity base stood at $6.2 billion.”).
532 Residential Capital, LLC, Current Report (Form 8-K) (Nov. 1, 2007), at 1.

533 Residential Capital, LLC, Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 33 (“Our net loss was $2.3 billion

   for the three months ended September 30, 2007, compared to net income of $83.4 million for the same period
   in 2006, and our net loss was $3.4 billion for the nine months ended September 30, 2007, compared to net
   income of $833.1 million for the same period in 2006.”); see also Residential Capital, LLC, Current Report
   (Form 8-K) (Nov. 1, 2007), at 1; Residential Capital, LLC, Current Report (Form 8-K) (Oct. 25, 2006) (noting
   that ResCap’s “preliminary net income was $76 million in the third quarter of 2006, down from $280 million
   earned in the third quarter of 2005”).
534 Residential Capital, LLC, Current Report (Form 8-K) (Oct. 25, 2006). According to ResCap:


        The decrease in earnings [in 2006] was the result of a number of factors in ResCap’s U.S.
        residential mortgage business. In particular, competitive pricing pressures negatively impacted
        margins, which led to lower gains despite year-over-year increases in production. Results were also
        affected by higher credit provisions resulting from increases in delinquencies, lower net interest
        margins as a result of a flatter yield curve, and a decrease in net servicing income due to the effect
        of lower long-term rates on expected prepayments of mortgages.

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margins on the sale of mortgage loans; iv) a decrease in net financing revenue driven by
higher borrowing costs; and v) lower production levels.”535 AFI CEO Eric Feldstein
pronounced ResCap’s third quarter 2007 financial performance “a major disappointment.”536

     2. Responses To Third Quarter 2007 Loss

             a. ResCap Leadership Changes In Third Quarter 2007

     With two dismal months in the third quarter 2007 nearly completed, ResCap announced
leadership changes as it entered the final month of the third quarter. On August 21, 2007,
Alvaro de Molina was nominated and elected to the ResCap Board.537 At the same time, de
Molina, who had joined Cerberus in June 2007, was named Chief Operating Officer of AFI.538
“In this newly created role, de Molina [was] responsible for AFI’s real estate finance and
commercial finance businesses, and for all of AFI’s global finance and risk functions.”539

    A little over two weeks after de Molina’s appointment, the ResCap Board accepted AFI
CEO Eric Feldstein’s resignation as Chairman of the ResCap Board. Feldstein described these
changes in leadership at ResCap and AFI as the result of Cerberus’s growing criticism of AFI
management.540 Michael Rossi was elected Chairman of the ResCap Board immediately




535 Residential Capital, LLC, Current Report (Form 8-K) (Nov. 1, 2007), at 1; see also Residential Capital, LLC,

   Quarterly Report (Form 10-Q) (Nov. 8, 2007), at 33–34 (“Our 2007 results continued to be adversely affected
   by domestic economic conditions, including increases in delinquencies on our mortgage loans held for
   investment portfolio and a significant deterioration in the securitization and residential housing markets. In
   addition, during the third quarter of 2007 we began to experience a downturn in certain foreign mortgage
   credit markets.”).
536 GMAC LLC, Current Report (Form 8-K) (Nov. 1, 2007), at 2.

537 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Aug. 21, 2007, at

   RC40005615 [RC40005558].
538 See GMAC LLC, Current Report (Form 8-K) (Aug. 20, 2007).

539 Id.

540 Int. of E. Feldstein, Nov. 16, 2012, at 188:7–193:19. Around this time, Sanjiv Khattri, who was serving as

   CFO for both AFI and ResCap, was named to a new position as AFI Executive VP of Corporate Development
   and Strategy, and Robert Hull was named AFI CFO. See E-mail from J. Young, Nov. 14, 2007
   [EXAM10175200] (forwarding Feldstein e-mail announcing changes). Khattri remained CFO of ResCap. Id.
   Again, Feldstein described this change in management to be the result of Cerberus’s critical view of Khattri’s
   performance. See Int. of E. Feldstein, Nov. 16, 2012, at 188:7–193:19; see also GMAC LLC, Current Report
   (Form 8 K) (Nov. 14, 2007) (“Sanjiv Khattri, [CFO], will be named to a new position as executive vice
   president of Corporate Development and Strategy, effective Dec. 3. He will continue to report to [AFI] Chief
   Executive Officer Eric Feldstein. In this new position, Khattri will have responsibility for strategic planning
   and business development as well as continuing as [CFO] of [ResCap]. He will remain a member of the [AFI]
   Executive Committee and the ResCap Board of Directors.”).

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thereafter.541 Rossi, a former member of Cerberus’s senior advisory board, was chosen by
Cerberus to lead a turnaround and restructuring at ResCap.542

          When asked how serious the ResCap situation was, Rossi responded:
                   We’re not going to sugarcoat it. ResCap reported a net loss for
                   the third quarter of $2.3 billion, as weakness in the housing
                   market and mortgage industry continued to prevail. As of 12
                   weeks ago, the subprime and non-conforming markets in the
                   U.S. had pretty much melted down, and the international
                   mortgage and capital markets had begun to experience extreme
                   dislocation. These market pressures revealed weaknesses in
                   [ResCap’s] controls and risk management processes and put
                   unprecedented stress on our cash position and ability to fund our
                   business.543

               b. Board Discussions Indicating Insolvency Concerns

     During the September 7, 2007 ResCap Board meeting at which Rossi was elected as a
director and Chairman of the ResCap Board, outside counsel Fredrick Thomas of Mayer
Brown made a presentation on the fiduciary duties of directors of a Delaware corporation.544
During the presentation, the ResCap Board engaged in a discussion of the fiduciary duties
owed by directors of a company that is or becomes financially distressed. Thomas, as well as
in-house counsel, William Solomon and David Marple, “participated in the discussion and
commented on the duties owed by the directors to shareholders and creditors when a company
reaches the zone of insolvency or becomes insolvent.”545

     Later in the meeting, during a discussion on a proposed sale of warehouse lending
receivables from certain ResCap affiliates to Ally Bank, one of the ResCap Independent
Directors, Thomas Melzer, questioned whether the transaction would affect adversely ResCap
bondholders’ economic rights should ResCap become financially distressed.
541 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at

   RC40005619 [RC40005558].
542 See Memorandum, November MD Meeting-Follow-up Q&A for Associates, dated Nov. 14, 2007, at
   EXAM10125766 [EXAM10125763] (“GMAC and our shareholders have put into place a team that has
   turnaround experience and works well together.”). Despite a plethora of material referring to efforts
   undertaken to affect a turnaround at ResCap in late 2007 and Rossi’s role in spear-heading those efforts, Rossi
   was adamant during his interview that no one ever described to him a desire that he lead a “ResCap
   turnaround” or “ResCap restructuring.” See Int. of M. Rossi, Nov. 27, 2012, at 20:21–21:3.
543 Int. of M. Rossi, Nov. 27, 2012, at 20:21–21:3.


544 See Minutes of a Regular Meeting of the Board of Directors of Residential Capital, LLC, Sept. 7, 2007, at

   RC40005619 [RC40005558]
545 Id.



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Melzer was specifically concerned with an aspect of the transaction that would require
ResCap to provide four-year credit warranties on the transferred assets.546

               c. In Fall 2007, ResCap Announced Major Restructuring Plans

     On October 17, 2007, ResCap announced that it was restructuring its mortgage
operations, as severe weakness in the housing market and mortgage industry continued to
prevail.547 ResCap planned to streamline operations and revise its cost structure in an attempt
to enhance its flexibility to meet changing market conditions.548 ResCap recognized that the
“[s]uccessful execution of these plans [was] essential to restoring the mortgage business to
profitability.”549 The restructuring of the mortgage operations included plans to:

          •   Reduce product offerings;550

          •   Eliminate 25% (approximately 3,000) of the company’s existing positions, with the
              majority of the reduction in force taking place in the remainder of 2007. These
              planned reductions were intended to be in addition to the elimination of 2,000
              positions announced earlier in the year;551

          •   Close 50 sales and servicing locations;552

          •   Shift more towards direct consumer origination channels with operations focusing
              on originating and servicing prime conforming and high quality jumbo product with
              leveraging of [Ally Bank];553
546 See id.


547 Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007), at 1.


548 Id.


549 GMAC LLC, Current Report (Form 8-K) (Nov. 1, 2007).


550 See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007) (“ResCap will continue to modify

   its product offerings based on market conditions, and has sharply reduced its exposure to nonprime and prime
   non-conforming loans this year. Nevertheless, ResCap will continue to offer a broad and competitive menu of
   high quality products and will pursue growth plans opportunistically in areas where the company maintains a
   competitive advantage.”).
551 See id. (“On Oct. 15, 2007, a restructuring plan was approved that will include ResCap reducing its current

   worldwide workforce of 12,000 associates by approximately 25 percent, or by approximately 3,000
   associates, with the majority of reductions occurring in the fourth quarter of 2007. This reduction in
   workforce is in addition to the measures undertaken in the first half of 2007 in which 2,000 positions were
   eliminated.”).
552 ResCap Review Presentation prepared for a Special Meeting of the Board of Directors of Residential Capital,

   LLC, dated Sept. 26, 2007, at RC40012910 [RC40012907]
553 Id.



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          •   Reduce risk and income volatility by balance sheet restructuring that results in
              reduction of HFS inventories and the sale of nonprime HFI residuals;554 and

          •   Expand credit and control environment to manage risk while simplifying control
              process and systems.555

     The planned workforce reductions were estimated to result in ResCap incurring
restructuring charges ranging between $90 and $100 million in fourth quarter 2007.556

     Although not publicly reported, the presentation made to the ResCap Board on
September 26, 2007 that outlined the restructuring plan and ResCap’s potential options made
clear that while attempting to execute the restructuring plan, ResCap was also preparing
contingency plans which included exploring the “viability and economics of an orderly
liquidation.”557




554 Id.

555 Residential Capital, LLC, Current Report (Form 8-K) (Nov. 1, 2007), Ex. 99.2, at 18.

556 See Residential Capital, LLC, Current Report (Form 8-K) (Oct. 17, 2007). This estimate included “costs

   related to severance and other employee-related costs of approximately $55 to $65 million and the closure of
   facilities of approximately $35 to $45 million” the majority of which were anticipated to occur in the fourth
   quarter of 2007. Id.
557 ResCap Review Presentation prepared for a Special Meeting of the Board of Directors of Residential Capital,

   LLC, dated Sept. 26, 2007 [RC40012907].

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           d. November 1, 2007 Ratings Downgrade

      ResCap’s announced restructuring and improved equity position was not enough to
prevent a ratings downgrade. On November 1, 2007, Moody’s announced it was downgrading
its ratings on ResCap’s senior debt to Ba3 from Ba1, with a negative outlook. Moody’s
explained:
               This rating action follows ResCap’s $2.3 billion loss in Q307.
               The loss was primarily driven by marks on the company’s
               residential mortgage held-for-sale inventory and mortgage
               backed securities, high levels of provisioning and an impairment
               of goodwill of $455 million. This represents ResCap’s fourth
               consecutive quarterly loss. As a result of this loss the company
               received a $1.0 billion capital injection from its parent to avoid
               violating its minimum net worth covenant of $5.4 billion at
               September 30, 2007.
               The downgrade and negative outlook reflect the company’s
               significant asset quality issues and potential franchise
               impairment. The non-performing level of ResCap’s held-for-
               investment portfolio is well above its rated peer group across
               loan types, and Moody’s expects elevated provisioning levels
               for several more quarters. “The company’s continued exposure
               to held-for-sale loan write-downs and high provisioning could
               result in operating losses in the fourth quarter and beyond that
               reduce capital below the minimum net worth covenant without
               further support from its parent,” said Moody’s Vice President
               Craig Emrick.
               Additionally, Moody’s has concerns about potential franchise
               impairment at ResCap. Emrick added that “the current market
               disruption requires ResCap to shift its origination channel, product
               mix, and secondary marketing strategies. The business model that
               will return ResCap to adequate profitability is unclear.”
               In regards to liquidity, the company is inherently weaker than
               many of its mortgage banking peers due to its focus on secured
               market funding versus retail deposits and Federal Home Loan
               Bank advances. As a result, the company has a very low level of
               unencumbered assets which leave it vulnerable to disruptions in
               the wholesale markets. However, the company ... plans to utilize
               its bank, and the related deposit and Federal Home Loan Bank
               funding, to a much larger degree going forward.558

558 Moody’s Downgrades ResCap to Ba3, from Ba1; Outlook Negative, MOODY’S INVESTORS SERVICE, Nov. 1,

  2007, http://www.moodys.com/research/Moodys-downgrades-ResCap-to-Ba3-from-Ba1-outlook-negative—
  PR_143543.

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             e. Analysts’ Bankruptcy Speculation/ResCap And AFI Public Debt Repurchase
                Plans

     ResCap’s November ratings downgrade resulted in numerous press reports speculating as
to the willingness of AFI and Cerberus to allow ResCap to fail. A November 15, 2007
Bloomberg article reported that “[t]raders [were] speculating that Cerberus Capital
Management LP and General Motors Corp. may allow the Minneapolis unit of [AFI] to fall
into bankruptcy as the U.S. housing slump continue[d] to deepen.”559 Four days later, in a
November 19, 2007 article, Bloomberg reported that Kathleen Shanley, an analyst at
independent bond research firm GimmeCredit Publications, Inc., had issued a report
recommending that investors sell ResCap debt in light of “significant risks embedded in the
portfolio.” Shanley advised that “GM/Cerberus may elect to put ResCap into bankruptcy
given its exposures to homebuilders, and recoveries given defaults may be even lower than
implied by current distressed levels.”560 Shanley speculated that ResCap’s announcement that
investments in model homes and lots may be “impaired at any time” coupled with the third
quarter 2007 $2.3 billion in losses—the largest loss in AFI’s 88-year history—could “lead
[ResCap] to violate terms of its debt agreements.”561

      Investors’ confidence in ResCap faltered with these reports;562 the price of ResCap’s
bonds decreased throughout 2008 and ResCap CDS prices reflected a correlated increase.563
ResCap bonds declined from approximately 70 cents on the dollar in August 2007 after being
downgraded to below investment grade, to approximately 41.5 cents in June 2008. Bloomberg
reported in November 2007 that the bond-pricing service for the main U.S. brokerage
watchdog, the Financial Industry Regulatory Authority, had announced that ResCap’s $2.5
billion of 6.375 percent notes due in 2010 fell 0.2 cents to 55.4 cents on the dollar. According
to Bloomberg, “[t]he implied probability of default assumes funds would be worth 40 cents on
the dollar in the event of bankruptcy.”564 As bond prices decreased, ResCap CDS prices




559 Shannon D. Harrington, ResCap Credit Swaps Soar on Concern It May Default, BLOOMBERG, Nov. 15, 2007,

   http://www.bloomberg.com/apps/news/?pid=newsarchive &sid=aTXFFjlPAPUk.
560 See E-mail from S. Cohen to L. Tessler (Nov. 19, 2007) [CCM00176101] (attaching the article); see also

   Caroline Salas & Shannon D. Harrington, ResCap Investments May Lead to Bankruptcy, Gimme Credit Says,
   BLOOMBERG, Nov. 19, 2007, http://www.safehaven.com/article/8904/no-regrets.
561 Caroline Salas & Shannon D. Harrington, ResCap Investments May Lead to Bankruptcy, Gimme Credit Says,

   BLOOMBERG, Nov. 19, 2007, http://www.safehaven.com/article/8904/no-regrets.
562 See Section VI (discussing ResCap’s overall financial condition, including solvency).

563 A Credit Default Swap or CDS is a derivative financial instrument used to hedge investments against potential

   default. When CDS prices rise, it indicates that market participants are becoming more concerned about a
   potential default.
564 Caroline Salas & Shannon D. Harrington, ResCap Investments May Lead to Bankruptcy, Gimme Credit Says,

   BLOOMBERG, Nov. 19, 2007, http://www.safehaven.com/article/8904/no-regrets.

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increased significantly, rising from approximately 2% in June 2007, to 30% in November
2007, and further still to over 57% by March 2008.565

    The press reports and investor response did not go unnoticed by AFI management. On
November 15, 2007, AFI CEO Eric Feldstein, citing press reports indicating that GM/
Cerberus/AFI were “potentially willing to allow ResCap to fail,” stated in an e-mail to then
AFI COO de Molina that the “[m]arket has completely lost confidence in ResCap.”566 That
same day Feldstein sent an e-mail to Cerberus-appointed non-executive AFI Chairman, Ezra
Merkin stating:

                 It is compelling that we execute a $1 billion + tender offer for
                 the 2008 and possibly 2009 Rescap bonds. Not only would this
                 be economically attractive, it would halt the erosion in market
                 confidence, it would alleviate the anxiety among ResCap banks
                 (currently lending us significant sums of money under bank
                 lines maturing over the coming months), and would begin to
                 address the employee panic which has set in amid reports that
                 GM/Cerberus/GMAC may let ResCap default on its
                 obligations.567

     On November 21, 2007, ResCap announced that it commenced a cash tender offer for
several of its debt securities. ResCap offered to purchase up to $750 million aggregate principal
amount (the maximum tender amount) of the notes. Upon the offer’s expiration (12:00 midnight
EST Dec. 19, 2007), $389.1 million face value was tendered and accepted for payment. Total
cash outflow (principal and accrued interest) to the bondholders totaled $240.8 million.

     During this same time (November/December 2007), AFI executed a program of open
market repurchases of ResCap’s publicly traded debt. The open market repurchase program
resulted in the repurchase of debt with a book value of approximately $1.3 billion for a cost of
$895 million, including accrued interest. On December 28, 2007, ResCap’s debt with a face
value of approximately $1.1 billion and a AFI cost basis of approximately $740 million was
contributed to ResCap by AFI as a capital injection. As a result, ResCap recorded a gain on
extinguishment of debt of $369 million.

              f. By December 2007, ResCap Needed Additional Cash; Fourth Quarter 2007
                 Operating Loss Totaled $921 Million

    Having purchased outstanding ResCap debt at a steep discount to face value when
ResCap turned to AFI for assistance in overcoming a TNW shortfall at year-end 2007, AFI
565 Market analysts reported in August 2008 that “ResCap’s credit default swaps ha[d] been trading at levels that

   indicate investors have been expecting bankruptcy since the fall of 2007.” See Cynthia Koons, ResCap Bonds
   Command Pricey Insurance, WALL ST. J., Aug. 2, 2008, http://online.wsj.com/article/SB121759683223604485.
   html.
566 See E-mail from E. Feldstein (Nov. 15, 2007), at CCM00496802 [CCM00496800].

567 See id.



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contributed equity to ResCap in the form of bonds with carrying value of $1.1 billion, which
AFI had acquired in the open market for $763 million. AFI forgave the debt in exchange for
common equity.568 Even after including the gain ResCap experienced upon extinguishment of
debt resulting from the $1.1 billion in bonds contributed by AFI, ResCap incurred an
operating loss of $921 million in the fourth quarter of 2007569 and reported a net loss for the
year of $4.3 billion.570

     3. Liquidity And TNW Concerns Continued Into 2008

                 a. Significant Unsecured Debt Maturities On The Horizon

     ResCap began the fourth quarter of 2007 in an improved liquidity position as a result of
the sale of its healthcare business and the $1 billion cash contribution from AFI. Nevertheless,
ResCap’s access to capital markets continued to be “restricted, both domestically and
internationally, impacting the renewal of certain facilities and [its] cost of funding.”571
Consequently, during the fourth quarter of 2007, ResCap recorded further asset write-downs
and impairments, and higher credit provisions and restructuring costs.572 This led to a TNW
deficiency, thereby requiring an additional capital contribution from AFI. In addition to the
concerns presented by the TNW deficiency, ResCap faced significant unsecured debt
maturities in the coming quarters. Approximately $4.4 billion of ResCap’s $18 billion in
unsecured debt was scheduled to mature in 2008:




     ResCap thus found itself in the position of having to continue to work aggressively to
maintain adequate liquidity, including having to negotiate renewals of credit facilities, asset
sales, strategic initiatives, and replacement facilities as well as having to consider the
possibility of using existing alternative liquidity sources.
568 See Minutes of a Meeting of the Special Committee of the Independent Directors of the Board of Residential

   Capital, LLC, Mar. 25, 2008, at RC40005687 [RC40005652]
569 Residential Capital, LLC, Current Report (Form 8-K) (Feb. 5, 2008), Ex. 99.1, at 1.

570 Residential Capital, LLC, Annual Report (Form 10-K) (Feb. 27, 2008), at 101.

571 Id. at 48.

572 See Residential Capital, LLC, Current Report (Form 8-K) (Feb. 5, 2008) (announcing operating results for

   fourth quarter 2007 and the full year ended December 31, 2007).

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              b. AFI Provided A $750 Million Advance Facility

      In February 2008, to address a liquidity shortfall, AFI provided a $750 million advance
facility to ResCap, which was to be repaid from proceeds of the sale of Resort Finance, a
business unit of ResCap’s BCG. Ultimately, with no unaffiliated buyers located, GMAC CF
purchased the unit in July 2008.573

              c. ResCap’s CEO Had Questions Regarding ResCap’s Solvency As The Second
                 Quarter Of 2008 Approached

     Jones explained that while the possibility of ResCap’s insolvency had not occurred to
him prior to 2008, by the second quarter of that year, he considered insolvency a serious issue,
“given the obligations of the parent and the amount of support that [AFI] had provided and the
amount of ongoing global market pressures that ResCap continued to experience . . . .”574
Moreover, various debt maturities were looming in the near-term. ResCap needed to roll the
debt, or find alternative sources, or dispose of assets.

     Jones stated that he planned to retain Lazard and another firm (a firm “that assists in
bankruptcy activities operationally”)575 sometime in the second quarter of 2008. The firms
were retained as a contingency: if ResCap was not successful in rolling the debt maturities,
ResCap was going to face a serious wall. Jones was concerned that something would happen
that would trigger a cross-default or a “very visible lack of ability to meet debt maturities on
any rational terms.”576 According to Jones, he wanted to make sure that ResCap’s only option
was not a “disorderly liquidation.”577 Morgan Stanley had been retained to work on debt
restructuring. Lazard knew that Morgan Stanley was involved; Morgan Stanley did not know
that Lazard and the other firm were there.578 Jones was concerned that “the very fact of
retaining people” and planning for an orderly liquidation would make debt refinancing harder,
if not impossible. So Lazard and the other firm “stayed down the hall and in the dark.”579




573 See Section V.E.1 (discussing the Resort Finance Facility); see also Section V.F.4.c (discussing the Resort

   Finance Sale).
574 See Int. of J. Jones, Nov. 30, 2012, at 60:10–17.

575 See id. at 64:5–6.

576 See id. at 61:10–62:7.

577 See id. at 62:4–6.

578 See id. at 62:20–63:1.

579 See id. at 61:10–65:17.



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             d. Amendment Of ResCap’s LLC Agreement Created A Class Of Preferred
                Membership Shares, Which Would Be Transferred To AFI In Exchange For
                ResCap Notes Purchased by AFI In Open Market Transactions

     As first quarter 2008 was drawing to a close, ResCap again was in jeopardy of breaching
its TNW covenant. A proposal for increasing ResCap’s consolidated TNW to ensure ResCap’s
compliance with certain covenants was presented to the Special Committee of the Independent
Directors of the ResCap Board on March 24, 25, and 26, 2008, and the ResCap Board on
March 28, 2008. Pursuant to the proposal, AFI would contribute approximately $1.18 billion
face amount of ResCap unsecured bonds to ResCap, with an observed market value at the time
of contribution of approximately $583 million in exchange for approximately $583 million of
ResCap preferred membership interests.580 As discussed below, AFI’s unwillingness in March
2008 to accept a common equity position in exchange for debt forgiveness as it had done in
December 2007, and instead to require preferred interests in ResCap with an option to convert
the preferred interests into ResCap’s non-voting Class M Interests in Ally Bank, was
identified by Independent Directors Melzer and Jacob as a concern.581

                  (1) Concerns Raised By ResCap Independent Directors

     During the special meetings, Melzer and Jacob raised certain issues that seemed to echo
Jones’s concerns regarding ResCap’s likelihood of insolvency. The questions recited in the
minutes of the various ResCap Board meetings reflect concerns about preferences, fraudulent
conveyances, and an acknowledgment of the effect of looming insolvency on fiduciary duties.
The Independent Directors pointed out that the relative values of the ResCap bonds and
interest in Ally Bank had not been assessed582 for purposes of the transaction and expressed
concern that AFI was converting unsecured bonds into preferred interest in Ally Bank that
would be “structurally senior” to ResCap’s unsecured creditors.583 Jacob also inquired as to
whether the transaction was likely to provide ResCap with needed liquidity beyond the first
quarter of 2008.584



580 See Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital LLC,

   Mar. 24, 2008 at RC40006615 [RC40006611]; Minutes of a Meeting of the Special Committee of the
   Independent Directors of Residential Capital LLC, Mar. 25, 2008 at RC40006620 [RC40006611]; Minutes of
   a Meeting of the Special Committee of the Independent Directors of Residential Capital LLC, Mar. 26, 2008
   at RC40006623 [RC40006611]; Minutes of a Special Meeting of the Board of Directors of Residential Capital
   LLC, Mar. 28, 2008 at RC40017152 [RC40017140]
581 See Section V.A.2 (discussing further this transaction).

582 See Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital LLC,

   Mar. 24, 2008 at RC40006615 [RC40006611].
583 Id.; see also Minutes of a Meeting of the Special Committee of the Independent Directors of Residential

   Capital LLC, Mar. 25, 2008 at RC40006620 [RC40006611].
584 Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital LLC,

   Mar. 25, 2008 at RC40006620 [RC40006611].

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     The Independent Directors were advised that Morgan Stanley would be consulted
regarding the relative values of the ResCap bonds and interest in Ally Bank.585 As to the
concern that unsecured bonds were being transformed into a preferred interest, the advisors
noted that AFI could have sold the bonds for FMV in the open market. Additionally, outside
counsel from Skadden advised that absent the transaction, there certainly would be a breach of
the TNW covenant as of March 31, 2008, and that absent prior reorganization planning there
would be a “terrible outcome for all constituencies.”586

                   (2) AFI Rejected A Proposal That AFI Take An Equity Interest In ResCap
                       Similar To The December 2007 Equity Infusion Due To Purported Pressure
                       From AFI Shareholders And Bondholders

     During a March 25, 2008 Special Meeting of the ResCap Board, a discussion ensued as
to whether there were means by which the preferred conversion features of the transaction
could be removed. Melzer proposed that AFI instead take an equity interest in ResCap similar
to the December 2007 equity infusion.587 ResCap CEO Jones explained that he had made such
a proposal to AFI, and it had been rejected by the AFI Board because of significant pressure
the AFI Board faced from shareholders and bondholders who believed AFI should get more
than common equity for future capital infusions into ResCap.588

     During this same discussion, Timothy Pohl, outside counsel from Skadden, explained to
the Independent Directors that he “believed that the opportunity exist[ed] to improve the terms
for ResCap and create a substantive transaction that [was] in the best interest of [ResCap] its
shareholders and its creditors and bondholders.”589 Additional discussion thereafter resulted in




585   The retention of Morgan Stanley presented conflict concerns in light of the fact that Morgan Stanley officer
      R. Scully was a director on the AFI Board. To remedy this concern, Morgan Stanley reported that an ethical
      wall between Scully and the ResCap valuation team would be established. For purposes of valuing the
      ResCap bonds, Morgan Stanley observed Market Value; for purposes of the valuation of ResCap Preferred
      Interests, Morgan Stanley compared existing short-term debt to determine interest rate; and as respects IB
      Finance Class M Shares Morgan Stanley looked to other regional bank preferred to determine interest rate.
      The transaction was ultimately presented and approved on March 31, 2008; thus, Morgan Stanley had a very
      short period of time in which to conduct the valuation. Morgan Stanley did not provide a formal valuation or
      written fairness opinion.
586   Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital, LLC,
      Mar. 25, 2008, at RC40006620 [RC40006611].
587   Id.
588   Id.
589   See id. at RC40005687.

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a proposal to eliminate the conversion right.590 Ultimately, after further negotiations with AFI
and Cerberus, the only substantive change made to the original proposal was a provision
prohibiting AFI from exercising the conversion right if ResCap filed for bankruptcy prior to
year-end 2008.591

                  (3) Proposal Approved By Unanimous Written Consent On March 31, 2008

     Effective March 31, 2008, the ResCap LLC Agreement was amended and restated to
create the ResCap Preferred Interests, a class of non-cumulative, non-participating, perpetual
preferred membership interests consisting of up to 872,971 units with an aggregate liquidation
preference of up to $872.971 million. Also, on March 31, 2008, AFI contributed notes of
ResCap that AFI had previously purchased in open market purchase transactions with a face
amount of approximately $1.2 billion and a fair value of approximately $607.192 million to
ResCap in exchange for 607,192 ResCap Preferred Interests with a liquidation preference of
$1,000 per unit. ResCap cancelled the $1.2 billion face amount of the notes. In addition, AFI
retained the option to contribute—in its sole discretion, on or before May 31, 2008—up to
additional $340 million of ResCap notes, having a fair value of approximately $265.779
million, in exchange for additional ResCap Preferred Interests.592

             e. ResCap’s $750 Million Credit Facility Secured By MSRs593

     On April 9, 2008, a Meeting of the Special Committee of the Independent Directors of
ResCap was held to discuss a proposal whereby AFI would provide ResCap a $750 million
line of credit secured by certain MSRs.594 At the beginning of the meeting, Jim Young gave an
overview of ResCap’s projected first quarter 2008 results, explaining that ResCap was




590 Before giving final approval, the Independent Directors insisted that the consummation of the conversion

   transaction be scheduled for January 2009. At the time that the controversial deal was put before the
   Independent Directors, ResCap was planning a debt restructuring, the result of which would be evident in the
   2008 period. The Independent Directors did not want to risk putting AFI in a position ahead of other creditors
   in the event the restructuring plan did not work and ResCap was forced into bankruptcy. See Int. of T. Melzer,
   Oct. 10, 2012, at 256–76.
591 Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital, LLC,

   Apr. 9, 2008, at RC40006626 [RC40006611].
592 See Section V.A.1.b (discussing the 2008 Bank Transaction).

593 See Section V.E.2 (discussing further this transaction).

594 See Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital, LLC,

   Mar. 24, 2008, at RC40006615 [RC40006611]; Minutes of a Meeting of the Special Committee of the
   Independent Directors of Residential Capital, LLC, Mar. 25, 2008, at RC40006620 [RC40006611].

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expected to report net income of approximately negative $850 million.595 Young explained
that the funding facility under consideration was necessary to support April 2008 servicing
advances. Morgan Stanley advised that, given the state of the economy and the disruption in
the mortgage markets, there was no longer a significant availability of the type of funding
being proposed. The Morgan Stanley representative further advised that the proposed AFI
funding facility was reasonably priced and consistent with market terms and other similar
transactions.596

     The proposed facility was intended to be bridge financing while ResCap negotiated with
Barclays Bank on a lending facility secured by unencumbered MSR assets backed by non-
agency mortgage backed securities. Because several months of negotiations could be required
before the Barclays Facility was finalized, the proposal for the Secured MSR Facility was
necessary. The facility was approved during a Special Meeting of the Board of Directors of
ResCap on April 14, 2008.597

     On June 2, 2008, the Secured MSR Facility was amended to increase the facility size
from $750 million to $1.2 billion and the advance rate was increased from 50% to 85%, giving
ResCap even more liquidity.598 Unwilling to accept more than a 60% advance rate,599 in
addition to having growing concerns with its overall exposure to ResCap, Barclays backed out
of the originally contemplated facility.600

                  (1) In April 2008, ResCap’s Independent Directors Resigned

    As part of a debt restructuring taking place at approximately the same time, the ResCap
Board was asked to approve a proposed $3.5 billion AFI credit facility, which would place
AFI in a senior position to all other ResCap creditors. The Independent Directors were not
comfortable approving such a transaction and thought it was not in the best interests of all of
ResCap’s stakeholders.601

     Both Independent Directors resigned from the ResCap board on April 20, 2008. Melzer
identified three reasons for the resignation: (1) the growing time commitment to the board and
his inability to sustain it because of other career responsibilities; (2) the “merry-go-round”
595 See Minutes of a Meeting of the Special Committee of the Independent Directors of Residential Capital, LLC,

   Apr. 9, 2008, at RC40006626 [RC40006611].
596 Id.

597 See Minutes of a Special Meeting of the Board of Directors of Residential Capital, LLC, Apr. 14, 2008, at

   RC40005712 [RC40005652].
598 SeeAmendment No. 3 to the Loan and Security Agreement, dated June 2, 2008, at RC40006474
   [RC40006437].
599 See E-mail from J. Peterson to J. Weintraub (June 12, 2008) [EXAM10172519].

600 See Section V.E (discussing the Secured MSR Facility).

601 See Int. of T. Melzer, Oct. 10, 2012, at 159–62, 171–72; Int. of T. Jacob, Nov. 7, 2012, at 216–18.



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changes in company management and his lack of familiarity with new executives; and (3) his
concern with and refusal to approve the proposed AFI credit facility because of his concerns
regarding AFI’s seniority vis-à-vis ResCap’s existing bondholders.602
          Jones predicted the resignation of the Independent Directors in an earlier e-mail:
                    [The Independent Directors are] being advised by their counsel
                    that solvency is a real issue, and that they in particular must
                    assure that the creditors have not been disadvantaged in any way
                    by related party transactions. I think they would love to be off
                    the board at this point and avoid any potential liabilities, but
                    realize that their leaving could also be seen as damaging at this
                    time.603
    In this same e-mail, Jones appears to caution de Molina that he should expect that going
forward the Independent Directors would be more assertive:
                    Expect strict attention to related party transactions as to terms,
                    and they are beginning to raise increasing questions about the
                    individuals in combined roles with both companies and the
                    potential conflicts that may arise.604
     Apparently, the Independent Directors’ concerns over conflicts prompted Jones to
relinquish his officer title with AFI as he concluded his e-mail by stating, “[t]o that end I have
told Bill Soloman that I wish to resign as a[n] [AFI] officer to solely focus on my role at
ResCap.”605
                    (2) Management Resignations
     The resignation of the Independent Directors came within a month or less of the
resignation of AFI CEO, Eric Feldstein, the resignation of ResCap Chairman Mike Rossi and
the announcements of intentions to resign by Jim Jones and James Redmond.
      There are indications that many if all not all of these departures were at least in part
related to discontent with the amount of involvement Cerberus interjected into the running of
AFI and ResCap. Feldstein acknowledged that his departure was in part because his authority
at AFI had been “pretty well diminished” and because he “didn’t feel like [he] was really
running the company anymore.” Feldstein explained that previously he had been “running the
business day to day . . . And now, [he] felt there were several people at Cerberus who really
were calling all the major shots . . . Cerberus had injected people into ResCap and other places
who felt like they were reporting to Cerberus not to [Feldstein].606
602 See Int. of T. Melzer, Oct. 10, 2012, at 159–62, 171–72.

603 E-mail from J. Jones (Apr. 14, 2008) [EXAM12381623].

604 Id.

605 Id.

606 See Int. of E. Feldstein, Dec. 14, 2012, at 199–200.



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      Rossi left in March 2008 for health reasons.607 However, certain e-mails indicate that the
relationships between Rossi and others at Cerberus had become strained, and that Cerberus did
not always respect the independence Rossi believed he should have in operating ResCap.608
Thomas Marano, a Cerberus employee who first replaced Rossi as Chairman and then Jones as
CEO noted that Jones was a nice guy but not aggressive enough at the pace at which things
needed to occur.609 Marano conceded that prior to Jones leaving ResCap, Jones was unhappy
with the level at which Marano interceded as a non-executive chairman.610

     Alvaro de Molina replaced Feldstein as AFI CEO, but even before becoming CEO, de
Molina brought in “many, many new people,” making personnel and operational changes
viewed as drastic by “legacy” AFI employees.611 Among de Molina’s recruits to AFI was Sam
Ramsey, who controlled the type and amount of support ResCap received from AFI during
ResCap’s liquidity problems.612 He also recruited Karin Hirtler-Garvey, with whom he had
worked at Bank of America, initially as a ResCap Independent Director and later as an AFI
employee.613 Concerns expressed by COAC’s COO, Keith Tietjen, during this time period
suggest that AFI was wielding a heavy hand in ResCap management, and that de Molina was
a big part of that control. Tietjen wrote in an April 17, 2008 e-mail: “I’m fearful that there will
be a mass exodus of the leadership team at the ResCap & RFG level at some point if Al [de
Molina]’s team continues to treat them like second class citizens [and] impose the corporate
agenda without their input.”614 Less than a week thereafter, Paul Bossidy, ResCap director and
RFG President, resigned. Shortly after Bossidy’s resignation, ResCap Treasurer, Bill Casey,
sent an e-mail to Jones detailing his frustration with AFI’s involvement in ResCap decisions.
Casey complained, “ResCap did not have a seat at the table and... [AFI] was negotiating on
[ResCap’s] behalf.”615




607 See Int. of M. Rossi, Nov. 27, 2012, at 9–10.

608 See,e.g., E-mail from L. Tessler to F. Bruno (Mar. 22, 2008) [CCM00049165]; see also E-mail from
   P. Bossidy to L. Tessler (Sept. 12, 2007) [CCM00119095]; E-mail from J. D’Ascoli to J. Lombardo (Jan. 15,
   2008) [CCM00150783].
609 Int. of T. Marano, Nov. 26, 2012, at 17.

610 Id.

611 Int. of E. Feldstein, Dec. 14, 2012, at 190:7–9, 194:1–8.

612 Int. of A. de Molina, Nov. 20, 2012, at 18:21–25, 33:24–34:11.

613 Int. of K. Hirtler-Garvey, Dec. 20, 2012, at 67:20–24.

614 E-mail from K. Tietjen (Apr. 17, 2008) [CCM00005242]. Casey expressed his frustration over AFI siphoning

   away the handling of ResCap’s “Funding and Bank Relations” and, thus, diminishing significantly the role he
   felt he had been placed in by the ResCap Board. Id.
615 See E-mail from B. Casey (Apr. 28, 2008) [EXAM10173943].



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